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Melvvin Jones Jr - Pro Se Plaaintiƴ

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IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                            CASE # 2:21-ccv-110937 AJT EAS

                                      Honorablee Judge: Arthur J. Tarnow

                                      Pro Se Plaaintiƴ Melvvin Jones Jr.’’s MORE
                              DEFIN
                                  NITTIVVE Statement Amended Complaaint per the
                              District Courts Order that Jones submit/ Ʒlee such
                              BY JUNE 18th, 2021



Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan - Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, attorney Patrick Lanciotti and attorney Hunter and
Attorney Corey Stern -- Defendants

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IN
 NTRODUCTIO
          ON:

      Please note: I, Melvin Jones Jr., am
experiencing [episodic] blurred-vision due to my
serious vision impairments…. And therefore, to
MAKE SURE that I meet the courts order that a
MORE DEFINITIVE statement be submitted/ Ʃled
by me PRIOR to June 18th, 2021…. I am Ʃling such
EARLY here.

On MAY 3rd, 2021 ...tthe Detroit Federal District Court issued an
order which ordered [me] to Ʒlee/ submit MORE DEFIN
                                                  NITTIVVE
STATEMENT AMENDED COMPLAIN
                         NT by June 18th, 2021 ---- and the
instant amended complaaint is meant to attempt to suƵce and
meet said order issued by Honorablee Judge Tarnow.

By order signed by Honorablee Judge Tarnow…. This instant civil
case was transferred to the Ann Arbor Federal District Court (e.gg.
where the FLIN
             NT WATER CRISSISS LAWSUITT is currentlyy pending
FIN
  NAL settleement approval)).
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      In the State of Michigan…. (as best that I,
Melvin Jones Jr., can understand such…. With the
AID of my informal caregiver Colleen Connors).... Is
that ALL [plaintiƦs for example] who MAY be
considered as having a possible SIGNIFICANT stake
in a lawsuit MUST/ SHOULD be plead in the
heading of a complaint so as to give notice of the
defendants of such [and/ or PlaintiƦs who MAY not
have actual standing, but are NONETHELESS….
Real parties of interest, and such is attempted to be
done here by Pro Se Jones (e.g. see page #1).

      Plaintiff Melvin Jones Jr., is a disabled person per
MCL 257.19a. And, Jones’ Michigan State Driver’s
License is medically suspended due to what can best
be described by Jones as linked to a communication
impairment. Additionally, Jones has serious vision
impairment (e.g. as defined [at a bare minimum by the
Americans with Disability Act [ADA])--- and Jones
requires large print.
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      Further, due to my/ Melvin Jones Jr.’s medical
disability I AM NOT ABLE TO PRESENT MY CASE IN
THIS LAWSUIT [i.e. which is to say, I appreciate the
Honorable Court being willing to allow me to attempt to
amend my complaint to explain the reason that I believe
that I as a Black African American indigent disabled
resident of the City of Flint.

       I, Melvin Jones Jr. LACK the capacity (i.ee. either Ʒnanciallyy

to pay for an attorney) or actual physical abiliity)) to present his
case :


JONES’ Dis
         sabil
             lit
               ty accommodatio
                             on
request:

      Ple
        ease take note that I, Melvvin Jones Jr., have
submitted VIA email a Disabiliity Accommodation request as
to my “Communication Impairment ” which (I beliieve) is
ROOTED/ LINKED to my Michigan State Drivers liicense
being “medicallyy suspended” .... And such will remain NOT
ple
  ead here….
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      But MY right is reserved/ preserved to present such on
appeal to the 6th Circuit Court of Appealss if needed.

      Plaintiff Jones, believes that he/ Jones, HAS shown an
adequate basis to request counsel to provide representation
under 28 U.S.C. § 1915(e)(1).

      I am UNABLE to determine if this lawsuit is appropriate
for Class Action Certification.

      And… more to tthee poin
                t th     point,
                           i t, JJones
                              t Jo     believes
                                   nes beli     tthat
                                         l eves th    pursuant
                                                   at purs
                                                        r uant to
                                                               t an
email      remains
   i which remain  confidential
               i s conf
                     nfide
                        d nti   ((e.g.
                           t al (ee.g.
                                    g sent to attorney
                                           t att
                                               ttorn
                                                  r ey
                                                    e
 defendants,
dde
  efenda
      d nts      VEOLIA
         ts, and VE
                 V O IA
                   OL   NORTH)
                     I NO
                        NORTH      Honorable
                           TH) and Ho
                                   H norable JJudge
                                          l Ju  d e
                                                dg
Tarnow’s
Ta
T r ow’s
  rn     llaw
      ’ la    clerk…..
            w cle
               l rk    That
                 r ….. Th
                       T at it
                            i is aappropriate
                               i appprop
                                      o riate tthat
                                           t th     VEOLIA
                                                 at VE
                                                    V O IA
                                                      OLI
NORTH
NO
N  T BE
 ORTH B DISMISSED
        DISMISSED FROM
        DI        F OM
                  FRO THIS
                       THIS LAWSUIT.
                       TH   L WS
                            LAW UI
                                U T.
                                   T



JONES CLAIMS AGAINST THE ATTORNEY
DEFENDANTS:

      Claims: under the Americans with Disability Act, 42 USC
S. 1981, and 42 USC S. 3613) and he has provided adequate
basis to appoint counsel under that statute. For actions under
said statues provides discretionary authority for appointing
counsel “in such circumstances as the court may deem just.” It
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provides no statutory right to counsel, only “a statutory right to
request appointed counsel at court expense.” The Court has
“extremely broad” discretion to appoint counsel here. For
example, the Tenth Circuit has identified factors that courts
consider when evaluating a motion for appointment of counsel.
Appointment of counsel is only appropriate under § after the
plaintiff has affirmatively shown “(1) financial inability to pay
for counsel; (2) diligence (e.g. in the related Flint Water Crisis
case ...Jones WAS previously represented by NAPOLI LAW
FIRM…. However, in mandamus # 21-1174 --- Jones RAISED
ISSUES OF CONCERN AS TO THE “LEAD BONE SCAN
METHOD AND DEVICE NOT BEING SAFE FOR
HUMANS…. And (in short) NAPOLI LAWFIRM withdrew their
representation of disabled Jones (e.g. I feel that I WAS
WRONGLY ABANDONED by Napoli in said instance)....
Especially given that I believe that I was CORRECT IN MY
COCERNS) in attempting to secure counsel; and (3) meritorious
allegations of discrimination.” As “an aid in exercising
discretion” in close cases, the Court should also consider
whether the plaintiff has the “capacity to present the case
without counsel.” For the reasons aforementioned … I, Melvin
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Jones Jr. believe that I should be appointed counsel in the
instant case (e.g. even if such proceeds as an individual lawsuit).



JURISSDICCTIO
            ON:

      Federal Question, 42 USC S. 1983, 42 USC S. 3613, and
the Americans with Disability Act; and 42 USC S. 1981,

42 USC S. 1982.



On or about late February 2021 --- On the basis of
me being a Black African American who is disabled
(e.g. my being disabled is linked to me being Black
African American)... and Napoli Law Firm violated
{e.g. in contravention of 42 USC S. 1981} sought to
deprive me and/ or interfere with my EQUAL RIGHT
[e.g. as a black disabled person] to sue, be parties,
give evidence, and to the full and equal beneƩt of all
laws and proceedings (e.g. whereby I was abandoned
as a client due to me [i.e. in the 6th Circuit Court of
Appeals [for example] sought to assert my equal
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right[s] as a disabled Black person to to sue, be
parties, give evidence, and to the full and equal
beneƩt of all laws and proceedings. For example....
see the "introduction section" of my AMENDED
COMPLAINT.

       When Black African American such as myself are
SO HURT by the connotation of WHAT IT MEANS FOR
WHITE ATTORNEYS TO USE A handheld XRF
Analyzer (a.k.a “bone lead scan device”) ON A
PRIMARILY BLACK AFRICAN AMERICAN
COMMUNITY ? Well…. To me, i.e. Black AFrican
American Flint Resident --- such IS EXACTLY THE
SORT OF INSENSITIVE INSTITUTIONALIZED
IMPLICIT-BIAS (e.g. at a bare minimum) that
CAUSED THE FLINT WATER CRISIS IN THE FIRST
PLACE. And, I am so hurt by this issue.

      The OBVIOUS history of the United States’ race
discrimination against Black African Americans [i.e. I
feel] MUST be also viewed in context of INFERENCE
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OF RACE ANIMUS AGAINST ME BY NAPOLI LAW
FIRM due to me being a black person whom is diabled
[e.g. as to the race animus implications as to Napoli
Law Firm’s use of a device (WHICH IS NOT
INTENDED FOR USE ON HUMAN BEINGS] upon the
primarily Black African American population of the
City of Flint]... in regards to Napoli Law Firms
violation/ deliberate of my rights protected by 42 USC.
S. 1981 and 42 USC S. 1982.

For example,

“Discrimination against blaacks liinked to dehumanization, study
Ʃnds Crude historical depictions of African Americans
as ape-like may have disappeared from mainstream
U.S. culture, but research presented in a new paper by
psychologists at Stanford, Pennsylvania State
University and the University of California-Berkeley
reveals that many Americans subconsciously associate
blacks with apes. In addition, the Ʃndings show that
society is more likely to condone violence against
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 black criminal suspects as a result of its broader
 inability to accept African Americans as fully human,
 according to the researchers. Co-author Jennifer
 Eberhardt, a Stanford associate professor of
 psychology who is black, said she was shocked by the
 results, particularly since they involved subjects born
 after Jim Crow and the civil rights movement. "This
 was actually some of the most depressing work I have
 done," she said. "This shook me up. You have
 suspicions when you do the work intuitions you have
 a hunch. But it was hard to prepare for how strong
 [the black-ape association] was how we were able to
 pick it up every time." (see the affixed
 attachment heret
            hereto).

      Here, NAPOLI LAW FIRM views me as less than
 human on account of me (Melvin Jones Jr.) being
 disabled Black African American {i.e. my serious
 medical disability is linked to my family heredity/
 ancestry of being Black African American}.
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 HARM: on account of NAPOLI law Ʃrms conduct (e.g.
 Attorney Lanciotti, Napoli and Shkolnic)... I, Melvin
 Jones Jr., suƦer continuing damages to both my
 person and property (e.g. both real property and
 personal property).

 Jones’ further MORE DEFINITIVE STATEMENT(s):

            I, Melvin Jones Jr., am a Black Disabled
      Resident of the City of Flint ….(sadly) ---- I
      believe and have observed that my immune
      system has a REDUCED ability to fend-oƦ
      infection, and so it is AT BEST an open question
      IF the Covid-19 vaccine will be directly beneƩcial
      to me as a result of me being what I can best
      describe as to such (e.g.
      “immunocompromised”). I, Melvin Jones Jr., am
      providing my aƧdavit here to give additional
      context for the District Court here, as to Pro Se
      [my] i.e. Melvin Jones Jr.’s DILIGENT, EARNEST,
      and VALID, and MERITORIOUS basis for Ʃling
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      and pursuing [h]is civil lawsuit (e.g. the instant
      lawsuit) #2:21-cv-10937. On or about May 13th,
      2021…. I watched a video titled/ captioned as “
      Delta XRF Quick Start Tutorial” …..and the link to
      said XRF video can be copy and pasted from the
      link which is IMMEDIATELY below:
      https://www.youtube.com/watch?v=W9HCYYK93
      RE By recollection and observation…. During my
      watching the XRF video which is approximately 5
      minutes, is that there are THREE MAIN SAFETY
      ISSUES which MUST be adhered to when using a
      portable XRF ANALYZER, which are (e.g. see the
      three (3) attachments aƧxed to my aƧdavit
      here):

             1.) NEVER point or aim an XRF Analyzer to
      yourself [i.e. a human].,

            2.) NEVER point or aim an XRF Analyzer to
      another person {e.g. a human},
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            3.) NEVER point or aim an XRF Analyzer at
      any body part (i.e. of a human).



       Additionally, such (as noted in item # 1 through
 #3 above) is because XRF Analyzers use and operate
 by way of IONIZED RADIATION (ionizing radiation),
 whereby (as I understand such ...there is A
 POSSIBILITY of RADIOACTIVITY. What I mean to say
 by this is that: Ionizing radiation is a type of energy
 released by atoms that travels in the form of
 electromagnetic waves (gamma or X-rays) or
 particles (neutrons, beta or alpha). The spontaneous
 disintegration of atoms is called radioactivity, and the
 excess energy emitted is a form of ionizing radiation.
 And, by my belief…. The BONE SCANS which are the
 subjects of many of the Ʃlings by me in my civil case #
 2:21-cv-10937 are due to NAPOLI law Ʃrm (e.g.
 attorney HUNTER and Lanciotti) use of the SAME XRF
 TECHNOLOGY upon the unsuspecting indigent, poor,
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 primarily Black, and Disabled population of the City
 of Flint. SpeciƩcally, I feel VERY HURT and victimized
 by the NAPOLI LAWFIRM in that I, Melvin Jones Jr.,
 sincerely believe that I was wrongfully abandoned by
 NAPOLI LAWFIRM on the basis of me being Black and
 Disabled and indigent…. Whereby such was done to
 SHUT ME UP (e.g. prevent me from submitting
 testimony, being a party, and such) in the 6th Circuit
 Court and District Court as to my concerns about [for
 example] the NApoli Law Firms use XRF
 TECHNOLOGY {i.e. ionizing radiation for BONE
 SCANS UPON THE FLINT RESIDENTS which IS
 POTENTIALLY VERY HARMFUL TO HUMANS}. And,
 due to my concerns about said XRF TECHNOLOGY as
 to Napoli Law Firms BONE SCANS being used upon
 the residents of the City of Flint…. I, Melvin Jones Jr.,
 in or about late April 2021 CANCELLED my bone scan
 appointment which was set to take place at the Napoli
 Law Firm's bone scan oƧce.
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      Additionally, I (Melvin Jones Jr.) did NOT receive
 disclosures of any kind from as to the PO
                                        POTENTIAL
                                          TENTIAL
 DANGERS TO
         TO HUMANS of the XRF
          Y as to the Bone Scans being
 TECHNOLOGY
 TECHNOLOG
 conducted at the Napoli Law Firm, from EITHER
 attorney Corey Stern NOR anyone from the Napoli
 Law Firm. Which is to say, by observation and belief….
 I, Melvin Jones Jr. am a HUMAN who is Black,
 Disabled and Indigent.

 JONES’ embedded MOTION for the District
 Court to ASK for ADVISORY OPINIONS FROM
 the MI AG oƧce and MI State Supreme Court:

      Context for Jones’ instant Motion (i.e. as
 part of my more deƩnitive statement
 complaint) is that….. Here, in the GREAT
 STATE OF MICHIGAN… The Michigan State
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 Supreme Court has stated in its ‘Ʃnal report’
 {e.g. which is aƧxed hereto}....

 TRUST:
 TRUST: Is the only currency
 Michigan courts have is trust –
 the trust of the people we serve. Our judiciary
 builds that trust by being accessible and
 engaged with the public. Whether physical or
 virtual, an open courthouse door sends a clear
 signal that our justice system must work for
 everyone. At the same time, an engaged
 judiciary must deliver justice solutions where
 people live, shaking free from the limitations
 imposed by old-fashioned rules, complicated
 language, and imposing buildings.

 CIVIL JUSTICE GAP. However successful in
 keeping our courts running, virtual justice must
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 be measured against the pre-pandemic reality:
 Courts were falling short in meeting their
 mission to provide access to justice for all, and
 particularly so when it comes to addressing the
 needs of lower-income and minority
 communities. This failure is glaringly clear
 when it comes to our civil justice system and
 critical concerns that burden families,
 including the risk of eviction, access to public
 beneƩts, barriers to employment, family law
 issues like parenting time or custody disputes,
 and elder abuse, among many others. In fact,
 we know from surveys that nearly nine in ten
 low-income individuals with a civil legal
 problem receive little or no legal help. This civil
 justice gap persists despite the tireless eƦorts of
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 Michigan legal aid organizations and our
 national leadership with
 MichiganLegalHelp.org, a program of online
 resources and walk-in self-help centers that
 have helped millions of state residents. JUSTICE
 FOR ALL. With funding from the National
 Center for State Courts, the Michigan Supreme
 Court formed the Justice for All (JFA) Task
 Force in May 2019 to assess the current state of
 our civil justice system and develop a strategic
 action plan to ensure 100 percent access to
 justice. This Strategic Plan and Inventory
 Report represents the culmination of countless
 hours of work to inventory resources, identify
 gaps and barriers, and create a road map for
 the future that leads to a more welcoming,
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 understandable, and trusted civil justice
 system. The Supreme Court is grateful to the
 Task Force and its work groups, and to
 hundreds of community stakeholders,
 attorneys, judges, and court staƦ who came
 together and contributed to this landmark
 project. Ultimately, the success of this initiative
 depends on the ability of stakeholders to break
 down the barriers to change and build a
 service-focused culture, simplify and
 streamline processes, create new and
 aƦordable ways to match legal services with
 public needs, and collaborate in the community
 to get more resources and get more out of those
 resources. This report identiƩes speciƩc,
 concrete, and doable steps Michigan can take
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 to build a civil justice system that will be a
 model for the nation, and we ask state leaders
 and residents statewide to join us on the road
 to justice for all.”

 Source: (see attached Michigan State Supreme Court Final
 JFA Report)

      That said…
           said…. I, Pro Se Plaintiff Melvin Jones Jr.
 NOW
 NOW motion the Federal
                Federal District Court to:

      1.) Ask the Michigan State Attorney
                                 Attorney General
                                          General
 (i.e. Dana Nessel) to “weigh-in”
                       “weigh-in” on [h]er (e.g. AG
                                                 AG
 Nessel’s) opinion IN DETAIL
                      DET
                        TAIL about the
 approximately
 appro
  pproximately [over] $200,000,000.xx in attorney
                                         attorney
 fees which the Plaintiffs’
                Plaintiffs’ Attorneys
                            Attorneys are seeking as
 to the “companion”
        “companion” case (e.g. the Flint Water
                                         Water
 Crisis Settlement
        Settlement as to the FW
                             FWC case
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 #16-cv-10444) to the instant civil lawsuit {i.e.
 #21-cv-10937}
            7}

 whereby AG
         AG Nessels “weighting
                    “weighting in” shall be filed
 in the INSTANT
        INST
           TANT LA
                 AWSUIT
                      T, and

      2.) The District Court (additionally) ASK the
 Michigan Attorney
          Attorney General
                   General (e.g. Dana Nessel) to
 “weigh-in” whereby such is provided by AG
                                        AG
 Nessel in GREAT
           GREA
              AT DET
                   TAIL as to the defendants’ (i.e.
 Attorney
 At torney Stern, Hunter, and Lanciotti
                              Lanciotti {and
 NAPOLI LAW
        LA
         AW FIRM}) LACK OF COMPLIANCE
                           COMPLIANCE with
 Michigan State LARA regulation as to the timing
 of start of the BONE SCAN procedure upon the
 residents of the City of Flint [w.r.t.] Michigan
 LARA regulation as to mandatory registration
                                 registration of
 said BONE SCAN XRF analyzer prior to start of
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 usage of such upon the residents of the City of
 Flint; and

      3.) The District Court ALSO seek the SAME
 “weighting in” (e.g. ADVISORY
                      ADVISORY OPINION)
                               OPINION) from the
 Michigan State Supreme Court as to items set
 forth in # 1 and # 2 above…
                      above…. To
                              To include
 additional matter
            matter of ANY advisory opinion of the
 defendant attorneys
           attorneys (i.e. Attorney
                           Attorney Stern, Hunter,
 and Lanciotti
     Lanciotti {and NAPOLI LAW
                           LA
                            AW FIRM}) possible
 or actual attorney
           attorney misconduct (i.e. ethical
 violations, etc.) as to the specific FA
                                      FACT
                                        CTS
                                          S ALLEGED
 in the instant civil lawsuit.

      Conclusion:

 Simply put…. Here the issues presented seem to
 have a nexus and intertwined implication as to
 resolution which MANDATES that the Federal
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 District Court DEFER to the Michigan State
 Attorney General's OƧce [and] ALSO DEFER to
 the Michigan State Supreme Court (e.g.
 consistent with [a
                 [at
                   t a bare minimum]
 Disabled Pro Se PlaintiƦ Black African
 American, Melvin Jones Jr.’s Michigan State
 Constitutional Rights).

       The “bone scans” conducted by Attorney Stern and Attorney Hunter

 upon the unsuspecting Blaack African American residents of the City of Fliint
 was unethical human experimentation {i.ee. said duped Blaack African
 American residents of the City of Fliint DID
                                            D NOT GIVVE IN
                                                         NFORMED CONSENT
 TO SUCH --- nor did the duped Blaack African American residents of Fliint
 WHO signed up for an appointment for said bone scans give informed
 consent [i.ee. and alsso suƴer damages here] , which is more cleearer shown
 by an examplee:

       The generally accepted medical science procedure is, in
 essence, to first conduct toxicity and safety tests on animals …
 and only then — and only if the experimental results pass muster
 with the FDA — will researchers move on to human trials. This is
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 clearly far from what Halford did. He may be dead but associates
 who worked with him could now be at risk of prosecution. More
 broadly, the case raises fundamental questions of scientific and
 medical ethics.

 UN
  NETHICCAL HUMAN EXPERIM
                        MENTATIO
                               ON:

      Unethical human experimentation is human
 experimentation that violates the principles of medical ethics.
 Such practices have included denying patients the right to
 informed consent, using pseudoscientiƻc frameworks such as
 race science, and torturing people under the guise of research.

      Nita A. Farahany, a professor of law and philosophy at
 Duke Law School said: “Conducting clandestine research
 experiments and intentionally circumventing research
 approval and oversight practices is unethical, unwise, and
 does not enable adequate validation of science.”

 Source:
 https://www.pbs.org/wnet/religionandethics/2018/07/16/ethical
 -concerns-raised-illicit-human-experiments/34881/

      It often seems like we’ve have come a long way since the
 notorious Tuskegee Syphilis Experiment that extended over a
 now-incredible four decades during the mid-twentieth century.
 That prolonged and appalling abuse of African-American patients’
 rights finally resulted in the National Research Act of 1974 being
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 passed, the beginnings of our present legal apparatus known
 more fully as ‘Protection of Human Subjects of Biomedical and
 Behavioral Research’. Now, 44 years later, the Halford case must
 give us pause.

      The generally accepted medical science procedure is, in
 essence, to first conduct toxicity and safety tests on animals …
 and only then — and only if the experimental results pass muster
 with the FDA — will researchers move on to human trials. This is
 clearly far from what Halford did. He may be dead but associates
 who worked with him could now be at risk of prosecution. More
 broadly, the case raises fundamental questions of scientific and
 medical ethics.

 A company he formed, Rational Vaccines – which is now under the
 investigators’ scrutiny – has declined to comment on the case,
 apart from saying it will cooperate with the federal inquiries, and is
 now adopting a more “classical” approach to product development.
 It has also shut down its website. One of the company’s biggest
 investors is Silicon Valley billionaire Peter Thiel, who supports
 libertarian activists who want to cut back governmental regulation
 of scientific research. (He also is known for funding the
 multi-million dollar 2016 lawsuit that effectively killed Gawker, the
 gossip and investigative journalism website.)

 Halford’s university, Southern Illinois (SIU), shared in a patent on
 the prospective vaccine with the Rational Vaccines company, but
 initially denied any responsibility in the matter of overseas
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 experimentation. Taylor’s reporting found not only the off-shore
 efforts (in the Caribbean islands of St Kitts and Nevis), but in
 addition the discomforting fact that herpes sufferers had also been
 injected in rooms at a Holiday Inn Express and a Crowne Plaza
 hotel just a few miles off-campus in Springfield, Illinois.

 The university then admitted there had been “serious
 noncompliance with regulatory requirements and institutional
 policies and procedures.” Again, as with the company, any criminal
 responsibility among Halford’s university colleagues will be for the
 FDA’s officials to assess.

 Source:

 https://www.pbs.org/wnet/religionandethics/2018/07/16/ethical-conc
 erns-raised-illicit-human-experiments/34881/

       The “bone scans” conducted by Attorney Stern and Attorney Hunter
 upon the unsuspecting Blaack African American residents of the City of Fliint
 was unethical human experimentation {i.ee. said duped Blaack African
 American residents of the City of Fliint DID
                                            D NOT GIVVE IN
                                                         NFORMED CONSENT
 TO SUCH --- nor did the duped Blaack African American residents of Fliint
 WHO signed up for an appointment for said bone scans give informed
 consent [i.ee. and alsso suƴer damages here]....
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 JURY DEMAND:

        NONE.




 PRAYER FOR RELIEF:

        As deemed Just and Fair by the Honorable Court.



 Respectfully Submitted,

 Date: May 18th, 2021




 Signed:.............................................................................

        Melvin Jones Jr. - Black African American Pro Se Plaintiff
                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.646 Filed 05/17/21 Page 28 of 134

                                                                                                                     Journal of Personality and Social Psychology                                                                           Copyright 2008 by the American Psychological Association
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                                                                                                                            Not Yet Human: Implicit Knowledge, Historical Dehumanization, and
                                                                                                                                             Contemporary Consequences

                                                                                                                                                    Phillip Atiba Goff                                                               Jennifer L. Eberhardt
                                                                                                                                           The Pennsylvania State University                                                             Stanford University


                                                                                                                                                  Melissa J. Williams                                                            Matthew Christian Jackson
                                                                                                                                           University of California, Berkeley                                                   The Pennsylvania State University
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                                                                                                                                                     Historical representations explicitly depicting Blacks as apelike have largely disappeared in the United
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                                                                                                                                                     States, yet a mental association between Blacks and apes remains. Here, the authors demonstrate that U.S.
                                                                                                                                                     citizens implicitly associate Blacks and apes. In a series of laboratory studies, the authors reveal how this
                                                                                                                                                     association influences study participants’ basic cognitive processes and significantly alters their judg-
                                                                                                                                                     ments in criminal justice contexts. Specifically, this Black–ape association alters visual perception and
                                                                                                                                                     attention, and it increases endorsement of violence against Black suspects. In an archival study of actual
                                                                                                                                                     criminal cases, the authors show that news articles written about Blacks who are convicted of capital
                                                                                                                                                     crimes are more likely to contain ape-relevant language than news articles written about White convicts.
                                                                                                                                                     Moreover, those who are implicitly portrayed as more apelike in these articles are more likely to be
                                                                                                                                                     executed by the state than those who are not. The authors argue that examining the subtle persistence of
                                                                                                                                                     specific historical representations such as these may not only enhance contemporary research on
                                                                                                                                                     dehumanization, stereotyping, and implicit processes but also highlight common forms of discrimination
                                                                                                                                                     that previously have gone unrecognized.

                                                                                                                                                     Keywords: dehumanization, racial bias, historical representations, implicit knowledge, stereotyping




                                                                                                                           The Black man has no rights which the White man is bound to                         language used in the laws of this developing nation reflected the
                                                                                                                           respect. . . . He may justly and lawfully be reduced to slavery . . . and           biases present in the majority population.
                                                                                                                           treated as an ordinary article of traffic and merchandise.—Chief                        Contemporary approaches to racial prejudice suggest that these
                                                                                                                           Justice, Roger Brooke Taney (Dred Scott v. Sandford, 1856)                          more egregious forms of racial bias have been relegated to the past.
                                                                                                                                                                                                               It is commonly thought that old-fashioned prejudice has given way
                                                                                                                        The United States has a shameful history of dehumanizing
                                                                                                                                                                                                               to a modern bias that is implicit, subtle, and often unintended. This
                                                                                                                     Black Americans. As quoted above, Chief Justice Taney states
                                                                                                                                                                                                               new understanding of racial bias may have led researchers and
                                                                                                                     clearly what many 19th century U.S. citizens believed: that Blacks
                                                                                                                                                                                                               laypeople alike to believe that the dehumanization and subjugation
                                                                                                                     were inherently inferior to Whites and therefore could be justifi-
                                                                                                                                                                                                               of Blacks was primarily a historical phenomenon. However, as
                                                                                                                     ably subjugated. In fact, the very first article of the U. S. Consti-
                                                                                                                                                                                                               recently as the early 1990s, California state police euphemistically
                                                                                                                     tution declares that, when determining state populations, “all other
                                                                                                                                                                                                               referred to cases involving young Black men as N.H.I.—No Hu-
                                                                                                                     persons”— by which it meant enslaved Africans—should be
                                                                                                                                                                                                               mans Involved (Wynter, 1992). One of the officers who partici-
                                                                                                                     counted as three fifths of a human being. The formal dehumanizing
                                                                                                                                                                                                               pated in the Rodney King beating of 1991 had just come from
                                                                                                                                                                                                               another incident in which he referred to a domestic dispute involv-
                                                                                                                                                                                                               ing a Black couple as “something right out of Gorillas in the Mist”
                                                                                                                        Phillip Atiba Goff and Matthew Christian Jackson, Department of
                                                                                                                                                                                                               (Kennedy, 1998). Assuming that these incidents are not confined
                                                                                                                     Psychology, The Pennsylvania State University; Jennifer L. Eberhardt,
                                                                                                                     Department of Psychology, Stanford University; Melissa J. Williams,
                                                                                                                                                                                                               to police officers, is it possible that, at the same time that contem-
                                                                                                                     Department of Psychology, University of California, Berkeley.                             porary racial bias has become more subtle, these extreme forms of
                                                                                                                        This research was supported by a Stanford University Dean’s Award                      dehumanization nonetheless remain? The present research studies
                                                                                                                     awarded to Jennifer L. Eberhardt. We thank Hilary Bergsieker for her                      were designed to investigate this possibility.
                                                                                                                     assistance with the videotape used in Study 5. We also thank Courtney M.
                                                                                                                     Bonam, Brooke Allison Lewis Di Leone, Cynthia Levine, Valerie D. Jones,
                                                                                                                     and Larisa Heiphetz for their helpful comments on earlier versions of this                    The Peculiar History of the “Negro-Ape Metaphor”
                                                                                                                     article.
                                                                                                                                                                                                                 Dehumanizing representations of African peoples are nearly as
                                                                                                                        Correspondence concerning this article should be addressed to Phillip
                                                                                                                     Atiba Goff, Department of Psychology, The Pennsylvania State University,                  old as Europeans’ first contact with West Africa (Ovington, 1929).
                                                                                                                     441 Moore Building, University Park, PA 16802-2130 or to Jennifer L.                      Early European maritime writings described primitive people who
                                                                                                                     Eberhardt, Department of Psychology, Stanford University, Jordan Hall–                    seemed more closely related to apes than to White explorers
                                                                                                                     Building 420, Stanford, CA 94305. E-mail: philgoff@psu.edu or                             (Dapper, 1688). As theories of race moved from theological to
                                                                                                                     jle@psych.stanford.edu                                                                    biological, the rationale for racial hierarchy relied even more

                                                                                                                                                                                                         292
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                                                                                                                     heavily on the “Negro-ape metaphor,” as Lott (1999) described it.            the nature of prejudice makes numerous references to dehumanization
                                                                                                                     Although this linkage predates scientific racism, it drew increased          but scant references to empirical work on the matter (see, e.g., Allport,
                                                                                                                     interest and popularity when Franz Boas, the preeminent anthro-              1954, p. 414). Similarly, Staub and colleagues discuss dehumaniza-
                                                                                                                     pologist of his time, and even Charles Darwin, speculated that               tion (Staub, 1989; Staub & Bar-Tal, 2003), yet their treatment of
                                                                                                                     there might be an evolutionary spectrum among primates (Lott,                dehumanization, like Allport’s, is mostly descriptive. Staub and his
                                                                                                                     1999) containing monkeys and apes at the least evolved end,                  colleagues document the prevalence of dehumanization in group-
                                                                                                                     continuing through savage and/or deformed anthropoids, and cul-              violence contexts, asserting that it seems to be a necessary precursor
                                                                                                                     minating with Whites at the other end (as most evolved; Jahoda,              to genocide (e.g., Bar-Tal & Teichman, 2005). However, there was
                                                                                                                     1999). Peoples of African descent, therefore, were theorized to              little empirical research to cite.
                                                                                                                     reside somewhere between the deformed and the simian.                            Only recently have social psychological researchers begun to
                                                                                                                        The “scientistic” grounding for this representation was used to           investigate empirically how people attribute “humanness” to oth-
                                                                                                                     bolster growing stereotypes that peoples of African descent were             ers. Leyens and his colleagues, for instance, have examined the
                                                                                                                     innately lazy, aggressive, dim, hypersexual, and in need of benevolent       attribution of secondary—more human— emotions (Demoulin et
                                                                                                                     control. It is not surprising, then, that the portrayal of African peoples   al., 2004, 2005; Gaunt, Leyens, & Demoulin, 2002; Leyens et al.,
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                                                                                                                     as apelike became an iconographic representation rivaling even min-          2001, 2003; Vaes, Paladino, Castelli, Leyens, & Giovanazzi, 2003;
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                                                                                                                     strelsy for popularity in visual culture during the 19th and early 20th      Vaes, Paladino, & Leyens, 2004, 2006). Their research suggests
                                                                                                                     centuries (Dyer, 1997). In fact, many of the U.S.’s first blockbuster        that emotions such as jealousy, sympathy, or hope are routinely
                                                                                                                     movies played on this iconography. For instance, though it is fre-           denied to out-groups and preferentially attributed to in-group
                                                                                                                     quently referenced in popular culture as the classic story of “Beauty        members. Research by Vaes, Paladino, and Leyens (2002) pro-
                                                                                                                     and the Beast,” the 1933 movie King Kong (Selznick, Cooper, &                vides evidence that associating an individual with secondary emo-
                                                                                                                     Schoedsack, 1933) also has other allegorical undertones. From                tions—rather than primary emotions— can lead to increased altru-
                                                                                                                     Kong’s association with the caricatured Black savages on the “Island         ism and empathy. This feeling of superior “humanity,” then,
                                                                                                                     of Skulls,” to his “Negro features,” many film scholars argue that           contributes to feelings of intergroup antipathy and in-group bias
                                                                                                                     “King Kong” permanently inscribed a racist cautionary tale about             while simultaneously obstructing attempts at intergroup empathy
                                                                                                                     interracial romance into U.S. cinematic iconography. The film’s “car-        and prejudice reduction (Vaes et al., 2003). Because secondary
                                                                                                                     rier of blackness is not a human being, but an ape” that, after attempts     emotions are an important part of what makes us “human,” this
                                                                                                                     to contain him fail, “makes off with not just any woman, but a white         denial constitutes a form of dehumanization.1
                                                                                                                     woman” (Snead, 1994, p. 8). In other words, “Beauty” was White and               Research by Haslam and his colleagues suggests that the inter-
                                                                                                                     “the Beast” was Black. The popularity of this and other movies with          group process documented by Leyens and colleagues (2001) may
                                                                                                                     similar themes mirrored racial tensions in the United States during the      also occur interpersonally (Haslam, 2006). Haslam argued that the
                                                                                                                     early part of the 20th century.                                              social cognitive underpinnings of dehumanization have been
                                                                                                                        As anti-African hostilities have gentled across the globe, this rep-      largely ignored and that, much like stereotyping, dehumanization
                                                                                                                     resentation has fallen out of favor among popular audiences. How-            may be an uncontrolled, perhaps even unavoidable form of social
                                                                                                                     ever, given that the stereotypes that have been supported by this            cognition. Rather than focusing on the role of emotion in inter-
                                                                                                                     Black–ape linkage remain in U.S. culture (e.g., Devine & Elliot,             group processes, Haslam and his colleagues focus on spontaneous
                                                                                                                     1995), has this representation really disappeared? That is, do people        trait attributions relevant to interpersonal contexts (Haslam, 2006;
                                                                                                                     still associate Blacks and apes? And, if so, then might this association     Haslam, Bain, Douge, Lee, & Bastian, 2005; Loughnan & Haslam,
                                                                                                                     influence perception and judgment in important ways?                         2007). This reflects Haslam’s conception of “humanness” as con-
                                                                                                                                                                                                  stituted by typically human traits (e.g., curious, selfish) as opposed
                                                                                                                           Dehumanization Research in Social Psychology                           to Leyens’ conception of “humanness” as constituted by uniquely
                                                                                                                                                                                                  human emotions— or secondary emotions (e.g., contemplative,
                                                                                                                        Historians, linguists, and philosophers have engaged in schol-            ambitious, and moral). Haslam argued that people attribute more
                                                                                                                     arship on dehumanization for the better part of two centuries. From          typically human traits to the self than they do to others and that this
                                                                                                                     this scholarship, we know that associations between humans and               attributional bias occurs despite differences in self-enhancement
                                                                                                                     nonhuman animals have been used to justify slavery in the United             motivations.
                                                                                                                     States, the Jewish Holocaust of World War II, and widespread                     There is emerging neuroscientific evidence for dehumanization
                                                                                                                     violence against immigrants around the world (Chalk & Jonas-                 as well. For instance, in a recent neuroimaging study, Harris and
                                                                                                                     sohn, 1990; Lott, 1999; O’Brien, 2003; Santa Ana, 2002). Dehu-               Fiske (2006) demonstrated that members of extreme out-groups
                                                                                                                     manization is viewed as a central component to intergroup vio-
                                                                                                                     lence because it is frequently the most important precursor to
                                                                                                                                                                                                    1
                                                                                                                     moral exclusion, the process by which stigmatized groups are                      It is interesting that Leyens and his colleagues (Leyens et al., 2001)
                                                                                                                     placed “outside the boundary in which moral values, rules, and               refer to this process as “infrahumanization” rather than “dehumanization.”
                                                                                                                     considerations of fairness apply” (Opotow, 1990, p. 1). Groups               This is, perhaps, intended to foreground the fact that, in their research,
                                                                                                                                                                                                  out-groups are not likened to nonhumans but rather are denied a preferred
                                                                                                                     that are morally excluded do not count in a moral sense. Conse-
                                                                                                                                                                                                  human “essence.” Given the morally loaded history of the word dehuman-
                                                                                                                     quently, anything that is done to someone who is morally excluded            ization, use of the term infrahumanization may also make the quotidian and
                                                                                                                     is permissible, no matter how heinous the action.                            cognitive aspects of the phenomenon more salient. For the purposes of the
                                                                                                                        Though psychologists are not entirely new to this conversation, the       present research, however, processes associated with stripping groups or
                                                                                                                     contributions of psychologists to the literature of dehumanization           individuals of human “essence” and processes that compare groups or
                                                                                                                     have been relatively scant. For instance, Allport’s classic treatise on      individuals with nonhumans are both referred to as dehumanization.
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                                                                                                                     are so dehumanized that they may not even be encoded as social            explicit knowledge of the societal stereotypes about Blacks in partic-
                                                                                                                     beings. When participants viewed targets from highly stigmatized          ular (e.g., Devine, 1989; Devine & Elliot, 1995; Dovidio & Gaertner,
                                                                                                                     social groups (e.g., homeless people and drug addicts) who elicit         1998; Judd, Park, Ryan, Brauer, & Kraus, 1995; Lepore & Brown,
                                                                                                                     disgust, the region of the brain typically recruited for social per-      1997; Levy, Stroessner, & Dweck, 1998). In the United States, for
                                                                                                                     ception (the medial prefrontal cortex) was not recruited. Those           example, Blacks are construed as violent, threatening, criminal, un-
                                                                                                                     who are the least valued in the culture were not deemed worthy of         intelligent, uneducated, lazy, poor, athletic, and musical. People can
                                                                                                                     social consideration on a neurological level. Given that Harris and       very easily list the stereotypes of Black Americans, and because these
                                                                                                                     Fiske used groups that are traditionally represented in a dehuman-        stereotypes are so strong and well rehearsed, they come to influence
                                                                                                                     izing fashion, it is reasonable to believe, as they conclude, that        perception and behavior— even when people do not personally en-
                                                                                                                     there is a neurological correlate to extreme social devaluation and       dorse them and are motivated to be racially egalitarian (e.g., Correll,
                                                                                                                     moral exclusion (Opotow, 1990).                                           Park, Judd, & Wittenbrink, 2002; Devine, 1989; Dovidio, Evans, &
                                                                                                                        When taken together, contemporary research on dehumanization           Tyler, 1986; Dovidio & Gaertner, 1998; Eberhardt, Goff, Purdie, &
                                                                                                                     suggests that privileging the “humanity” of one’s own group is a          Davies, 2004; Gaertner & McLaughlin, 1983; Wittenbrink, Judd, &
                                                                                                                     common occurrence. This recent experimental research has pri-             Park, 1997).
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                                                                                                                     marily been devoted to understanding the processes of dehuman-               Here, we argue that implicit knowledge of racial associations
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                                                                                                                     ization by focusing on intergroup and interpersonal processes             can be equally strong. “Apelike” is not a stereotype that people
                                                                                                                     without regard to specific targeted individuals or groups. And,           typically list as associated with Blacks. It is not an association that
                                                                                                                     although some have begun to empirically investigate the dehuman-          immediately springs to mind. It is not an association that is
                                                                                                                     ization of those from various extreme out-groups, dehumanization          deliberately contemplated and openly discussed. People deny ex-
                                                                                                                     researchers have been slow to measure the more extreme behav-             plicit awareness of this association, yet because the association is
                                                                                                                     ioral consequences of dehumanization. Indeed, with few excep-             maintained in metaphors, visual tropes, and through the conver-
                                                                                                                     tions (e.g., Vaes et al., 2002), they have been slow to measure any       gence of other related stereotypes, these factors alone—without the
                                                                                                                     behavioral consequences at all.                                           aid of explicit awareness— could perpetuate a Black–ape associ-
                                                                                                                        The present research, therefore, departs from the previous liter-      ation. Thus, although social conventions may have rendered ex-
                                                                                                                     ature in two important ways. First, we examine dehumanization             tinct the explicit representation of Blacks as apelike, we hypoth-
                                                                                                                     processes by focusing on a particular case study of a group that has      esize that the association has persisted in the minds of Whites and
                                                                                                                     been represented as less than human. Specifically, we consider the        non-Whites alike and has come to influence their perception and
                                                                                                                     implicit association between Blacks and apes. Consequently, our           behavior. The notion that “implicit knowledge” may inform peo-
                                                                                                                     research is aided by examining the specific history of this cultural      ple’s mental associations and that these associations may have dire
                                                                                                                     representation. Second, in the present research, we not only focus        consequences organized the present investigation.
                                                                                                                     on how basic cognitive processes are altered by dehumanization
                                                                                                                     but also focus on how bias in criminal justice contexts can be                           Overview of the Present Studies
                                                                                                                     linked to dehumanization. Specifically, we demonstrate that a
                                                                                                                     Black–ape association influences the extent to which people con-             In Study 1, we tested the principal hypothesis, namely that there
                                                                                                                     done and justify violence against Black suspects, and we link this        exists an implicit association between Blacks and apes. We also
                                                                                                                     association to the death-sentencing decisions of jurors. Thus, the        examined the extent to which this association is broadly held (i.e.,
                                                                                                                     present research addresses some of the more extreme, negative             by both Whites and non-Whites). In Studies 2 and 3, we tested the
                                                                                                                     outcomes of dehumanization that have captivated social justice            bidirectional strength of this Black–ape association and investi-
                                                                                                                     research throughout history.                                              gated whether apes might also be associated with other non-White
                                                                                                                                                                                               groups (i.e., Asians). In Study 4, we argued that the Black–ape
                                                                                                                              Cultural Memory and Implicit Knowledge                           association is maintained through implicit knowledge. We docu-
                                                                                                                                                                                               mented participants’ lack of explicit awareness of a Black–ape
                                                                                                                        A casual perusal of contemporary representational culture will         association and demonstrated that implicit attitudes about Blacks
                                                                                                                     reveal that the ugly history of explicitly depicting Blacks as apes       do not predict the strength of the association. Finally, in Studies 5
                                                                                                                     seems to have disappeared both from the general media and from            and 6, we demonstrated that this dehumanizing association is
                                                                                                                     the cultural memory of the United States. As is detailed below,           linked to dire outcomes in criminal justice contexts.
                                                                                                                     most college undergraduates in the United States seem to have
                                                                                                                     forgotten the unpalatable history of Blacks depicted as apes—if                                         Study 1
                                                                                                                     they ever knew it to begin with—and print media seems to have
                                                                                                                     substituted ape-relevant words and coded language for explicit               Do people associate Blacks with apes in contemporary U.S. soci-
                                                                                                                     Black–ape analogies. However, this raises an important question,          ety? And, if so, is this an association held by Whites and non-Whites
                                                                                                                     namely: Is it possible to hold an implicit association between apes       alike? Borrowing a “degraded objects” paradigm used by Eberhardt
                                                                                                                     and Blacks if one is unaware that such an association ever existed?       and colleagues (Eberhardt et al., 2004), we examined the Black–ape
                                                                                                                        Contemporary wisdom suggests that explicit knowledge is the            association in Study 1 by measuring whether the mere presence of
                                                                                                                     precursor to implicit racial associations. Indeed, the vast majority of   Black male faces facilitates identification of ape images. Participants
                                                                                                                     social psychological research on stereotyping assumes people have         were subliminally primed with Black faces, White faces, or a nonface
                                                                                                                     explicit knowledge of the stereotypes about a group, even as those        control image. Next, they were presented with degraded images of
                                                                                                                     stereotypes may be triggered implicitly in specific situations (for a     animals (line drawings of apes and non-apes), which they were asked
                                                                                                                     review, see Fiske, 1998). Researchers have documented people’s            to identify as quickly as possible. For each animal, image quality was
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                                                                                                                     improved in small increments (frame by frame), making the animal         “attentional vigilance task,” as per previous research (Eberhardt et
                                                                                                                     increasingly easy to identify. For both White and non-White study        al., 2004). Participants were told they would see a focus dot at the
                                                                                                                     participants, we predicted that exposure to the Black male faces would   center of the screen and were instructed to keep their eyes on it.
                                                                                                                     facilitate identification of the ape images, whereas exposure to the     Participants were told that a pattern of light would flash on the
                                                                                                                     White male faces would not.                                              computer screen to the left or right of the focus dot. For each flash,
                                                                                                                                                                                              participants were instructed to “press the k button if the flash appeared
                                                                                                                                                   Method                                     on the right-hand side of the screen and the d button if the flash
                                                                                                                                                                                              appeared on the left-hand side of the screen” and to do so as quickly
                                                                                                                     Participants                                                             as possible. The participants were seated such that each flash of light
                                                                                                                                                                                              appeared in a quadrant of the screen at an average of 6° from the focus
                                                                                                                        One hundred twenty-one male undergraduates (60 White, 61
                                                                                                                                                                                              dot. Each flash of light consisted of a premask (composed of a
                                                                                                                     non-White) at Stanford University participated in this study in
                                                                                                                                                                                              composite of blurred faces) displayed for 100 ms, then a Black face,
                                                                                                                     exchange for partial course credit or $10. Participants ranged in
                                                                                                                                                                                              White face, or uninterpretable neutral image displayed for 30 ms, and
                                                                                                                     age from 18 to 20 (M ⫽ 18.64). Of the 61 non-White participants,
                                                                                                                                                                                              finally, a postmask (that was identical to the premask) displayed until
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                                                                                                                     7 identified as Black or African American, 39 identified as Asian
                                                                                                                                                                                              the participant hit the response key. Detection latency was measured
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                                                                                                                     or Asian American, 5 identified as Latino/a or Hispanic, and 10
                                                                                                                                                                                              from the onset of the postmask to the moment the participant hit the
                                                                                                                     identified as mixed-race.
                                                                                                                                                                                              response key to indicate that the flash of light occurred on the left or
                                                                                                                                                                                              right of the focus dot. One third of the participants were subliminally
                                                                                                                     Design                                                                   primed with Black faces during this task, one third were primed with
                                                                                                                       Study 1 took the form of a 3 (race of prime: Black prime vs.           White faces, and one third were primed with the neutral image.
                                                                                                                     White prime vs. no prime) ⫻ 2 (race of participant: White vs.            Participants completed 10 practice trials followed by four blocks of 25
                                                                                                                     non-White) ⫻ 2 (animal type: apes vs. non-apes) mixed-model              experimental trials, after which the experimenter set up the computer
                                                                                                                     design, with animal type serving as the within-subject factor. The       to run the object identification program.
                                                                                                                     picture frame at which participants could accurately identify the           Participants were told that the second portion of the experimen-
                                                                                                                     animal served as the principal dependent variable.                       tal session would involve an unrelated study designed to test the
                                                                                                                                                                                              speed at which people can identify objects. Participants were told
                                                                                                                                                                                              that they would see a series of short “movie-like segments” of
                                                                                                                     Materials                                                                objects that would start off “fuzzy” and become increasingly easier
                                                                                                                        Face stimuli. Participants were subliminally exposed to color         to identify, as per previous research (Eberhardt et al., 2004). They
                                                                                                                     photographs of either 50 Black adult male faces with neutral             were told to push (as quickly as possible) a computer keyboard key
                                                                                                                     expressions, 50 White adult male faces with neutral expressions, or      to indicate the point at which they could identify what the object
                                                                                                                     a no-prime control image that was an uninterpretable line drawing        was and to then write down the name of the object identified. The
                                                                                                                     created using Adobe Photoshop software. The faces were of Stan-          number of frames that the participants viewed before accurately
                                                                                                                     ford students or employees. The height, weight, age, and attrac-         identifying the objects (which were always animals, both apes and
                                                                                                                     tiveness of the persons photographed did not vary as a function of       non-apes) served as our primary dependent measure. After com-
                                                                                                                     race. The backgrounds on the photographs were standardized using         pleting the object identification task, participants completed the
                                                                                                                     Adobe Photoshop software.                                                Modern Racism Scale (MRS; McConahay, 1986) and the Motiva-
                                                                                                                        Object stimuli. Participants saw movies of four apes and eight        tion to Control Prejudice Scale (MCP; Dunton & Fazio, 1997).
                                                                                                                     non-apes. Non-apes were chosen from pretesting. Twenty-five par-         Administering these scales allowed us to test the hypothesis that a
                                                                                                                     ticipants were asked “What animals are least associated with people?”    Black–ape association exists independent of individual differences
                                                                                                                     The following eight animals were most often mentioned and therefore      in explicit anti-Black prejudice or attitudes about prejudice. Fi-
                                                                                                                     used in the study: alligator, dolphin, duck, elephant, fish, kangaroo,   nally, participants were probed for suspicion, fully debriefed, and
                                                                                                                     seagull, and squirrel. For all 12 animals, a black-and-white line        thanked for their participation.
                                                                                                                     drawing was created, and pixelated “noise” was then added to that
                                                                                                                     image using Adobe Photoshop software. This caused the images to
                                                                                                                                                                                                                              Results
                                                                                                                     look as if they were on a television with “snow” or bad reception.
                                                                                                                     Noise was added in equal increments 40 times, creating 41 picture
                                                                                                                                                                                              Data Reduction
                                                                                                                     frames of each animal ranging from an extremely degraded image of
                                                                                                                     the animal to a clear image of the animal with no degradation added.        Debriefing responses confirmed that participants were not aware of
                                                                                                                     These picture frames were then shown in a sequence from most             the race primes.2 Trials in which participants misidentified an animal
                                                                                                                     degraded (Frame 1) to least (Frame 41). Each frame was presented for     were removed. This represented a relatively small number of trials
                                                                                                                     500 ms. Pretesting revealed that the ape movies were as easy to detect   (fewer than 10%) and no more than one error per group per partici-
                                                                                                                     as the non-ape movies.                                                   pant. Therefore, analyses were conducted on participants’ correct
                                                                                                                                                                                              responses. There was no effect of race prime or of participant race on
                                                                                                                     Procedure                                                                the number or type of errors made (F ⬍ 1).

                                                                                                                       Participants completed the study individually. Participants were
                                                                                                                     greeted by one of several White experimenters who told them they           2
                                                                                                                                                                                                 Participants reported no knowledge of subliminal primes in all subse-
                                                                                                                     would be engaging in two unrelated tasks. The first task was an          quent studies as well.
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                                                                                                                     Effects of Race Priming on Animal Identification                                                          SD ⫽ 3.04), F(1, 118) ⫽ 9.32, p ⬍ .01, ␩2 ⫽ .07. Thus, partici-
                                                                                                                                                                                                                               pants’ ability to identify apes was both facilitated by Black male
                                                                                                                        The principal dependent variable was the number of frames                                              faces and inhibited by White male faces. This conclusion is bol-
                                                                                                                     needed to accurately identify the animals. We expected that par-                                          stered by the fact that participants primed with Black male faces
                                                                                                                     ticipants primed with Black faces would identify ape images after                                         required fewer frames to identify apes (M ⫽ 20.16, SD ⫽ 3.59)
                                                                                                                     viewing fewer frames than participants who were not primed. We                                            than non-apes (M ⫽ 23.35, SD ⫽ 4.16), F(1, 118) ⫽ 8.72, p ⬍ .01,
                                                                                                                     did not expect race of the participant to be a significant predictor                                      ␩2 ⫽ .07, whereas participants primed with White male faces
                                                                                                                     of the principal dependent variable.                                                                      required more frames to identify apes (M ⫽ 26.23, SD ⫽ 10.28)
                                                                                                                        After determining that the distribution of our principal depen-                                        than non-apes (M ⫽ 22.91, SD ⫽ 5.57), F(1, 118) ⫽ 8.74, p ⬍ .01,
                                                                                                                     dent variable was not statistically skewed, we submitted the frame                                        ␩2 ⫽ .07.
                                                                                                                     data to a 3 (race of prime: Black prime vs. White prime vs. no                                               These effects were not moderated by participants’ MRS or MCP
                                                                                                                     prime) ⫻ 2 (race of participant: non-White vs. White) ⫻ 2 (animal                                         scores when participant scores were included as covariates, Fs(1,
                                                                                                                     type: apes vs. non-apes) mixed-model analysis of variance
                                                                                                                                                                                                                               117) ⬍ 2, ns.
                                                                                                                     (ANOVA), with animal type serving as the within-subject factor.
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                                                                                                                     As suspected, this analysis revealed no effect of race of participant,
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                                                                                                                     F(2, 118) ⬍ 1, ns. There was no main effect of animal type, F(2,                                                                      Discussion
                                                                                                                     118) ⬍ 1, ns. And consistent with our pretesting, participants in the
                                                                                                                     control condition did not differ in the number of frames required to                                         Though explicit representations of Blacks as apes may be rele-
                                                                                                                     identify apes and non-apes, F(1, 118) ⬍ 1, ns. There was a                                                gated to history, the mental association lingers and appears to exert
                                                                                                                     significant main effect of prime condition, F(2, 118) ⫽ 4.87, p ⬍                                         some influence on visual perception. Simple exposure to Black
                                                                                                                     .01, ␩2 ⫽ .08. However, this was qualified by the predicted                                               faces reduced the number of frames participants required to accu-
                                                                                                                     two-way interaction, F(2, 118) ⫽ 8.49, p ⬍ .001, ␩2 ⫽ .13 (see                                            rately identify ape images. This Black–ape facilitation effect was
                                                                                                                     Figure 1).                                                                                                observed among White and non-White participants alike. And this
                                                                                                                        Consistent with our primary hypothesis, simple effects tests                                           effect was not moderated by participants’ explicit racial attitudes
                                                                                                                     revealed that participants required fewer frames to identify the ape                                      or their motivation to control prejudice. Surprisingly, participants
                                                                                                                     images when primed with Black male faces (M ⫽ 20.16, SD ⫽                                                 not only exhibited a Black–ape facilitation effect but also exhibited
                                                                                                                     3.59) than when not primed (M ⫽ 22.76, SD ⫽ 3.04), F(1, 118) ⫽                                            a White–ape inhibition effect as well. This unanticipated White–
                                                                                                                     5.44, p ⬍ .05, ␩2 ⫽ .04. Moreover, participants required more                                             ape inhibition effect may have resulted from a negative association
                                                                                                                     frames to identify the ape images when primed with White male                                             between Whites and apes. That is, if Blacks are mentally repre-
                                                                                                                     faces (M ⫽ 26.23, SD ⫽ 10.28) than when not primed (M ⫽ 22.76,                                            sented as less evolved (and therefore closer to apes), then Whites



                                                                                                                                                                        28
                                                                                                                                 # of Frames Needed to Identify Image




                                                                                                                                                                        26




                                                                                                                                                                        24
                                                                                                                                                                                                                                                                  Black face prime

                                                                                                                                                                                                                                                                  No prime

                                                                                                                                                                        22
                                                                                                                                                                                                                                                                  White face prime




                                                                                                                                                                        20




                                                                                                                                                                        18

                                                                                                                                                                                  Non-ape images                                 Ape images
                                                                                                                                                                         Figure 1. Mean frame number at which the animal could be detected as a function of animal type and race
                                                                                                                                                                         prime (Study 1). Error bars represent the average standard error for each condition.
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                                                                                                                                                                                  NOT YET HUMAN                                                               297

                                                                                                                     may be represented as most evolved (and therefore, farthest re-         2. All 4 faces were matched on attractiveness and stereotypicality
                                                                                                                     moved from apes).                                                       in a pretest.
                                                                                                                        Having established that a Black–ape association is present, next,       Object stimuli. The four ape line drawings from Study 1 were
                                                                                                                     we tested the strength of the association. In previous research         used for Study 2. A jumbled line drawing was used for the “no
                                                                                                                     (Eberhardt et al., 2004), we have argued that strong mental asso-       prime” condition.
                                                                                                                     ciations tend to be bidirectionally associated. Study 2, therefore,        Vigilance task. The “vigilance task” used to prime participants
                                                                                                                     was designed to test the strength of the Black–ape association by       was nearly identical to the task used in Study 1. However, instead
                                                                                                                     empirically testing the bidirectionality of it. We primed study         of subliminally priming participants with Black or White male
                                                                                                                     participants with images of apes (or not) and examined the extent       faces, participants were subliminally primed with the four ape line
                                                                                                                     to which exposure to these images directed their attention to Black     drawings or the jumbled line drawing. The pre- and postmasks
                                                                                                                     faces. Just as exposure to Black faces may lead people to think         were jumbled line drawings as well.
                                                                                                                     about apes (as we found in Study 1), exposure to apes may lead             Dot-probe task. Consistent with previous research, partici-
                                                                                                                     people to think about Blacks.                                           pants were told that they would participate in a “facial interfer-
                                                                                                                                                                                             ence” task as the second part of the study (Eberhardt et al., 2004).
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                                                                                                                                                                                             They were told that the task was intended to measure whether a
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                                                                                                                                                  Study 2
                                                                                                                                                                                             delay is produced when faces “distract participants” from their task
                                                                                                                        In Study 2, we hypothesized that participants primed with apes       of attentional vigilance. Actually, this was a dot-probe task, in-
                                                                                                                     would exhibit an attentional bias toward Black faces. A finding         tended to measure attentional bias toward Black or White faces.
                                                                                                                     that Blacks and apes are bidirectionally associated would indicate      After two practice trials in which no faces were displayed, but,
                                                                                                                     that this association is not only present in contemporary society but   instead, the word FACE appeared to the left or right of the focus
                                                                                                                     also strong and well rehearsed. To examine this issue, we used a        dot, participants were again presented with a focus dot for a
                                                                                                                     modified dot-probe paradigm (originally introduced by MacLeod,          randomly determined interval (between 2 and 6 s). One of the
                                                                                                                     Mattews, & Tata, 1986, to examine the extent to which clinically        Black and one of the White male faces then simultaneously ap-
                                                                                                                     anxious patients exhibited an attentional bias toward threat-           peared. One face appeared 6° to the right of the focus dot, whereas
                                                                                                                     relevant stimuli). In the present study, we presented participants      the other face appeared 6° to the left. The computer randomly
                                                                                                                     with two faces on the computer screen simultaneously (one Black         determined which faces would be displayed (between the two for
                                                                                                                     and one White face). These faces disappeared, and a dot probe           each race). Faces were presented for 450 ms, after which a faint
                                                                                                                     appeared in the place where one of the faces used to be. The            gray dot probe appeared where one of the two faces had appeared
                                                                                                                     participant was asked to locate the dot probe as quickly as possible    previously. The computer, again, randomly determined the loca-
                                                                                                                     on the computer and to use one of two response keys to indicate         tion of the dot probe. Participants were instructed to “press the k
                                                                                                                     whether it was on the left or the right of a centered focus dot. As     button if the dot appeared on the right-hand side of the screen and
                                                                                                                     is traditional in dot-probe studies, we used the time it took partic-   the d button if the dot appeared on the left-hand side of the screen.”
                                                                                                                     ipants to locate the dot probe as a proxy for visual attention. We      They were also instructed to ignore the faces and to press either the
                                                                                                                     predicted the participants would be especially fast at finding the      k or the d button as quickly as possible. Dot-detection latency was
                                                                                                                     dot probe when it was in the location of the Black face and they        measured from the time the target gray dot probe was displayed to
                                                                                                                     had been primed with apes. In other words, we expected that             the point at which participants indicated their responses. As in
                                                                                                                     exposure to apes would activate an association with Blacks and          previous research on attention and social representations (Eber-
                                                                                                                     therefore lead participants to look at the Black face.                  hardt et al., 2004), participants completed a single “dot-probe”
                                                                                                                                                                                             trial.
                                                                                                                                                   Method
                                                                                                                                                                                             Procedure
                                                                                                                     Participants
                                                                                                                                                                                                Participants completed the study individually. Participants were
                                                                                                                        Sixty-three White male Stanford University students partici-         greeted by one of several White experimenters and told that they
                                                                                                                     pated in this study in exchange for partial course credit or $10.       would take part in two unrelated tasks. The first was a simple
                                                                                                                     Participants ranged in age from 18 to 23 (M ⫽ 19.28). Data for the      vigilance task (the priming task), and the second was a “facial
                                                                                                                     first 5 participants were lost due to a computer malfunction. All       interference” task designed to gauge how distracted participants
                                                                                                                     analyses are, therefore, run on the remaining 58.                       would become when presented with faces before a crucial atten-
                                                                                                                                                                                             tional task (the dot-probe task). After completing the two computer
                                                                                                                     Design                                                                  tasks, participants completed the MRS, MCP, and the Attitude
                                                                                                                                                                                             Towards Blacks scale (ATB; Brigham, 1993). Participants were
                                                                                                                       Participants were randomly assigned to a 2 (prime type: apes vs.
                                                                                                                                                                                             then probed for suspicion, thoroughly debriefed, and thanked for
                                                                                                                     no prime) ⫻ 2 (dot-probe position: Black face position vs. White
                                                                                                                                                                                             their participation.
                                                                                                                     face position) between-subjects design. Dot-detection latency
                                                                                                                     served as the primary dependent variable.
                                                                                                                                                                                                                           Results
                                                                                                                     Materials                                                               Data Transformation
                                                                                                                        Face stimuli. Four faces (two Black and two White) from the            The skewness statistic of the reaction time data was more than
                                                                                                                     original set of 100 used in Study 1 were chosen as targets in Study     twice the standard error of the skewness statistic (M ⫽ 2.44, SE ⫽
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                                                                                                                     .31). After natural log and square root transformations failed to                             attention away from White male faces and toward Black male
                                                                                                                     reduce the skewness of dot-detection latencies, the data were                                 faces.
                                                                                                                     submitted to a reciprocal transformation (M ⫽ 0.35, SE ⫽ .31), as                                Participants who saw the dot probe in the Black face position
                                                                                                                     recommend by Bargh and Chartrand and consistent with previous                                 were faster to detect it when primed with apes than when not
                                                                                                                     research (Bargh & Chartrand, 2000; Eberhardt et al., 2004). All                               primed, F(1, 54) ⫽ 14.30, p ⬍ .001, ␩2 ⫽ .21. Conversely,
                                                                                                                     subsequent analyses were performed on the transformed data.                                   participants who saw the dot probe in the White face position were
                                                                                                                     Because the pattern of means was nearly identical, however, we                                slower to detect it when primed with apes than when not primed,
                                                                                                                     present the raw detection latencies in Figure 2 for ease of inter-                            F(1, 54) ⫽ 17.28, p ⬍ .001, ␩2 ⫽ .24.
                                                                                                                     pretation.
                                                                                                                                                                                                                                               Discussion
                                                                                                                     Effects of Animal Priming on Visual Attention
                                                                                                                                                                                                                      The results of Study 2 are consistent with our prediction that
                                                                                                                        We submitted the transformed dot-detection latencies to a 2                                activating the concept of apes would activate the concept of Blacks
                                                                                                                     (prime type: apes vs. no prime) ⫻ 2 (dot-probe position: Black                                and thus produce an attentional bias toward Black male faces.
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                                                                                                                     face position vs. White face position) between-subjects ANOVA.                                When White participants were not primed, they appeared to dis-
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                                                                                                                     As anticipated, the two-way interaction was significant, F(1, 54) ⫽                           play an in-group preference—that is, their attention was directed to
                                                                                                                     31.55, p ⬍ .001, ␩2 ⫽ .37. This interaction was not moderated by                              White faces more so than Black faces. When subliminally primed
                                                                                                                     participants’ MRS, MCP, or ATB scores, Fs(1, 53) ⬍ 2, ns.                                     with ape images, however, Black faces captured their attention.
                                                                                                                     Simple effects tests revealed that participants in the no-prime                               Although we believe this attentional bias toward Black faces is due
                                                                                                                     condition were faster to detect the dot probe when it was placed                              to participants’ specific associations of Blacks with apes, it is also
                                                                                                                     near the White face (M ⫽ 1.10 E ⫺3, SD ⫽ 3.60 E ⫺4) than when                                 possible that activating the concept of apes simply produces an
                                                                                                                     it was placed near the Black face (M ⫽ 5.00 E ⫺4, SD ⫽ 4.10 E                                 attentional bias toward the face of any out-group member. Out-
                                                                                                                     ⫺4), F(1, 54) ⫽ 15.43, p ⬍ .001, ␩2 ⫽ .22. That is, when there                                group members, in general, may be considered less human than
                                                                                                                     was no prime at all, White participants directed their eyes toward                            in-group members. Indeed, an in-group/out-group explanation for
                                                                                                                     White faces. However, participants primed with apes were faster to                            the above results would be consistent with much of the contem-
                                                                                                                     detect the dot probe in the Black face position (M ⫽ 1.20 E ⫺3,                               porary social psychological research on dehumanization (Haslam,
                                                                                                                     SD ⫽ 4.90 E ⫺4) than the White face position (M ⫽ 6.00 E ⫺4,                                  2006). Study 3 was designed to test the possible role of a gener-
                                                                                                                     SD ⫽ 3.40 E ⫺4), F(1, 54) ⫽ 16.14, p ⬍ .001, ␩2 ⫽ .23. This                                   alized out-group bias by replacing the White male face with an
                                                                                                                     suggests that activating the concept of apes directed participants’                           Asian male face. White participants in Study 3, then, saw faces of



                                                                                                                                                             4000
                                                                                                                                Dot Detection Latency (ms)




                                                                                                                                                             3000




                                                                                                                                                                                                                                                    Black face position
                                                                                                                                                             2000
                                                                                                                                                                                                                                                    White face position




                                                                                                                                                             1000




                                                                                                                                                                 0

                                                                                                                                                                                No prime                             Ape prime
                                                                                                                                                             Figure 2. Mean dot-detection latency as a function of prime and dot-probe location (Study 2). Error bars
                                                                                                                                                             represent the average standard error for each condition.
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                                                                                                                     out-group members only. We predicted that, even under these                                    Materials
                                                                                                                     conditions, participants would direct their eyes toward the Black
                                                                                                                     male face when primed with apes.                                                                  Object stimuli. The same object stimuli used in Study 2 were
                                                                                                                                                                                                                    used in Study 3.
                                                                                                                                                                                                                       Face stimuli. Four faces, two Black and two Asian, were
                                                                                                                                                                        Study 3                                     chosen as targets in this study. All four faces were matched on
                                                                                                                        In Study 3, participants were presented with the same dot-probe                             attractiveness and stereotypicality in a pretest. These faces were
                                                                                                                     task as in Study 2. They were presented, however, with a Black                                 then transformed into black-and-white line drawings.
                                                                                                                     male face and an Asian male face (rather than Black and White
                                                                                                                     faces). Second, to ensure that any arresting properties of color                               Procedure
                                                                                                                     were removed, the faces were converted to line drawings. Again,                                   The procedure for Study 3 was identical to Study 2 with the
                                                                                                                     it was hypothesized that participants’ attention would be diverted                             exception that participants saw one Black face and one Asian face,
                                                                                                                     to the Black male face when primed with apes. However, in the                                  displayed simultaneously as line drawings.
                                                                                                                     absence of an ape prime, given the lack of an in-group member, it
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                                                                                                                     was hypothesized that participants’ attention would be equally                                                                Results
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                                                                                                                     distributed.
                                                                                                                                                                                                                    Data Transformation
                                                                                                                                                                        Method                                         Data transformation followed the protocol for Study 2. The
                                                                                                                                                                                                                    skewness statistic of the reaction time data was more than twice
                                                                                                                     Participants                                                                                   the standard error of the skewness statistic (M ⫽ 1.54, SE ⫽ .34).
                                                                                                                                                                                                                    After natural log and square root transformations failed to reduce
                                                                                                                        Forty-nine White male Stanford University students participated
                                                                                                                                                                                                                    the skewness of dot-detection latencies, the data were submitted to
                                                                                                                     in this study in exchange for partial course credit or $10. Partici-
                                                                                                                                                                                                                    a reciprocal transformation (M ⫽ 0.42, SE ⫽ .34). All subsequent
                                                                                                                     pants ranged in age from 18 to 21 (M ⫽ 18.70).
                                                                                                                                                                                                                    analyses were performed on reciprocally transformed data. Be-
                                                                                                                                                                                                                    cause the pattern of means was nearly identical, we present the raw
                                                                                                                     Design                                                                                         detection latencies in Figure 3 for ease of interpretation.
                                                                                                                        Participants were randomly assigned in a 2 (prime type: apes vs.
                                                                                                                     no prime) ⫻ 2 (dot-probe position: Black face position vs. Asian                               Effects of Animal Priming on Visual Attention
                                                                                                                     face position) between-subjects design. Again, dot-detection la-                                 We submitted the transformed detection latencies to a 2 (prime
                                                                                                                     tency served as the primary dependent variable.                                                type: apes vs. no prime) ⫻ 2 (dot-probe position: Black face


                                                                                                                                                             1000




                                                                                                                                                              900
                                                                                                                                Dot Detection Latency (ms)




                                                                                                                                                              800



                                                                                                                                                                                                                                                      Black face position
                                                                                                                                                              700
                                                                                                                                                                                                                                                      Asian face position



                                                                                                                                                              600




                                                                                                                                                              500




                                                                                                                                                              400

                                                                                                                                                                               No prime                                 Ape prime
                                                                                                                                                              Figure 3. Mean dot-detection latency as a function of prime and dot-probe location (Study 3). Error bars
                                                                                                                                                              represent the average standard error for each condition.
                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.654 Filed 05/17/21 Page 36 of 134


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                                                                                                                     position vs. Asian face position) between-subjects ANOVA. There            The personalized IAT required participants to categorize names
                                                                                                                     was a main effect of dot-probe position, such that participants were    as stereotypically Black or White and to indicate whether they like
                                                                                                                     generally faster to find the dot probe in the Black face position       or dislike various objects about which there is no agreed upon
                                                                                                                     than in the Asian face position, F(1, 45) ⫽ 7.99, p ⬍ .01, ␩2 ⫽ .15.    cultural norm for evaluating (e.g., peanuts). In one version of this
                                                                                                                     This was qualified, however, by the anticipated two-way interac-        personalized IAT, participants indicate that they like an item with
                                                                                                                     tion, F(1, 45) ⫽ 4.22, p ⬍ .05, ␩2 ⫽ .09, which was not moderated       the same response key that they use to indicate that a name is
                                                                                                                     by participants’ MRS, MCP, or ATB scores, Fs(1, 44) ⬍ 2.5, ns.          White, and they indicate that they dislike an item with the same
                                                                                                                     Simple effects tests confirmed that, when participants were primed      response key that they use to indicate that a name is Black. In a
                                                                                                                     with apes, they were faster to detect the dot probe in the Black face   second version, these pairings are reversed (Black and like, White
                                                                                                                     position (M ⫽ 1.67 E ⫺3, SD ⫽ 3.45 E ⫺4) than in the Asian face         and dislike). By asking participants to indicate personal opinions
                                                                                                                     position (M ⫽ 1.22 E ⫺3, SD ⫽ 2.94 E ⫺4), F(1, 45) ⫽ 12.64,             about culturally neutral words (e.g., peanuts or football) rather than
                                                                                                                     p ⬍ .001, ␩2 ⫽ .22. However, there was no difference between            asking them to categorize culturally valued (e.g., birthdays or
                                                                                                                     detection latencies when participants were not primed, F(1, 45) ⬍       flowers) and devalued (e.g., vomit or garbage) words, the person-
                                                                                                                     1, ns. Moreover, consistent with the findings of Study 2, partici-      alized IAT attempts to measure an individual’s personal associa-
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                                                                                                                     pants who saw the dot probe in the Black face position were faster      tion between Black and bad without including any “extra-personal
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                                                                                                                     to see it when primed with apes (M ⫽ 1.67 E ⫺3, SD ⫽ 3.45 E             knowledge” that Blacks are associated with bad in the larger
                                                                                                                     ⫺4) than when not primed (M ⫽ 1.33 E ⫺3, SD ⫽ 3.98 E⫺4),                society (Olson & Fazio, 2004). The faster participants are at
                                                                                                                     F(1, 45) ⫽ 6.87, p ⫽ .01, ␩2 ⫽ .13. In contrast, prime type did not     responding when the Black names and disliked items share the
                                                                                                                     influence dot-detection latency for participants who saw the dot in     same response key, and the slower they are at responding when the
                                                                                                                     the Asian face position, F(1, 45) ⬍ 1, ns.                              Black names and liked items share the same response key, the
                                                                                                                                                                                             more personal implicit bias they are thought to harbor against
                                                                                                                                                                                             Blacks. The personalized IAT, then, was our measure of pure
                                                                                                                                                 Discussion                                  implicit anti-Black attitudes, “uncontaminated” by societal values
                                                                                                                                                                                             and norms (Olson & Fazio, 2004).
                                                                                                                        The attentional bias toward Black faces observed in the ape-
                                                                                                                                                                                                The second IAT was a “dehumanization IAT” that we devel-
                                                                                                                     prime condition does not appear to be driven by a generalized
                                                                                                                                                                                             oped. For this IAT, participants again categorized stereotypically
                                                                                                                     out-group bias. Rather, there appears to be an association between
                                                                                                                                                                                             Black and White names by race, yet they also simultaneously
                                                                                                                     Blacks in particular and apes that is determining where people
                                                                                                                                                                                             categorized animals as either great apes or big cats. We predicted
                                                                                                                     look.
                                                                                                                                                                                             that participants would be faster to associate stereotypically Black
                                                                                                                        We have clear evidence now that a Black–ape association is
                                                                                                                                                                                             names and apes than they would be to associate stereotypically
                                                                                                                     present and strong— exerting influence on both visual perception
                                                                                                                                                                                             Black names and big cats. Moreover, we reasoned that if partici-
                                                                                                                     and attention; yet, to what might the association be attributed? We
                                                                                                                                                                                             pants associated Blacks with apes as a result of omnibus negative
                                                                                                                     argue that the association can be driven by implicit knowledge—
                                                                                                                                                                                             attitudes, then there should be no “dehumanizing IAT” effect after
                                                                                                                     even in the absence of strong, anti-Black prejudice. Across three
                                                                                                                                                                                             controlling for the personalized IAT. If, however, the personalized
                                                                                                                     studies, in fact, we have already demonstrated that individual
                                                                                                                                                                                             IAT did not reduce the size of the dehumanizing IAT effect, then
                                                                                                                     differences in explicit anti-Black attitudes are not significantly
                                                                                                                                                                                             this result would be consistent with our implicit knowledge hy-
                                                                                                                     related to the existence and strength of the Black–ape association.
                                                                                                                                                                                             pothesis. To further test the implicit knowledge hypothesis, par-
                                                                                                                     In Study 4, we demonstrate that this association can exist even in
                                                                                                                                                                                             ticipants were asked explicitly about their awareness of the ste-
                                                                                                                     the absence of implicit anti-Black attitudes and explicit knowledge
                                                                                                                                                                                             reotype of Blacks as apes.
                                                                                                                     of the association.
                                                                                                                                                                                                Study 4 was also designed to test two alternative explanations
                                                                                                                                                                                             for the findings obtained in Studies 1–3, namely that the associa-
                                                                                                                                                  Study 4                                    tion of Blacks and apes is due either to an association of apes with
                                                                                                                                                                                             violence or to an association of apes with Africa. With this in
                                                                                                                        The primary purpose of Study 4 was to examine possible causes        mind, we designed our dehumanization IAT so that it contained
                                                                                                                     of the Black–ape association. Specifically, we tested the hypoth-       words associated with big cats—a group of animals that is seen as
                                                                                                                     eses that the Black–ape association is driven by implicit anti-Black    both more violent and more closely associated with Africa than
                                                                                                                     attitudes or explicit knowledge of the association rather than by       apes. Thus, it was possible to determine whether participants
                                                                                                                     implicit knowledge.                                                     associated Blacks with apes per se or merely associated Blacks
                                                                                                                        To test the possibility that the Black–ape association is driven     with violent aggression and/or Africa.
                                                                                                                     by implicit anti-Black attitudes, participants took two modified
                                                                                                                     Implicit Association Tests (IAT; Greenwald, McGhee, &                                                 Method
                                                                                                                     Schwartz, 1998). Half the participants were randomly assigned to
                                                                                                                     first take a personalized IAT (Olson & Fazio, 2004). The other half
                                                                                                                                                                                             Participants
                                                                                                                     first took an IAT that required them to categorize stereotypically         Sixty-nine White male Pennsylvania State University under-
                                                                                                                     Black and White names by race at the same time they categorized         graduates participated in this study for partial course credit. Par-
                                                                                                                     animal names as either great apes or big cats. After completing one     ticipants ranged in age from 18 to 26 (M ⫽ 19.27). Due to
                                                                                                                     or the other IAT, participants left the lab and returned no less than   researcher error, 4 participants became aware of the study’s hy-
                                                                                                                     24 hr later to complete the second IAT (i.e., whichever IAT they        pothesis and were, therefore, eliminated from analysis. All analy-
                                                                                                                     had not taken previously).                                              ses were conducted on the remaining 65 participants.
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                                                                                                                                                                                  NOT YET HUMAN                                                                    301

                                                                                                                     Materials                                                               p ⬍ .001, ␩2 ⫽ .40. More important, as predicted, this effect held
                                                                                                                                                                                             even when covarying for effects of the personalized IAT, F(1,
                                                                                                                       Names and words for the personalized IAT were taken from              63) ⫽ 30.46, p ⬍ .001, ␩2 ⫽ .32, while the personalized IAT was,
                                                                                                                     Olson and Fazio (2004). The same names were used again for the          itself, not a significant covariate, F(1, 63) ⬍ 1, ns, in this ANOVA.
                                                                                                                     “dehumanization IAT.” In addition to these names, eight big cat
                                                                                                                     and eight ape words were chosen. Pretesting revealed that the
                                                                                                                     big-cat words included in Study 4 were more strongly associated         Stereotype Knowledge
                                                                                                                     with aggression and violence on a 7-point Likert scale (M ⫽ 5.43)          Only 9% of all respondents indicated knowledge of the stereo-
                                                                                                                     than were ape words (M ⫽ 3.79), t(23) ⫽ 6.36, p ⬍ .001, ␩2 ⫽ .64.       type that Blacks are apelike. This was similar to the percentage
                                                                                                                     Pretesting also revealed that the big-cat words were more strongly      who indicated knowledge that Blacks like to whisper (6%), a
                                                                                                                     associated with Africa on a 7-point Likert scale (M ⫽ 4.57) than        nonstereotype. These findings are in stark contrast to previous
                                                                                                                     were ape words (M ⫽ 3.94), t(23) ⫽ 2.10, p ⬍ .05, ␩2 ⫽ .16. The         findings that document a high degree of explicit knowledge of
                                                                                                                     ape words were ape, monkey, baboon, chimp, chimpanzee, oran-            cultural stereotypes about Blacks (e.g., Devine & Elliot, 1995).
                                                                                                                     gutan, gorilla, and primate.3 The big-cat words were lion, tiger,       These findings are also in stark contrast to the 94% of present
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                                                                                                                     panther, puma, cheetah, cougar, leopard, and feline. All stimuli        respondents who indicated being aware of the stereotype that
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                                                                                                                     were presented as words, rather than pictorially.                       Blacks are violent, and the 89% of respondents who indicated
                                                                                                                                                                                             being aware of the stereotypes that Whites are rich and culturally
                                                                                                                     Procedure                                                               insensitive.
                                                                                                                        Participants completed the study in groups of up to 7 people. In
                                                                                                                     the first session, half the participants were randomly assigned to                                    Discussion
                                                                                                                     take the personalized IAT, and the remaining half took the dehu-           As predicted, participants were faster to categorize target words
                                                                                                                     manization IAT. Participants were then asked to come back for a         when Black was paired with ape than when Black was paired with
                                                                                                                     second session, no less than 24 hr later. (All but 3 participants       feline. Thus, across four studies, we have shown that participants
                                                                                                                     returned within 3 days, and all participants returned within 7 days.)   associate Blacks and apes.4 In Study 4, we also demonstrated that
                                                                                                                     Participants then completed whichever IAT they had not com-             participants were not simply associating Black with violent aggres-
                                                                                                                     pleted previously.                                                      sion or Africa, as the big cats were seen as more violent and
                                                                                                                        After completing both IATs, participants completed a brief           African than were the apes. This bias toward pairing Black and ape
                                                                                                                     “stereotype knowledge” questionnaire. The questionnaire included        was virtually unchanged when covarying for participants’ scores
                                                                                                                     six statements: three about African Americans and three about           on the personalized IAT, indicating that individuals’ implicit anti-
                                                                                                                     European Americans. The statements were (a) “I am aware of the          Black bias was not responsible for the Black–ape association. In
                                                                                                                     stereotype that African Americans are violent”; (b) “I am aware of      addition, few participants indicated knowledge of the historical
                                                                                                                     the stereotype that African Americans like to whisper”; (c) “I am       representation of Blacks as apes, further supporting the hypothesis
                                                                                                                     aware of the stereotype that African Americans are like apes”; (d)      that the Black–ape association functions without the benefit of
                                                                                                                     “I am aware of the stereotype that European Americans are tall”;        explicit cultural knowledge of the association.
                                                                                                                     (e) “I am aware of the stereotype that European Americans are
                                                                                                                     rich”; and (f) “I am aware of the stereotype that European Amer-
                                                                                                                     icans are culturally insensitive.” Participants responded by simply                                     Study 5
                                                                                                                     circling yes or no. This questionnaire was designed to allow               What are the material consequences of the Black–ape associa-
                                                                                                                     respondents to answer honestly about their awareness of histori-        tion? Historically, the “Negro-ape metaphor” was used to justify
                                                                                                                     cally dehumanizing representations of Blacks. Participants were         subjugation of and violence against Black people (Fredrickson,
                                                                                                                     then probed for suspicion, thoroughly debriefed, and thanked for        2002; Lott, 1999). Despite our demonstrations of the continued
                                                                                                                     their participation.                                                    presence and strength of the Negro-ape metaphor, the function of
                                                                                                                                                                                             this metaphor in contemporary society is unclear. Can the activa-
                                                                                                                                                   Results                                   tion of this association in contemporary society lead people to
                                                                                                                                                                                             condone violence against Black targets, despite individual differ-
                                                                                                                     Data Reduction                                                          ences in anti-Black prejudice? Study 5 was designed to examine
                                                                                                                       Data reduction followed the protocol outlined by Greenwald,           this question. Specifically, we subliminally primed participants
                                                                                                                     Nosek, and Banaji (2003).
                                                                                                                                                                                                3
                                                                                                                                                                                                  Though not all of the “ape” words can correctly be called apes, these
                                                                                                                     IAT Effects                                                             words were found to be strongly associated with the concept “ape” among
                                                                                                                                                                                             lay people.
                                                                                                                        Submitting the personalized IAT responses to a one-way                  4
                                                                                                                                                                                                  One might argue that although these data demonstrate participants’
                                                                                                                     ANOVA revealed that participants were faster to categorize words
                                                                                                                                                                                             willingness to associate Blacks with apes, the data do not demonstrate that
                                                                                                                     in the Black– bad condition than in the Black– good condition, F(1,     participants are more willing to associate Blacks with apes than with
                                                                                                                     64) ⫽ 15.34, p ⬍ .001, ␩2 ⫽ .19. Similarly, submitting the              humans. Even early anthropologists who explicitly likened Africans to
                                                                                                                     dehumanization IAT responses to a one-way ANOVA revealed                apes, however, would not argue that Africans were categorically nonhu-
                                                                                                                     that participants were faster to categorize words in the Black–ape      man—merely that they were not yet as human as Whites (Lott, 1999). And
                                                                                                                     condition than in the Black– big-cat condition, F(1, 64) ⫽ 43.00,       it is this sentiment, we argue, that is reflected in our findings.
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                                                                                                                     with words associated with apes or big cats, and we asked them to       study. The first part would be a categorization task (which was
                                                                                                                     view a videotape of a group of police officers beating a suspect        actually the personalized IAT). The second part would be com-
                                                                                                                     whom the participants were led to believe was Black or White. We        pleted no less than 24 hr later and would be a video-rating task.
                                                                                                                     predicted that the participants primed with the ape words would be         Participants completed the personalized IAT in the first session
                                                                                                                     the most likely to condone violence directed at the suspect, but        and returned for a second session no less than 24 hr later but no
                                                                                                                     only when they thought the suspect was Black.                           more than 1 week after their initial session. Upon returning for
                                                                                                                                                                                             their second session, participants were told that they would com-
                                                                                                                                                   Method                                    plete two unrelated tasks. The first was the “vigilance task” from
                                                                                                                                                                                             Studies 1–3, containing either ape words or big-cat words as
                                                                                                                     Participants                                                            subliminal primes.
                                                                                                                        One hundred twenty-one White male undergraduates at The                 After completing the “vigilance task,” participants were shown
                                                                                                                     Pennsylvania State University participated in this study in ex-         a video clip of a police beating— ostensibly from a television show
                                                                                                                     change for partial course credit. Participants ranged in age from 18    similar to the show COPS. After watching the video clip and
                                                                                                                     to 25 (M ⫽ 19.04). Three did not wish to view violent videos and        completing the questionnaire, participants were asked questions
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                                                                                                                                                                                             about how justified the police violence was in the video. Finally,
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                                                                                                                     were excused from the study before participation began. Two
                                                                                                                     participants’ data were lost due to computer failure. One partici-      participants were probed for suspicion, thoroughly debriefed, and
                                                                                                                     pant was suspicious of the experimental hypothesis as a result of       thanked for their participation.
                                                                                                                     conversations with a previous participant. All analyses were there-
                                                                                                                     fore run on the remaining 115 participants.
                                                                                                                                                                                                                          Results
                                                                                                                     Design                                                                     We submitted participants’ ratings of how justified the beating
                                                                                                                       Participants were randomly assigned in a 2 (animal prime type:        was to the planned 2 (animal prime type: apes vs. big cats) ⫻ 2
                                                                                                                     apes vs. big cats) ⫻ 2 (race of target: Black vs. White) between-       (race of suspect: Black vs. White) between-subjects ANOVA. This
                                                                                                                     subjects design. Violence justification served as our primary de-       revealed the anticipated two-way interaction (see Figure 4), F(1,
                                                                                                                     pendent variable.                                                       111) ⫽ 7.13, p ⬍ .01, ␩2 ⫽ .06, and was not moderated by the
                                                                                                                                                                                             personalized IAT, F(1, 110) ⬍ 1, ns. Simple effects tests revealed
                                                                                                                     Materials                                                               that participants who believed the suspect to be White perceived
                                                                                                                                                                                             the police as no more justified in using violence when primed with
                                                                                                                        Personalized IAT. The personalized IAT was administered              apes (M ⫽ 2.86, SD ⫽ 1.29) than when primed with big cats (M ⫽
                                                                                                                     using the identical protocol as that used in Study 4.                   3.13, SD ⫽ 1.69), F(1, 111) ⬍ 2, ns. However, participants who
                                                                                                                        Vigilance task. The vigilance task was identical to the priming      believed the suspect to be Black perceived the police as more
                                                                                                                     task used in Studies 1–3, with the exception that the primes in         justified in using violence when they had been primed with apes
                                                                                                                     Study 5 were animal words, and the masks were letter strings. The       (M ⫽ 3.88, SD ⫽ 1.46) than when they had been primed with big
                                                                                                                     same animal words used in Study 4 were used in Study 5.                 cats (M ⫽ 2.90, SD ⫽ 1.51), F(1, 111) ⫽ 5.85, p ⬍ .05, ␩2 ⫽ .05.
                                                                                                                        Video. A 2-min video clip included footage of a number of            Similarly, whereas participants who had been primed with big cats
                                                                                                                     police officers violently subduing a single suspect. We made the        did not think the police more justified in beating the White or the
                                                                                                                     race of the suspect clear by displaying a mug shot photo of either      Black suspect, F(1, 111) ⬍ 2, ns, participants who were primed
                                                                                                                     a Black or White suspect (matched on attractiveness and stereo-         with apes thought that the police were more justified in beating the
                                                                                                                     typicality) at the beginning of the video clip. The video informed      Black suspect than the White suspect, F(1, 111) ⫽ 6.47, p ⫽ .01,
                                                                                                                     participants that the suspect, although described by his family as “a   ␩2 ⫽ .06.
                                                                                                                     loving husband and father,” had a serious criminal record and may
                                                                                                                     have been high on “a mind-altering substance—possibly PCP—at
                                                                                                                     the time of the arrest.” The video also indicated that the suspect                                 Discussion
                                                                                                                     had been wanted for some time and that the footage of the police
                                                                                                                     beating followed a lengthy pursuit on foot.                                Study 5 demonstrates that the Black–ape association can alter
                                                                                                                        Video questionnaire. The video questionnaire consisted of the        participants’ judgments about violence against a Black target.
                                                                                                                     following four questions rated on a Likert scale ranging from 1         Participants were more likely to believe that the beating the Black
                                                                                                                     (not at all) to 7 (extremely): “How violently did the suspect           suspect received was justified when primed with apes than with
                                                                                                                     resist?” “How justified were the police in using the amount of          big cats. Moreover, these findings were not attenuated by individ-
                                                                                                                     force they used?” “How much did the suspect deserve the treat-          ual differences in implicit anti-Black bias. Taken together, this
                                                                                                                     ment he received?” and “How much did the suspect’s behavior             suggests that implicit knowledge of a Black–ape association led to
                                                                                                                     make violence necessary?” These four items combined to form a           marked differences in participants’ judgments of Black criminal
                                                                                                                     highly reliable scale indicating participants’ ideas about how jus-     suspects.
                                                                                                                     tifiable the police violence was (␣ ⫽ .90).                                In Study 5, we demonstrated that the Black–ape association can
                                                                                                                                                                                             alter judgments of criminal suspects when activated; yet, how
                                                                                                                                                                                             likely is the association to become spontaneously activated outside
                                                                                                                     Procedure
                                                                                                                                                                                             of the laboratory context? In the final study, we looked for the
                                                                                                                       Participants were greeted by one of several White experimenters       presence of the association in actual criminal cases in which jurors
                                                                                                                     who informed them that they would be taking part in a two-part          were instructed to render judgments of life or death.
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                                                                                                                                                               4.5




                                                                                                                                                                 4
                                                                                                                               How Justified was the Beating




                                                                                                                                                               3.5



                                                                                                                                                                                                                                                                   Black suspect
                                                                                                                                                                 3
                                                                                                                                                                                                                                                                   White suspect
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                                                                                                                                                               2.5




                                                                                                                                                                 2




                                                                                                                                                               1.5

                                                                                                                                                                              Big-cat prime                                   Ape prime
                                                                                                                                                                Figure 4. Mean violence justification rating as a function of prime and race of suspect (Study 5). Error bars
                                                                                                                                                                represent the average standard error for each condition.



                                                                                                                        We also explored one possible mechanism for the maintenance                                      Inquirer. The Inquirer has not only a strong national reputation but
                                                                                                                     of this dehumanizing association between Blacks and apes: met-                                      also nearly exclusive responsibility for handling Philadelphia’s
                                                                                                                     aphorical representations. Though the explicit likening of Blacks                                   local news in print. We predicted that the news coverage of Black
                                                                                                                     to apes has all but disappeared in popular U.S. media, the repre-                                   death-eligible defendants would be more likely to contain apelike
                                                                                                                     sentation may persist in coded language. Is it possible that news-                                  representations than the news coverage of death-eligible White
                                                                                                                     paper coverage of stereotypical African Americans—such as                                           defendants and that these representations would be related to
                                                                                                                     Black criminals—is still replete with words that conjure simian                                     death-sentencing judgments.
                                                                                                                     images to mind? Perhaps subtle metaphors that go largely unno-
                                                                                                                     ticed in media continue to have great effect—and can even be                                                                       Method
                                                                                                                     linked to life-and-death decisions.
                                                                                                                                                                                                                         Death-Eligible Cases
                                                                                                                                                                          Study 6
                                                                                                                                                                                                                            Data on 153 death-eligible cases (15 with White defendants, 138
                                                                                                                        In his landmark book on metaphorical representations in popular                                  with Black defendants) were taken from the Baldus data set
                                                                                                                     media, Otto Santa Ana (2002) argued that media outlets tacitly                                      (Baldus et al., 1998), a comprehensive database of over 600
                                                                                                                     compare Mexican immigrants to insects, among other things.                                          death-eligible cases that advanced to the penalty phase in Phila-
                                                                                                                     Santa Ana argued that in newspapers, this happens when words                                        delphia, Pennsylvania from 1979 to 1999. Cases were selected if
                                                                                                                     such as swarm or crawl are used to describe Mexican immigrants.                                     the defendant was Black or White, if the mug shot of the defendant
                                                                                                                     Santa Ana further argued that these words, linking Mexican im-                                      was available, and if the case received coverage in the Philadel-
                                                                                                                     migrants to insects, create an implicit metaphor that, although                                     phia Inquirer. For each case, the Baldus data set contained demo-
                                                                                                                     hidden to casual readers, powerfully impacts the ways in which                                      graphic information for the defendant and victim (e.g., race and
                                                                                                                     they conceive of Mexican immigrants and issues surrounding                                          socioeconomic status) as well as factors related to the criminal
                                                                                                                     immigration. In Study 6, we extended Santa Ana’s hypothesis to                                      case, including aggravating circumstances, mitigating circum-
                                                                                                                     the representation of Blacks as apelike.                                                            stances, and crime severity. We used these factors as covariates in
                                                                                                                        Using a large data set compiled by death penalty researchers,                                    the present data analyses.
                                                                                                                     David Baldus and colleagues (Baldus, Woodworth, Zuckerman,
                                                                                                                     Weiner, & Broffitt, 1998), we examined death-eligible cases be-
                                                                                                                                                                                                                         Newspaper Articles
                                                                                                                     tween 1979 and 1999 in Philadelphia, Pennsylvania. From this
                                                                                                                     data set, we extracted 153 cases for which we had both mug shots                                       Developing a coding list. Four coders searched electronic cop-
                                                                                                                     of the defendant and press coverage of the case in the Philadelphia                                 ies of the Philadelphia Inquirer from 1979 to 1999 for mentions of
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                                                                                                                     defendants in the Baldus database (Baldus et al., 1998). Each            Americans persist in the press—though hidden in metaphor rather
                                                                                                                     article that contained a mention of a defendant was then compiled        than explicitly rendered. Moreover, despite the fact that we con-
                                                                                                                     into an article database. The article database contained 788 arti-       trolled for a substantial number of factors that are known to
                                                                                                                     cles. Each article was then coded for the presence of 54 words that      influence criminal sentencing, these apelike representations were
                                                                                                                     connoted bestial or subhuman qualities. Words were chosen from           associated with the most profound outcome of intergroup dehu-
                                                                                                                     a random sampling of 5% of the total articles. Next, the words           manization: death.
                                                                                                                     were presented to 24 naṎve raters who read each word in context
                                                                                                                     (taken from sentences in the newspaper articles). Raters were
                                                                                                                     asked to “think of an animal” that was associated with the target                                 General Discussion
                                                                                                                     word in each sentence. Thirty-five words5 elicited ape, monkey, or
                                                                                                                                                                                                 A series of six studies provide evidence of a bidirectional
                                                                                                                     gorilla from more than 12 respondents (50%). Finally, to further
                                                                                                                                                                                              association between Blacks and apes that can operate beneath
                                                                                                                     confirm that these words elicited the concept “ape,” all 35 words
                                                                                                                                                                                              conscious awareness yet significantly influence perception and
                                                                                                                     were then presented to a new group of 24 naṎve raters, again in
                                                                                                                                                                                              judgments. In Studies 1–3, we demonstrated a strong bidirectional
                                                                                                                     context. This time, the raters were asked to “think of an animal”
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                                                                                                                                                                                              association between Blacks and apes that directs visual perception
                                                                                                                     that was called to mind after reading all 35 sentences. Of the 24
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                                                                                                                                                                                              and attention. These studies established that neither explicit
                                                                                                                     respondents, 17 answered ape, monkey, or gorilla. Thus, we es-
                                                                                                                                                                                              prejudice nor in-group status moderate this association. Studies 1
                                                                                                                     tablished that the words in the coding list, both individually and as
                                                                                                                                                                                              and 2 also demonstrated that there was a bidirectional White–ape
                                                                                                                     a set, were associated with apes.
                                                                                                                                                                                              inhibition effect. This is consistent with prior research by Eber-
                                                                                                                        Scoring the news articles. Different raters searched the collec-
                                                                                                                                                                                              hardt and colleagues (Eberhardt et al., 2004) showing that, whereas
                                                                                                                     tion of articles for each ape-relevant word on the coding list. Raters
                                                                                                                                                                                              Blacks and crime were positively associated, Whites and crime
                                                                                                                     were given instructions borrowed from work by the sociolinguist
                                                                                                                                                                                              were negatively associated. That Whites and apes are negatively
                                                                                                                     Otto Santa Ana (2002) in his book on metaphor and racial repre-
                                                                                                                                                                                              associated is also consistent with early biologically racist accounts
                                                                                                                     sentations. Each time a word from the coding list was found, it was
                                                                                                                                                                                              of evolution that rendered Blacks as least evolved (ergo closest to
                                                                                                                     read in context to ensure it was being used appropriately (i.e., that
                                                                                                                                                                                              apes) and Whites as most evolved (ergo farthest from apes) (Ja-
                                                                                                                     spring was being used as a verb rather than in reference to a
                                                                                                                                                                                              hoda, 1999; Lott, 1999). This apparent interrelatedness of Black
                                                                                                                     season). Each death-eligible case was then given a score for the
                                                                                                                                                                                              and White images in cultural representations and mental represen-
                                                                                                                     total number of ape words used to describe it in the press and a
                                                                                                                                                                                              tations deserves further study.
                                                                                                                     score for the total number of articles that covered the case.
                                                                                                                                                                                                 After having established that individuals mentally associate
                                                                                                                                                                                              Blacks and apes, Study 4 demonstrated that this implicit associa-
                                                                                                                                                   Results
                                                                                                                                                                                              tion is not due to personalized, implicit attitudes and can operate
                                                                                                                        We submitted the data to an analysis of covariance, controlling       beneath conscious awareness. In Study 5, we demonstrated that,
                                                                                                                     for the total number of articles on each case. As predicted, we          even controlling for implicit anti-Black prejudice, the implicit
                                                                                                                     found that Black defendants (8.53 mentions, SD ⫽ 12.35) were             association between Blacks and apes can lead to greater endorse-
                                                                                                                     described in the press with more ape-relevant words than were            ment of violence against a Black suspect than against a White
                                                                                                                     White defendants (2.2 mentions, SD ⫽ 2.34), F(1, 151) ⫽ 4.61,            suspect. Finally, in Study 6, we demonstrated that subtle media
                                                                                                                     p ⬍ .05, ␩2 ⫽ .03.                                                       representations of Blacks as apelike are associated with jury de-
                                                                                                                        We next tested the relationship between ape portrayals in the         cisions to execute Black defendants.
                                                                                                                     press and defendants being put to death. When controlling for the           We used broad stimulus sampling procedures to ensure that our
                                                                                                                     total number of articles, defendant socioeconomic status, victim         results were not due to stimulus artifacts. In Study 1, we sublim-
                                                                                                                     socioeconomic status, aggravating circumstances, mitigating cir-         inally primed participants with a broad range of Black faces and
                                                                                                                     cumstances, and crime severity, Black defendants who were put to         White faces (50 of each group) to ensure that the ape facilitation
                                                                                                                     death were more likely to have apelike representations in the press      effect produced by exposure to the Black faces was not due to a
                                                                                                                     (12.69 mentions, SD ⫽ 16.66) than were those whose lives were            small number of specific Black faces that just happened to appear
                                                                                                                     spared (6.22 mentions, SD ⫽ 8.43), F(1, 130) ⫽ 4.88, p ⬍ .05,            as more “apelike.” Our results also were not due to mere color
                                                                                                                     ␩2 ⫽ .04. Though a similar trend was found for Whites, with those        matching. In Studies 1–3, we removed the color from our animal
                                                                                                                     sentenced to death more likely to receive apelike representations in     stimuli entirely by exposing participants to line drawings of ani-
                                                                                                                     the press (2.57 mentions, SD ⫽ 2.82) than those whose lives were         mals. In Study 3, we removed the color from our face stimuli
                                                                                                                     spared (1.88 mentions, SD ⫽ 1.96)—perhaps because of the pau-            entirely by presenting line drawings of faces. In Studies 4 and 5,
                                                                                                                     city of White death-eligible cases—this pattern was not statisti-        we removed the images of the animals entirely by presenting
                                                                                                                     cally significant for Whites, F(1, 7) ⬍ 1, ns. Taken together, the       words associated with the animals rather than pictorial represen-
                                                                                                                     results of Study 6 suggest that Black defendants are more likely to      tations. And in Study 4, we removed the images of Blacks and
                                                                                                                     be portrayed as apelike in news coverage than White defendants           Whites entirely by presenting stereotypical first names associated
                                                                                                                     and that this portrayal is associated with a higher probability of       with Blacks and Whites rather than faces. Lastly, our results were
                                                                                                                     state-sponsored executions.
                                                                                                                                                                                                5
                                                                                                                                                 Discussion                                       The final list of words was animal, ape, barbaric, beast, bellow, brute,
                                                                                                                                                                                              claw, collar, crawl, crouch, flush, hairy, howl, hunt, husky, jungle, mon-
                                                                                                                       Though Study 6 was not a controlled experiment, the observed           ster, net, pack, pounce, predator, prey, prowl, savage, scamper, scratch,
                                                                                                                     pattern of data suggests that apelike representations of Black           slaughter, spring, stalk, stampede, swarm, tail, tame, trap, and wild.
                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.659 Filed 05/17/21 Page 41 of 134

                                                                                                                                                                                   NOT YET HUMAN                                                                      305

                                                                                                                     not due simply to apes being represented as aggressive or from           Though researching the mechanisms that undergird dehumaniza-
                                                                                                                     Africa. Big cats were rated as more aggressive and more closely          tion is an important mandate for psychologists, it is essential that
                                                                                                                     associated with Africa, yet participants still showed a bias toward      researchers not lose sight of the reason that dehumanization war-
                                                                                                                     associating Blacks with apes and not big cats, indicating a specific     rants attention in the first place. Dehumanization is a method by
                                                                                                                     representational matching of Blacks and apes.                            which individuals and social groups are targeted for cruelty, social
                                                                                                                        The present research, however, is not without limitations.            degradation, and state-sanctioned violence. This research demon-
                                                                                                                     Though Study 1 demonstrated that the Black–ape association was           strates that studying these outcomes need not be beyond the scope
                                                                                                                     held by Whites and non-Whites alike, difficulty recruiting a ra-         of social psychological analysis. Rather, examining specific his-
                                                                                                                     cially diverse participant sample did not permit a more precise          torical representations, investigating the mechanisms of implicit
                                                                                                                     examination of racial variation in the Black–ape association. Due        knowledge, and exploring the cognitive antecedents of human–
                                                                                                                     to recruitment difficulties, there were few Black participants in        animal associations can all be in the service of remedying dehu-
                                                                                                                     Study 1 and no Black participants in subsequent studies. Though          manization’s savage consequences.
                                                                                                                     one could argue that Blacks might share the implicit knowledge
                                                                                                                     structures responsible for the Black–ape association, this implicit
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                                                                                                                     knowledge may have different consequences for Blacks put in the
                                                                                                                                                                                                                             References
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                                                                                                                     position of making judgments about targets who are in-group              Allport, G. W. (1954). The nature of prejudice. Oxford, England: Addison-
                                                                                                                     members (as in Study 5, for example). The possible moderating              Wesley.
                                                                                                                     role of group identity should be included in future directions of this   Baldus, D. C., Woodworth, G., Zuckerman, D., Weiner, N. A., & Broffitt,
                                                                                                                     research.                                                                  B. (1998). Racial discrimination and the death penalty in the post-
                                                                                                                        These findings expand the growing literature on dehumanization          Furman era: An empirical and legal overiew, with recent findings from
                                                                                                                     by suggesting that historically rooted representations may differ          Philadelphia. Cornell Law Review, 83, 1638 –1770.
                                                                                                                     from general intergroup processes. For instance, although Leyens         Bargh, J. A., & Chartrand, T. L. (2000). The mind in the middle: A
                                                                                                                     and colleagues (Leyens et al., 2001) found that in-groups privilege        practical guide to priming and automaticity research. In H. T. Reis &
                                                                                                                                                                                                C. M. Judd (Eds.), Handbook of research methods in social and per-
                                                                                                                     their human “essences” but that nonhuman animals are not a
                                                                                                                                                                                                sonality psychology (pp. 253–285). New York: Cambridge University
                                                                                                                     necessary contrast, examining the “Negro-ape metaphor” high-               Press.
                                                                                                                     lights the significance of likening certain groups to nonhuman           Bar-Tal, D., & Teichman, Y. (2005). Stereotypes and prejudice in conflict:
                                                                                                                     animals. Studies 1 and 2 also expand the literature on dehuman-            Representations of Arabs in Israeli Jewish society. New York: Cam-
                                                                                                                     ization by moving beyond an in-group/out-group model. Whereas              bridge University Press.
                                                                                                                     previous research has focused on in-group bias, Study 1 demon-           Brigham, J. C. (1993). College students’ racial attitudes. Journal of Applied
                                                                                                                     strated that specific dehumanizing representations of particular           Social Psychology, 23, 1933–1967.
                                                                                                                     stigmatized groups may be widely held—regardless of one’s group          Chalk, F., & Jonassohn, K. (1990). The history and sociology of genocide:
                                                                                                                     affiliation—within a given culture.                                        Analyses and case studies. New Haven, CT: Yale University Press.
                                                                                                                        Additionally, with the exception of recent work by Vaes and           Correll, J., Park, B., Judd, C. M., & Wittenbrink, B. (2002). The police
                                                                                                                                                                                                officer’s dilemma: Using ethnicity to disambiguate potentially threaten-
                                                                                                                     colleagues (Vaes et al., 2003, 2002), few empirical studies high-
                                                                                                                                                                                                ing individuals. Journal of Personality and Social Psychology, 83,
                                                                                                                     light the behavioral consequences of dehumanization. Though the            1314 –1329.
                                                                                                                     word dehumanization invokes notions of bias and discrimination,          Dapper, O. (1688). Naukeurige Beschryving der Eilanden in de Archipel
                                                                                                                     previous research has largely been confined to preferential ascrip-        der Middellandesche Zee [Precise description of the islands in the
                                                                                                                     tions of emotions and character traits. The present research fore-         archipelago of the Mediterranean sea]. Amsterdam: J. Von Meurs.
                                                                                                                     grounds dehumanization as a factor in producing implicit racial          Demoulin, S., Leyens, J. P., Paladino, M. P., Rodriguez-Torres, R.,
                                                                                                                     bias, and we associate it with deadly outcomes—thereby connect-            Rodriguez-Perez, A., & Dovidio, J. F. (2004). Dimensions of “uniquely”
                                                                                                                     ing the literatures of stereotyping, implicit processes, and dehu-         and “non-uniquely” human emotions. Cognition & Emotion, 81, 71–96.
                                                                                                                     manization with real-world social injustices.                            Demoulin, S., Leyens, J. P., Rodriguez-Torres, R., Rodriguez-Perez, A.,
                                                                                                                        That implicit knowledge may contribute to these injustices also         Paladino, P. M., & Fiske, S. T. (2005). Motivation to support a desired
                                                                                                                                                                                                conclusion versus motivation to avoid an undesirable conclusion: The
                                                                                                                     deserves strong consideration. Whereas contemporary research
                                                                                                                                                                                                case of infra-humanization. International Journal of Psychology, 40,
                                                                                                                     paradigms typically assume that explicit knowledge of a stereotype         416 – 428.
                                                                                                                     is necessary before that stereotype can be implicitly activated or       Devine, P. G. (1989). Stereotypes and prejudice: Their automatic and
                                                                                                                     applied, the present research offers evidence to the contrary. In          controlled components. Journal of Personality and Social Psychology,
                                                                                                                     Study 4, participants did not indicate explicit knowledge of the           56, 5–18.
                                                                                                                     Black–ape association, despite their strong willingness to express       Devine, P. G., & Elliot, A. J. (1995). Are racial stereotypes really fading?
                                                                                                                     knowledge of another negative stereotype of Blacks (i.e., they are         The Princeton Trilogy revisited. Personality and Social Psychology
                                                                                                                     violent). This suggests that historical representations are associated     Bulletin, 21, 1139 –1150.
                                                                                                                     with contemporary outcomes in ways that are even more subtle             Dovidio, J. F., Evans, N., & Tyler, R. B. (1986). Racial stereotypes: The
                                                                                                                     than had previously been suspected. When paired with a knowl-              contents of their cognitive representations. Journal of Experimental
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                                                                                                                     edge of this country’s history of racial oppression, this is a trou-
                                                                                                                                                                                              Dovidio, J. F., & Gaertner, S. L. (1998). On the nature of contemporary
                                                                                                                     bling notion that we hope will occasion researchers to investigate         prejudice: The causes, consequences, and challenges of aversive racism.
                                                                                                                     the precise mechanisms by which implicit knowledge functions.              In J. L. Eberhardt & S. T. Fiske (Eds.), Confronting racism: The problem
                                                                                                                        Beyond each of these specific theoretical contributions, how-           and the response (pp. 3–32). Thousand Oaks, CA: Sage.
                                                                                                                     ever, is a broader contribution we hope this research will make.         Dred Scott v. Sandford, 60 U.S. 393 (1856).
                                                                                                                     Dehumanization is about consequences as much as mechanisms.              Dunton, B. C., & Fazio, R. H. (1997). An individual difference measure of
                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.660 Filed 05/17/21 Page 42 of 134


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                                                                                                                       motivation to control prejudiced reactions. Personality and Social Psy-        Loughnan, S., & Haslam, N. (2007). Animals and androids: Implicit
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MICHIGAN JUSTICE FOR ALL TASK FORCE
Strategic Plan and Inventory Report
December 2020
                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.661 Filed 05/17/21 Page 43 of 134
                             A Message from Chief Justice Bridget M. McCormack and
                             Justice Brian K. Zahra, liaison to the Justice for All Task Force



TRUST. The only currency Michigan courts have is trust – the      JUSTICE FOR ALL. With funding from the National Center for
trust of the people we serve. Our judiciary builds that trust     State Courts, the Michigan Supreme Court formed the
by being accessible and engaged with the public. Whether          Justice for All (JFA) Task Force in May 2019 to assess the
physical or virtual, an open courthouse door sends a clear        current state of our civil justice system and develop a
signal that our justice system must work for everyone. At         strategic action plan to ensure 100 percent access to justice.
the same time, an engaged judiciary must deliver justice          This Strategic Plan and Inventory Report represents the
solutions where people live, shaking free from the limitations    culmination of countless hours of work to inventory
imposed by old-fashioned rules, complicated language, and         resources, identify gaps and barriers, and create a road map
imposing buildings.                                               for the future that that leads to a more welcoming,
                                                                  understandable, and trusted civil justice system. The
CIVIL JUSTICE GAP. However successful in keeping our              Supreme Court is grateful to the Task Force and its work
courts running, virtual justice must be measured against the      groups, and to hundreds of community stakeholders,
pre-pandemic reality: Courts were falling short in meeting        attorneys, judges, and court staff who came together and
their mission to provide access to justice for all, and           contributed to this landmark project.
particularly so when it comes to addressing the needs of
lower-income and minority communities. This failure is            Ultimately, the success of this initiative depends on the
glaringly clear when it comes to our civil justice system and     ability of stakeholders to break down the barriers to change
critical concerns that burden families, including the risk of     and build a service-focused culture, simplify and streamline
eviction, access to public benefits, barriers to employment,      processes, create new and affordable ways to match legal
family law issues like parenting time or custody disputes,        services with public needs, and collaborate in the community
and elder abuse, among many others. In fact, we know from         to get more resources and get more out of those resources.
surveys that nearly nine in ten low-income individuals with a     This report identifies specific, concrete, and doable steps
civil legal problem receive little or no legal help. This civil   Michigan can take to build a civil justice system that will be a
justice gap persists despite the tireless efforts of Michigan     model for the nation, and we ask state leaders and residents
legal aid organizations and our national leadership with          statewide to join us on the road to justice for all.
MichiganLegalHelp.org, a program of online resources and
walk-in self-help centers that have helped millions of state
                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.662 Filed 05/17/21 Page 44 of 134




residents.

MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                       2
Justice for All Project Overview                                                          Michigan Justice for All
                                                                                           Task Force Members

The Michigan Supreme Court formed the Justice for All (JFA) Task Force in May
2019 to assess the current state of our civil justice system and develop a                       Jennifer Bentley
                                                                                          Michigan State Bar Foundation
strategic plan to ensure 100% access to justice for people in Michigan. The
National Center for State Courts provided the framework and funding for this
project through its Justice for All Initiative.                                                  Kevin Bowling
                                                                                     Ottawa County Circuit Court Administrator
This Strategic Plan and Inventory Report is the result of an 18-month
collaborative project led by the Michigan State Bar Foundation, the State Bar of                 Lee Ann Gasper
Michigan, the State Court Administrative Office, and the Michigan Legal Help             State Court Administrative Office
Program. The 18-member Justice for All Task Force and its 5 work groups
conducted a comprehensive, broad assessment of 15 civil justice system                       Martha Gonzalez-Cortez
components by engaging and collecting information and data from traditional and         Kalamazoo Community Foundation
non-traditional justice system stakeholders across the state. Members of the
public, judges, court staff, attorneys, and community organization staff members                Kathryn Hennessey
participated in focus groups, surveys, town hall style gatherings, meetings, and               State Bar of Michigan
planning sessions. The 15 component assessments are provided in the Inventory
section of this report.                                                                         Nicole Huddleston
                                                                                               Detroit Justice Center
In October 2020, the Task Force hosted four virtual half-day planning sessions
with over 100 stakeholders to develop a comprehensive strategic plan to fill gaps                  Elinor Jordan
and address barriers to access to justice that were identified in the assessments.      Michigan Coalition Against Domestic
In the first two sessions Task Force and work group members collaborated to                    and Sexual Violence
develop a shared vision for the future and strategic goals to attain that future
state. In each of the second two sessions about 40 stakeholders from a wide                       Kim Koscielniak
variety of legal, government, and community organizations provided feedback on                  Library of Michigan
a draft strategic plan and helped prioritize work to achieve its goals. This
planning process resulted in an ambitious strategic plan that will undoubtedly                    Ashley Lowe
improve Michigan’s civil justice system as it is carried out over the next several             Lakeshore Legal Aid
years.
                                                                                            continued on next page …
                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.663 Filed 05/17/21 Page 45 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                   3
Strategic Plan                                                                          Michigan Justice for All
                                                                                         Task Force Members

The Justice for All Task Force developed this Strategic Plan with the overarching
goal of ensuring 100% access to justice for people in Michigan. The civil justice       Chief Judge Mabel J. Mayfield
                                                                                         Berrien County Trial Courts
system includes the courts, lawyers, legal aid programs, and many other
community partners that provide a wide variety of important services. They work
together so people can address their civil legal problems, which may involve                     Jill Nylander
                                                                                      Legal Services of Eastern Michigan
money, housing, family issues, employment, or many other non-criminal
problems.
                                                                                               Jessica Parks
The civil justice system is important because last year seven out of ten low-         State Court Administrative Office
income households had at least one civil legal problem. Since the right to a
lawyer applies only in criminal cases, at least one side represented themselves in        Judge Matthew Stewart
75% of civil cases because they could not afford a lawyer. As a result, people        Shiawassee County Circuit Court
who have done nothing wrong may lose life-changing cases in court because they
don’t have the legal information or help they need.                                             Angela Tripp
                                                                                        Michigan Legal Help Program
Through this Strategic Plan the JFA Task Force has created a path to a better civil
justice system - one that provides a safe, trusted, and inclusive experience for            Judge Raymond Voet
addressing problems and strengthening communities.                                        64A District Court (Ionia)


                                                                                              Jennifer Warner
                                                                                      State Court Administrative Office


                                                                                                Janet Welch
                                                                                            State Bar of Michigan


                                                                                            Justice Brian Zahra
                                                                                          Michigan Supreme Court
                                                                                                                              Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.664 Filed 05/17/21 Page 46 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                4
Vision
                                                                   Welcoming
Michigan's civil justice
system provides a safe,
trusted, and inclusive
experience for addressing            Trusted                                   Understandable
problems and strengthening
communities.




                                                                    Justice
                                                                    for All




                                    Adaptive                                   Collaborative
                                                                                                   Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.665 Filed 05/17/21 Page 47 of 134




                             MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                        5
       Our envisioned future for Michigan’s Civil Justice System is described by these characteristics:




      Welcoming              Understandable            Collaborative              Adaptive                    Trusted

 Engaging with the civil   People can               Community               All partners in the civil   Regardless of legal
 justice system is not     meaningfully engage      organizations are       justice system              outcome, people
 intimidating; if you      with the civil justice   integral partners to    embrace a culture of        believe they were
 need help it is           system and use its       achieve better          service to address          heard, respected, and
 available and             tools to help address    outcomes for people’s   people’s individual         treated fairly.
 accessible.               their problems,          civil legal problems.   needs.
                           regardless of their                                                          People see the civil
 Courthouses are           level of experience.     A wide variety of       People get quality          justice system as
 accessible, pleasant,                              diverse partners work   legal help, which may       necessary and useful;
 and convenient places     At every step people     together to solve       include new and             it is a place to help
 to conduct business.      feel informed,           people’s legal and      innovative services,        resolve their
                           understand what          other related           based on the                problems.
 All people, regardless    happened, and know       problems.               complexity of their
 of race, gender,          what to do next.                                 problems and their          The civil justice
 sexual orientation,                                                        specific needs.             system is accountable
 ability, language, and                                                                                 to its communities
 social or economic                                                         The system is               and responsive to
 status, are treated                                                        frequently evaluated        community needs.
 with dignity and feel                                                      and, as appropriate,
 like they belong.                                                          new processes and
                                                                            technology are
                                                                            incorporated to
                                                                            enhance its
                                                                            effectiveness.
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.666 Filed 05/17/21 Page 48 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                      6
             Strategic Pillars (Goals)
                                                                                 Outcome Measures and Tactics for
                     A service culture is pervasive across the Michigan civil    each Strategic Pillar are set out on
                     justice system: stakeholders are focused on serving and     the next 5 pages. They represent
                     strengthening their communities.                            many ideas suggested through the
     Pillar 1                                                                    Justice for All inventory process.
                                                                                 The tactics are ambitious by design
                                                                                 and are likely to advance the goals
                                                                                 of the JFA Task Force. It is not
                     Simplify and streamline processes, rules, and laws: the     imagined that all tactics will be
                     civil justice system is easy to navigate, understand, and   achieved or even necessarily
                     use to address all legal problems.                          undertaken in the next few years,
     Pillar 2
                                                                                 and progress in 2021 especially
                                                                                 may be impacted by the
                                                                                 Coronavirus pandemic. Tactics
                     People can get what they need when they need it to          designated by the Task Force as a
                     address their problems: a spectrum of easy-to-access        high priority are highlighted.
                     affordable legal resources to match individual needs is
     Pillar 3        available to everyone.                                      It is anticipated that this Strategic
                                                                                 Plan will be reviewed, evaluated,
                                                                                 and updated on an annual basis. As
                                                                                 a result, tactics may be updated,
                     An inclusive collaborative network of diverse partners
                                                                                 modified, and replaced according to
                     works together to solve problems: the civil justice
                                                                                 the ever-changing needs of those
                     system effectively works with and integrates local          whom the civil justice system
     Pillar 4        resources and community-based organizations.
                                                                                 serves and impacts.
                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.667 Filed 05/17/21 Page 49 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                         7
     Strategic Pillar 1

A service culture is pervasive across the Michigan civil justice system: stakeholders are
focused on serving and strengthening their communities.

 Outcome Measure                     Tactics


 Outcome Measure 1: People              (High Priority) Reimagine courthouses (physical and virtual) to be welcoming, safe places where
 across the state feel respected         people can easily find where they need to go and get the services they need (for example,
 and treated fairly throughout           multilingual plain language signage, courthouse concierge, self-help center, computers/printers
                                         in courtrooms, etc.).
 their interactions with the civil
 justice system, regardless of          Provide easy access to court records and documents for everyone, including members of the
 the outcome of their case.              public.
                                        Expand access to quality interpreter and language services across the civil justice system.


 Outcome Measure 2: All                 (High Priority) Train all stakeholders on access to justice topics, including:
 stakeholders understand the                  communication and customer service skills;
 importance of their role and                 the difference between legal advice and legal information;
 provide exceptional service to               triage and referral strategies and tools;
 system users.                                diversity, equity, and inclusion principles applied to the civil justice system;
                                              strategies to address power imbalances;
                                              issues affecting people in poverty;
                                              trauma-informed responses and de-escalation; and
                                              how to grow public trust and confidence in the courts through building strong community
                                               and court relationships.
                                        Expand local courts’ understanding of their roles and expectations in increasing access to justice
                                         through trial court performance measure results and best practices.
                                        Through the combined leadership of the judiciary, the bar, and other justice system
                                         stakeholders, shift the culture of the civil justice system toward a greater focus on collaboration
                                         and holistic problem solving.
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MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                                     8
     Strategic Pillar 2

Simplify and streamline processes, rules, and laws: the civil justice system is easy to navigate,
understand, and use to address all legal problems.

 Outcome Measure                     Tactics


 Outcome Measure 1: Simplify            (High Priority) Simplify, streamline, and create uniform statewide processes for a specific case
 procedures so that all users –          type through a pilot project; document the project process to be replicated in other substantive
 even first-time users –                 areas.
 understand processes and their         (High Priority) Educate and assist the public on remote access to courts and coordinate with
 underlying purposes.                    community partners to ensure that people can access required technology.
                                        (High Priority) Identify, simplify, and clarify needlessly complex or difficult-to-understand legal
                                         procedures (for example, streamline information exchange between parties to allow them to
                                         make informed decisions about their cases early in the process).
                                        Expand the use of text-messaging and other technology-based reminder systems for court dates
                                         and deadlines.


 Outcome Measure 2: When                (High Priority) Develop and translate plain language court forms.
 appropriate, people can address        (High Priority) Advance the partnership between SCAO and Michigan Legal Help to create a
 their legal problems on their           statewide one-stop plain language forms portal.
 own.
                                        Make the statewide e-filing system easily accessible to all self-represented people, including
                                         those who do not speak English.
                                        Enhance courtroom assistance services throughout the state.
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MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                                     9
     Strategic Pillar 3

People can get what they need when they need it to resolve their problems: a spectrum of
easy-to-access affordable legal resources to match individual needs is available to everyone.

 Outcome Measure             Tactics


 Outcome Measure 1: A           (High Priority) Define triage and referral, map existing triage and referral systems, and identify priority
 robust statewide triage         areas for improvement.
 and referral system            (High Priority) Improve existing triage and referral systems through usability testing.
 connects people to the
                                (High Priority) Reach out to and educate stakeholders and the public about the availability of the Guide
 right resources for their
                                 to Legal Help as a triage tool to connect people with appropriate resources.
 problems.
                                Develop a common framework for ongoing assessment and data sharing for triage and referral systems.
                                Increase language access and remote access in triage and referral services.


 Outcome Measure 2:             (High Priority) Seek funding from the state legislature and other sources for access to justice
 People can access the           improvements, including increased funding for legal aid representation of lower-income individuals.
 level of assistance            (High Priority) Demystify Limited Scope Representation for lawyers, judges, and the public through a
 needed to resolve their         pilot project that demonstrates its value in a specific legal area.
 legal problems through
                                (High Priority) Allow virtual hearings and revise procedures to promote the ability of attorneys to provide
 an expanded continuum
                                 legal assistance wherever it is needed, throughout the state.
 of services.
                                Develop a statewide centralized online repository of training materials and practice resources for pro
                                 bono attorneys.
                                Optimize existing systems and develop new services for people with moderate income to access
                                 affordable legal advice and representation.
                                Increase public and stakeholder awareness of Alternative Dispute Resolution (ADR) and the MI-Resolve
                                 online dispute resolution system; when appropriate, integrate ADR and MI-Resolve resources with
                                 partners’ service models.
                                Develop training and mentorship programs for private attorneys on how to design a modern practice that
                                 provides affordable legal services.
                                Study successful problem-solving courts and how their strategies can be adapted for the civil justice
                                 system; develop recommendations for new or expanded problem-solving courts for civil legal problems.
                                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.670 Filed 05/17/21 Page 52 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                                     10
     Strategic Pillar 3

People can get what they need when they need it to resolve their problems: a spectrum of
easy-to-access affordable legal resources to match individual needs is available to everyone.

 Outcome Measure                     Tactics


 Outcome Measure 3: Some                (High Priority) Study the feasibility of deploying new and innovative business models and
 services related to addressing          services to expand the continuum of services related to addressing legal problems.
 legal problems are delivered by        Authorize and develop a legal advocate/navigator role; determine what entity is best suited to
 allied professionals at                 oversee this role and set standards.
 affordable prices.
                                        Implement initial legal advocate/navigator role.


 Outcome Measure 4: Self-help           (High Priority) Increase funding for Self-Help Centers (SHCs) to operate full time and where
 services exist in every county          feasible, combine them with E-filing service centers.
 and are available in many              (High Priority) Expand outreach to the public to increase awareness of SHCs and their services.
 courthouses where people can
                                        Strengthen courts’ relationships with and support of self-help centers to improve their
 access self-help materials and,
                                         effectiveness; foster connections between SHCs and local justice system partners, including legal
 in most cases, in-person
                                         aid, libraries, Community Dispute Resolution Programs, and local bar associations.
 assistance.
                                        Develop consistent statewide standards for services provided by SHCs.
                                        In partnership with legal aid, bar associations, and others, offer legal clinics at Self Help Centers
                                         to increase access to limited scope, pro bono, and low-cost legal representation.
                                        Improve technology used at SHCs, including for volunteer management, data collection and
                                         sharing, office productivity, and remote services.
                                        Consistently collect SHC data and make it available in one place for SHCs’ and other
                                         stakeholders’ use.
                                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.671 Filed 05/17/21 Page 53 of 134




MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                                       11
     Strategic Pillar 4

An inclusive collaborative network of diverse partners works together to solve problems:
the civil justice system effectively works with and integrates local resources and community partners.

 Outcome Measure                     Tactics


 Outcome Measure 1: People              (High Priority) Create shared frameworks for collaboration, including systems for data sharing, in
 can lessen the severity of their        order to develop and strengthen partnerships between traditional civil legal system stakeholders
 legal problems through                  and community partners.
 education and early                    Create legal check-ups that can be deployed by community partners to help identify peoples’
 intervention as a result of             legal issues and make connections to needed information and help.
 traditional civil legal system
                                        Identify and replicate existing successful community integration programs and projects; share
 stakeholders’ engagement with           the best community integration and prevention practices and models statewide.
 community partners.
                                        Place self-help kiosks and provide access to trained navigators at community partner locations.


 Outcome Measure 2: All                 (High Priority) Create a permanent Justice for All Commission to ensure that the infrastructure is
 partners in the civil justice           in place for effective and sustained community and stakeholder engagement and to maximize
 system work collectively to             collaboration and coordination.
 improve access to justice for          (High Priority) Capture compelling real-life stories to use for advocacy, for example, to propose
 everyone in Michigan.                   court rules changes, to gain support from the legislature, etc.
                                        Improve stakeholder willingness and capacity to use and share data by creating data sharing
                                         standards, executing information sharing agreements, hiring data analysts, and creating a
                                         staffed central repository for civil justice system data.
                                        Improve the ability to share court data to increase efficiency and ensure consistent collection of
                                         quality data.
                                        Conduct stakeholder training on how to assess consumer needs and experiences; share
                                         knowledge from organizations that successfully acquire consumer needs data and use it to
                                         inform their work.
                                        Partner with higher education institutions on scientific research to better understand how
                                         marginalized populations experience the courts and the legal system.
                                        Connect justice system stakeholders to broader community efforts to provide people with access
                                         to digital services, the internet, and online resources.
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MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                                    12
    Inventory of the Michigan Civil Justice System

                                                        The development of the Justice for All Strategic Plan was preceded by and relied
                                                        upon thorough assessments of 15 interrelated civil justice system components that
                                                        are defined in the National Center for State Courts’ JFA Guidance Materials. The
                                                        assessments were designed to determine how well developed each component is in
                                                        Michigan and what is the current level of adoption. This inventory contains the 15
                                                        component assessments, along with a list of gaps and barriers to adoption that were
                                                        identified for each.
                                                        The JFA Task Force first divided the 15 system components into five groups, and for
                                                        each appointed a work group of stakeholders with subject matter expertise to
                                                        conduct the assigned component assessments (see the chart of components listed
                                                        by group on the next page). Thirty-seven professionals from across the state
                                                        participated in one or more work groups. The chairpersons of each work group
                                                        comprised the core planning team that oversaw and coordinated stakeholder
Participants at the Detroit Justice for All Town Hall   engagement, event planning, communications, survey design, and data collection for
Meeting in February 2020.                               the project.
                                                        Work group members relied upon their experience and expertise to provide relevant
                                                        information about how each component is currently deployed in Michigan. A vast
                                                        amount of specific data and information was collected from the public and a wide
                                                        variety of diverse stakeholders from every part of the state in several ways,
                                                        including the following methods:
                                                           January to July 2020 - In-person and virtual focus groups with 10 types of
                                                            stakeholders; 139 people participated in 11 focus groups.
                                                           February 2020 - Town hall meetings to engage members of the public hosted by
                                                            Chief Justice McCormack and Justice Zahra; 57 people attended in Grand Rapids
                                                            and 158 attended in Detroit; 46 people completed a short paper survey about
                                                            their experiences with the civil justice system.
                                                           May 2020 - Online survey of members of the public regarding their experiences
                                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.673 Filed 05/17/21 Page 55 of 134




                                                            with the civil justice system; 556 people completed the survey.

    MICHIGAN JUSTICE FOR ALL TASK FORCE REPORT                                                                                              13
Inventory of the Michigan Civil Justice System

   July 2020 - Online survey of 16 different types of stakeholders about 15 justice
    system components; 991 people completed the survey.

The stakeholder survey was modeled on standard component assessments provided
in the National Center for State Courts’ JFA Guidance Materials, but they were
significantly customized to reflect the Michigan civil justice landscape. The 15
component surveys were programmed as one very large online survey that used
logic to deliver only appropriate questions to each type of respondent. Stakeholders
that took this survey included state court judges, magistrates, and referees; court
administrators and clerks; legal aid directors and attorneys; community organization
directors and staff members; domestic violence survivor advocates; librarians, self-
help center navigators; bar association leaders; pro bono counsel; limited scope
lawyers; law school clinicians, and Community Dispute Resolution Program
managers.
                                                                                       Opening the public town hall meeting in Detroit:
After this extensive amount of information was collected, the work groups analyzed
                                                                                       (l to r) Jennifer Bentley, executive director of
relevant data to produce the component assessments that follow in this report (see     Michigan State Bar Foundation; Chief Justice
Appendix for the Component Rating Scale).                                              Bridget McCormack; and Justice Brian Zahra.
                                                                                                                                          Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.674 Filed 05/17/21 Page 56 of 134




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         Justice System Components (listed by group)

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      INNOVATION           COMMUNITY INTEGRATION         A LAWYER             A LAWYER            EDUCATION




      Jurisdictional          Consumer Needs &           Self-Help              Full          Judicial & Court Staff
     Infrastructure              Experience               Centers          Representation           Education




 Stakeholder Capacity       Community Integration        Triage &          Limited Scope         Plain Language
    & Governance               & Prevention              Referral          Representation             Forms




 Emerging Practices &                               Alternative Dispute                       Courtroom Assistance
    Innovations                                          Resolution                                 Services




                                                        Navigator                                 Compliance
                                                        Services                                  Assistance
                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.675 Filed 05/17/21 Page 57 of 134




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 Jurisdiction
 Infrastructure

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                The infrastructure should include all    The inventory should document
                                                 civil access to justice stakeholders      current technological, social,
                                                 (traditional and non-traditional).        economic, and transportation
                                                                                           infrastructure and identify issues for
                                                Stakeholder profiles should be
                                                                                           consideration in planning, such as
                                                 written and published, and should
                                                                                           rural areas with inadequate
                                                 include state- and local-level
                                                                                           broadband to support video or
                                                 information, where possible.
                                                                                           consistent web-based services.
            PARTIAL
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.676 Filed 05/17/21 Page 58 of 134




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Assessment
Jurisdiction Infrastructure was
evaluated by cataloging how key
justice system stakeholders are
currently organized and how their
organization impacts innovation and
change. Stakeholders assessed include
Michigan courts, the bar, legal aid, and
other institutions that help people
address their civil legal needs.



Courts                                          Marquette County Courthouse

Michigan’s constitution organizes the
judicial branch into “One Court of             4 municipal courts.1 Each circuit court     of 2019, Michigan had 559 judges, not
Justice” with several divisions including      also has a specialized Family Division      including quasi-judicial officers. In
a supreme court, court of appeals, and         that requires participation and             each judicial circuit a Friend of the
trial courts which consist of the circuit      coordination between the circuit and        Court (FOC) office exists. The FOC is
and probate courts, and any courts of          probate courts, and is aimed at             an employee of the circuit court who
limited jurisdiction created by the            providing more efficient and effective      serves under the direction of the Chief
legislature, currently the district court      services to families and individuals.       Judge to provide general Title IV-D
and municipal courts. The Michigan                                                         (child support) services and other
                                               Michigan utilizes judges and quasi-         duties as set forth by law. A Friend of
Supreme Court has superintending
                                               judicial officers, including magistrates,   the Court Bureau is also established
control over the court of appeals and
                                               referees, and probate registers to          within the State Court Administrative
trial courts.
                                               conduct the court’s business. Judges        Office to provide guidance and support
Michigan currently has 242 trial courts,       are elected (or appointed when a seat       to FOC offices.
which includes 57 circuit courts, 78           is vacated), while quasi-judicial
probate courts, 103 district courts, and       officers are hired and employed by the      Locally, a court administrator manages
                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.677 Filed 05/17/21 Page 59 of 134




                                               court, and their authority is limited. As   the business of each court under the

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supervision of the Chief Judge. The            ability to deliver consistent services.
elected county clerk is designated as          The level of public transportation
Clerk of the Circuit Court. County clerk       available near and around Michigan’s
employees, court clerks, and other             courts varies by each location.3
court staff are responsible for the day-
to-day interaction with the public,            Funding responsibility for Michigan’s
processing court filings, managing             trial courts is distributed among state,
court records, and providing support           county, and municipal governments
during court proceedings.                      with federal funding adding a critical
                                               component of many court-
Michigan’s State Court Administrative          administered services such as child
Office (SCAO) has sought to ensure             support administration. While localized
that trial courts are equipped with the        funding of courts has enabled
necessary technology to serve the              laboratories of innovation in various
public in a connected world, including         locations, it also creates challenges in
                                                                                             Due to the size of our county, traveling to
video conferencing technology and              implementing collective and consistent        services can be difficult. We have limited
Zoom licenses.2 To standardize                 change on a statewide level. The              public transportation and there is too much
operations across Michigan’s trial             financial realities and priorities of local   reliance on "in person" services.
courts, SCAO has developed various             units of government make it difficult to
technology standards and guidelines,           implement change that requires                 - District Court Deputy Court Administrator
including for courtroom technology and         additional funding. In September 2019,                                in Western Michigan
virtual courtrooms. Michigan courts are        the Trial Court Funding Commission
currently engaged in the development           issued a report recommending the
and implementation of a statewide e-           establishment and transition to a new
filing system. There currently is no           court funding model.4
online access to court records, and
local trial courts use approximately 20
different case management systems,
which makes it difficult to collect,
                                               The Bar
share, and analyze data. Additionally,
                                               The State Bar of Michigan (SBM) was
some locations don’t have reliable
                                               created by statute in 1935. It operates
                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.678 Filed 05/17/21 Page 60 of 134




internet service, further impeding their
                                               pursuant to the direction and rules of

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the Michigan Supreme Court, which              The State Bar of Michigan has a
defines the mission of the state bar to        longstanding reputation for supporting
“aid in promoting improvements in the          innovation in the administration of
administration of justice and                  justice and the delivery of legal
advancements in jurisprudence, in              services.6 It has helped develop and
improving relations between the legal          promote fundamental improvements,
profession and the public, and in              such as Michigan Legal Help and
promoting the interests of the legal           problem-solving courts. The SBM helps
profession in this state.” As with other       attorneys connect with high-quality pro
integrated bars whose membership               bono opportunities and administers
encompasses all licensed attorneys in          several pro bono programs that assist
the state, the SBM is governed by              low-income clients with various legal
leadership elected by the entire               problems. The SBM also recognizes
membership. The SBM has several                attorneys who contribute pro bono
committees within its structure that           services through its A Lawyer Helps
focus on access to justice issues.5            website and Pro Bono Honor Roll. The
                                               stability of its financial structure, scope
The state bar has an integral role in the      of membership, and ability to
regulatory functions of the state              effectively communicate with all
concerning the practice of law, but has        licensed Michigan attorneys makes the
no direct decision making authority            State Bar of Michigan an important
over regulation. It assists and                partner in advancing innovation in the
collaborates with local and affinity bars      civil justice system.
on initiatives consistent with its public
mission, including access to justice.
Most rural, suburban, urban, and
                                                                                               State Bar of Michigan, Lansing, Michigan.
affinity bars, like the State Bar of           Legal Aid
Michigan, are led by elected leadership
and offer initiatives in support of            Michigan has five regional legal aid
access to justice, but as voluntary,           programs, several statewide legal aid
limited bars, these bars have limited          organizations, and some smaller locally
                                               based legal aid programs that provide
                                                                                                                                                Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.679 Filed 05/17/21 Page 61 of 134




strategic range and impact.


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specialized services. Regional programs        education, barriers to employment, and
collectively have approximately 35             elder abuse. Each legal aid program
staffed offices with 200 full time             sets its own case priorities and may
attorneys located throughout Michigan.         have specific funding to expand
One program serves the metro Detroit           services in a particular substantive area
area, three regional programs have a           or to assist a particular vulnerable
mix of large, mid-size, and rural areas,       population. There are also a variety of
and one program serves 36 primarily            statewide programs that serve specific
rural counties, covering the top half of       populations, including migrant and
the Lower Peninsula and the entire             seasonal farmworkers, Native
Upper Peninsula.                               Americans, immigrants, and older
                                               adults. Service delivery in rural areas is
Legal aid organizations do not have the        especially challenging because there
financial and human resources needed           are fewer available resources.
to represent everyone who needs and                                                         We are still developing accommodations
qualifies for their services. The 2017         Legal aid programs that coordinate           related to COVID - It has been difficult due
Justice Gap Report prepared by the             statewide services also participate in a     to the availability of high-speed internet
                                                                                            and technology in the rural service area.
Legal Services Corporation (LSC) found         centralized fundraising campaign and
that nationwide, 86 percent of civil           are described further on the Access to
                                                                                                           - Domestic Violence Survivor
legal problems reported by low-income          Justice Campaign website. In addition
                                                                                                                       Service Provider
individuals received inadequate or no          to this campaign, Michigan civil legal
legal help. This problem is mirrored in        aid organizations receive funding from
Michigan.                                      LSC, the Michigan State Bar
                                               Foundation, and other foundations.
Regional legal aid programs currently          There is not a state appropriation for
handle approximately 42,000 cases a            civil legal aid.
year. About half of those cases involve
housing and family law issues, with a          Michigan’s civil legal aid programs have
priority on representing domestic              a long history of collaboration and
violence survivors. These programs             innovation. Three statewide programs
also prioritize cases involving access to      provide the infrastructure for the
public benefits, consumer debt,                statewide delivery system: Michigan
                                                                                                                                           Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.680 Filed 05/17/21 Page 62 of 134




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Legal Help (MLH), Counsel and                  to address access to justice issues         Commission will build upon the
Advocacy Law Line (CALL), and                  through policy advocacy, amicus briefs,     relationships and infrastructure that
Michigan Poverty Law Program (MPLP).           and as advisors to the courts and other     already exist to develop a more
MLH and CALL provide statewide                 stakeholders. Michigan’s five law           organized permanent structure that
centralized triage, referral, information,     schools have over 30 clinical programs      leverages the strengths of individual
and advice, which frees up regional            that have the combined purpose of           partners. Stakeholders from a wide
legal aid programs to devote their             teaching lawyering skills to students       variety of communities across the state
resources to cases that need full              and serving members of the public who       will be invited to serve on the new
representation.                                can’t afford to pay for legal services in   commission in the fall of 2020. The
                                               a variety of case types.                    Justice for All strategic plan will serve
Other Institutions                                                                         as a roadmap for the new
                                               Access to Justice                           Commission’s work.
Several other organizations are central
partners in the Michigan access to             Community
justice community. The Michigan State
Bar Foundation provides grants to legal        To date, Michigan’s Access to Justice
                                               community has been organized as an
aid programs and convenes and leads
                                               informal group of core justice system
statewide efforts in collaboration with
                                               leaders, not as a formal entity. During
its grantees. The Legal Services
                                               the data and information gathering
Association of Michigan is a nonprofit
composed of leaders from the largest           process for this inventory, the Justice
                                               for All Task Force recognized a need for
13 civil legal services providers, which
                                               a more defined and permanent
develop and pursue a legislative
                                               infrastructure for access to justice work
agenda to advance the civil legal rights
                                               in Michigan. The Task Force decided
of low-income individuals in Michigan.
The State Planning Body is an                  and has been working to create a
                                               formal statewide Justice for All
association of leaders from the
                                               Commission that is an independent
judiciary, legal aid, the private bar, the
                                               coalition led by the State Court
public defender community,
                                               Administrative Office, the State Bar of
immigration advocates, domestic
violence advocates, and community              Michigan, and the Michigan State Bar
                                               Foundation. The newly formed
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.681 Filed 05/17/21 Page 63 of 134




service organizations, which collaborate

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Gaps & Barriers

1                                              2                                           3
Localized funding of courts makes              Decentralized court technology, and         The State Bar of Michigan’s complexity
system change difficult to implement.          lack of online court records and a          and procedural requirements may
                                               uniform case management system              hinder quick action and prevent taking
                                               makes data-oriented change in the           full advantage of opportunities for
                                               courts difficult.                           innovation and change.



4                                              5                                           6
Legal aid service delivery in rural areas      Too many different access to justice        There is not one entity that is
is extremely challenging because there         groups that overlap in purpose,             responsible for, or a process developed
are few resources available.                   resulting in redundancy, lack of            to prioritize, requests for statewide
                                               coordination, and a lack of clarity about   funding initiatives for legal aid through
                                               who is responsible for assessment and       the state legislature or state agencies.
                                               priority setting across the state.

7
Because of a lack of sufficient
resources, legal aid programs are
forced to prioritize their services,
which can create challenges to funding
crucial statewide initiatives with
broader access to justice goals.
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 Stakeholder Capacity
 & Governance

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                An established forum and process        Dedicated attention to funding,
                                                 for collaboration among stakeholder      resources, and partnerships to
                                                 groups.                                  support growing stakeholder and
                                                                                          ecosystem capacity.
                                                Clear understanding of access to
                                                 justice roles and responsibilities
                                                 within and among stakeholder
                                                 groups.
            PARTIAL
                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.683 Filed 05/17/21 Page 65 of 134




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Assessment                                      Which of these access to justice activities is your organization permitted to do? (n = 383)
The JFA Task Force assessed the
                                                                                     Yes   No
capacity and structure of all
stakeholders engaged in the Michigan                Direct Client Representation
civil justice system, and the optimal                               Legal Clinics
role for each stakeholder. The Task
                                                                    Client Intake
Force recognized that as a more robust
continuum of legal help develops, the                         Cas e Management
roles and capacity of stakeholders will
                                                            Self-Help Assistance
become more clearly defined. Surveys
of stakeholders engaged in the civil                          Legal Information
justice system revealed their various
                                                                    Law Reform
roles:
                                                         Community Organizing
  Legal aid programs deliver a broad
   range of legal services to low-                                     Lobbying

   income individuals and vulnerable            Civil Jus tice System Governanc e
   populations;
                                                                                    0%   10%    20%   30%   40%   50%   60%   70%   80%   90%   100%
  Self-help centers provide legal
                                                 Source: Stakeholder Survey, July 2020
   information and tools to help self-
   represented litigants navigate the
   court system;                                 Libraries provide access to legal
  Community organizations empower                information;
   individuals and help them find the            Law firms and private attorneys
   legal help they need;                          deliver pro bono services to lower-
  Community Dispute Resolution                   income clients; and
   Centers facilitate the resolution of          Courts and judges serve the public
   legal problems;                                by administering justice.
                                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.684 Filed 05/17/21 Page 66 of 134




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There currently are several statewide          legal aid programs, keeping this critical   fundraising campaign to raise money
entities in Michigan that engage in civil      resource very low-cost for each             from the legal community,
justice system governance and                  program; the Michigan Legal Help            administered by the Michigan State
promote collaboration among                    Program creating online intake portals      Bar Foundation in collaboration with
stakeholders, including several                for three legal services programs at no     the State Bar of Michigan. However,
committees of the State Bar of                 cost to them; and the Michigan Poverty      there is not currently a single entity or
Michigan, the Legal Services                   Law Program and six legal aid               staff position in Michigan that is
Association of Michigan, the State             programs working together to support        dedicated to funding, resources, and
Planning Body, State Court                     the statewide Michigan Foreclosure          partnerships to support growing
Administrative Office workgroups, and          Prevention Program (since 2008) and         stakeholder and ecosystem capacity.
the Integrated Technology work group.          the Crime Victim Legal Assistance
                                                                                           Legal aid programs in Michigan
Each of these bodies has a distinct            Program for domestic violence
                                                                                           frequently partner with each other to
purpose, however there is overlap in           survivors and victims of elder abuse
                                                                                           identify new funding sources and
their focus and work, and a lack of            (since 2016).
                                                                                           implement cost-saving opportunities
coordination between groups that are
                                               Beyond these examples, and largely          by operating statewide. The most
working on similar issues. These
                                               due to resource constraints, most civil     recent example of collaboration
entities consist largely of traditional
                                               justice system stakeholders have            regarding funding occurred in the
justice system stakeholders from legal
                                               limited engagement with other               spring of 2020 when the Michigan
aid programs, courts, and the private
                                               stakeholder types and instead tend to       State Bar Foundation, all legal aid
bar, and do not generally include non-
                                               work within their own silos, although       programs, SCAO, and the State Bar of
traditional stakeholders like community
                                               there is a strong desire to collaborate     Michigan worked together to acquire
organizations.
                                               more. Many stakeholders do not have         funding from the state Coronavirus
The Michigan State Bar Foundation              a clear understanding of what other         Relief Fund. Through this effort a new
provides funding to legal aid                  stakeholders do and what services           statewide Eviction Diversion Program
organizations for numerous projects            they provide.                               was created to provide legal assistance
that involve collaboration with a wide                                                     to tenants facing eviction during the
                                               Michigan has a history of collaboration
variety of stakeholder groups.                                                             COVID-19 pandemic.
                                               to provide financial resources for
Examples of successful collaboration
                                               access to justice efforts. Since 2018,
include the Michigan Poverty Law
                                               fifteen legal aid programs have
Program hosting and managing the
                                               participated in a centralized
case management systems for most
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.685 Filed 05/17/21 Page 67 of 134




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Gaps & Barriers

1                                              2                                             3
Too many work groups and                       Courts are unclear and of many                Fragmented funding for courts makes it
committees that address overlapping            different opinions regarding what their       difficult to develop and implement new
access to justice related issues, with a       role is related to civil access to justice.   programs and innovations related to
lack of clarity about roles and                                                              access to justice.
responsibilities and a lack of
coordination between groups.

4                                              5                                             6
Lack of communication between local            Lack of consistency between courts in         Most stakeholders do not have the
courts and other stakeholders about            their data collection methods and             time, human resources, and expertise
access to justice initiatives, along with      technology and a lack of data sharing         needed to collect and analyze data
a lack of cooperation by some                  and analysis between stakeholders             effectively, although they recognize
stakeholders to try new ideas.                 perpetuates silos and inhibits                that they could use data in many more
                                               collaboration.                                ways to improve their services.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.686 Filed 05/17/21 Page 68 of 134




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 Emerging Practices
 and Innovations

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Process simplification                  Data privacy and confidentiality
                                                Upstream interventions                  Electronic filing and online access to
                                                                                          court records
                                                Regulatory reform
                                                                                         Cybersecurity
                                                Online Dispute Resolution (ODR)
                                                Legal portals

            MINIMAL                             Artificial intelligence and machine
                                                 learning
                                                                                                                                   Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.687 Filed 05/17/21 Page 69 of 134




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Assessment
This justice system component
represents the forefront of innovation.
The seven emerging practices and
innovations assessed by the JFA Task
Force varied slightly from the key
elements identified in the Justice for All
framework, and include the following:
  Process simplification
  Regulatory reform
  Online Dispute Resolution (ODR)
  Legal portals
  Artificial intelligence and machine
   learning
  E-Filing and online access to court
   records
                                                MichiganLegalHelp.org provides online do-it-yourself tools for people who can’t afford a lawyer.
  Problem-Solving Courts
These seven emerging practices and
                                                                                                       procedures easier in landlord-tenant,
innovations are all currently being            Process Simplification                                  debt collection, mortgage foreclosure,
considered in Michigan, even if some
                                               There is demonstrated commitment to                     small claims, and family cases. A great
have not yet been deployed.
                                               the concept of process simplification,                  deal of technology has been deployed
Information and data needed to assess
                                               which is currently underway in courts,                  to assist with this effort, including e-
each of these elements was gathered
                                               legal aid programs, and Community                       filing software, video conferencing,
from identified subject matter experts
                                               Dispute Resolution Programs across                      websites, and platforms for automated
for each element.
                                               the state. Process simplification is                    document preparation and online
                                               taking place in many parts of Michigan                  dispute resolution. The COVID-19
                                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.688 Filed 05/17/21 Page 70 of 134




                                               to make legal and court processes and                   pandemic has increased the speed at

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which change is occurring, especially as       adoption of regulatory objectives           sponsored ODR. The program is
court processes have been moved                preceding specific recommendations on       administered through Michigan’s
online. Specific initiatives that are          reform, but the State Bar has not           network of 17 Community Dispute
moving the needle on process                   advanced a set of regulatory objectives     Resolution Programs, and is free to all
improvement and simplification include         to the Michigan Supreme Court. SCAO         users. MI-Resolve is available 24/7 and
the Michigan Legal Help website, the           is currently participating in research      can be accessed through mobile
MiFILE statewide e-filing system, the          activities related to regulatory reform.    devices. Disputes that can be resolved
MI-Resolve online dispute resolution           The area that has emerged most              currently, with or without the help of a
platform, virtual court proceedings via        frequently in the JFA process as            mediator, include small claims, debt
Zoom, and a variety of online traffic          possible for regulatory reform is the       collection, landlord-tenant (only
ticket resolution services. In addition,       authorization of non-lawyer                 represented tenants, or for cases not
the State Court Administrative Office          practitioners in cases with a high          involving eviction), neighborhood
provides technical assistance to and           volume of self-represented persons. In      disputes, and general civil money
engages with trial courts to review and        addition to the larger-scale regulatory     damage claims. Other case types may
revise court processes to promote              reform efforts being contemplated and       be added in the future. While there are
efficient and streamlined court                tested in other states, the inventory       features that may be added and
operations.                                    process has brought to light other          improvements made, the MI-Resolve
                                               opportunities for smaller-scale reform,     system has already demonstrated its
Regulatory Reform                              especially related to Self-Help Centers,    potential to greatly increase efficiencies
                                               Navigator Services, and Courtroom           in and simplify the dispute resolution
While the Michigan Supreme Court and           Assistance Services (see those              process for people who can’t afford to
the State Bar of Michigan have been            component assessments for details).         pay for a lawyer (see ADR component
actively supportive of and engaged in                                                      assessment for more details about MI-
innovation, there have been no                 Online Dispute                              Resolve).
changes to the definition of the
practice of law, expansion of regulation       Resolution (ODR)                            Legal Portals
to non-attorney legal providers, or
                                               The statewide online dispute resolution
changes in the rules governing the                                                         Michigan is fortunate to have one of
                                               platform, MI-Resolve, was launched in
practice of law. The State Bar of                                                          the best and most well-developed
                                               all counties on July 1, 2020. By offering
Michigan’s 21st Century Practice Task                                                      websites in the nation for people
Force embraced several regulatory              the nation’s first statewide online         seeking legal information and
                                               dispute resolution tool, Michigan has
                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.689 Filed 05/17/21 Page 71 of 134




reform goals and recommended the                                                           assistance - MichiganLegalHelp.org.
                                               emerged as the clear leader in court-
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The Guide to Legal Help is a legal             Additionally, more outreach and
portal (triage and referral system) on         education of community partners and
the website that is being used in all          the public is necessary to make The
counties. The Guide quickly gathers a          Guide the online place where people
minimal amount of information from             turn when they need help.
users, helps them determine the
nature and stage of their legal                Artificial Intelligence
problem, and then refers them to
appropriate services, including legal          and Machine Learning
information resources, legal aid
programs, private lawyer referral              Artificial intelligence and machine
services, and community or                     learning are currently not being used in
government resources tailored to their         Michigan’s civil justice system.
individual needs. The Guide saves              However, there are instances of its use
users and service providers time by            in systems that are adjacent to the civil
                                                                                           Our organization did not have a discreet
giving users the best possible                 justice system, primarily in state
                                                                                           Legal Advocacy role until 2016. Since then,
resources in their geographic area, and        agency systems that evaluate people’s       the role of a non-lawyer Legal Advocate has
reducing inappropriate referrals that          eligibility for public benefits and         significantly modified the way that all direct
cause people to talk to several                unemployment assistance and attempt         service professionals function in regards to
                                               to detect fraud. Significant problems       clients’ legal needs.
agencies before reaching one that can
help them. The system is connected to          have been found in these systems due
                                               to a lack of transparency and their                        - Domestic Violence Survivor
all legal aid programs, law school
                                               over-detecting of fraud. Other uses of                                 Service Provider
clinics, and lawyer referral systems in
the state, as well as many other helpful       AI and machine learning in courts
agencies. While the Guide is an                include automated systems that help
established and successful tool, there         judges determine a litigant’s ability to
are improvements that can be made to           pay a fine or fee, and traffic ticket
serve people who do not speak English,         negotiation platforms.
collect case outcome data, upgrade the
technology to utilize artificial
intelligence and machine learning, and
                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.690 Filed 05/17/21 Page 72 of 134




integrate it with other systems.

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E-filing and Online                            Problem-Solving Courts
Access to Court Records                        Problem-Solving Courts are heavily
                                               deployed in criminal cases, however,
Electronic filing has been implemented
                                               they exist only in a few counties for
in the Michigan Supreme Court, Court
                                               civil cases. Family Dependency
of Appeals, and 8 trial courts - in five
                                               Treatment Courts are used when
discrete pilots and three that model a         parental substance abuse is a
statewide standard solution, MiFILE,
                                               contributing factor in child abuse and
that will be implemented in the rest of
                                               neglect cases. Judges, attorneys, child
the state’s trial courts over the next
                                               protection services, and treatment
several years.7 In the future e-filing
                                               personnel unite with the goal of
may integrate with the MI-Resolve              providing safe, nurturing, and
online dispute resolution system. E-
                                               permanent homes for children, while
filing is funded by an Electronic Fund
                                               simultaneously providing parents with
System filing fee that is collected on
                                               the necessary support and services
certain types of cases. SCAO is
                                               they need to become drug and alcohol
considering using the MiFILE e-filing          abstinent. Much can be learned about
system to collect case-related data,
                                               community engagement from criminal
and continues to enhance the
                                               problem-solving courts and replicated
functionality of the system. Online
                                               to create more types of civil problem-
access to court records is currently
                                               solving courts.
limited to case history and is managed
locally. There is no statewide repository
of case history or documents for public
online access. SCAO will be adding a
document management system to
MiFILE, which might be leveraged to
provide online access to court records.
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Gaps & Barriers

1                                              2                                           3
Court processes and the legal system           Disparate court rules and processes         Justice system improvements that
in general are overly complicated and          create inefficiencies and make it more      would increase access may be impeded
not navigable by people who can’t              difficult for legal aid attorneys to do     by unauthorized practice of law
afford a lawyer. [Process                      their jobs, recruit volunteers to take      concerns and private bar protectionism
Simplification]                                pro bono cases, and advise clients          and resistance to change. [Regulatory
                                               statewide. [Process Simplification]         Reform]

4                                              5                                           6
Most stakeholders, including judges,           The Guide to Legal Help is an effective     Artificial intelligence and machine
do not know that MI-Resolve exists             triage tool that currently has limited      learning are currently not being used in
statewide and how people can access            impact because it is only available in      Michigan’s civil justice system.
it; MI-Resolve is not well integrated          English, there is a lack of awareness       [Artificial Intelligence and Machine
with court websites and Michigan Legal         and usage of it, and it is not integrated   Learning]
Help. [Online Dispute Resolution]              with some key systems. [Legal Portals]

7                                              8                                           9
There is no statewide repository of            While everyone is allowed to create an      Although problem-solving courts are
case history or court documents for            account and e-file documents, the e-        used in most counties for certain
public online access; online access to         filing system may not be accessible to      criminal case types, the only problem-
court records is limited to case history       all self-represented persons and it is      solving court in civil cases, Family
and is managed locally. [E-filing and          not accessible to people who do not         Dependency Treatment Courts, exist in
Online Access to Court Records]                speak English. [E-filing and Online         only a few counties. [Problem-Solving
                                               Access to Court Records]                    Courts]
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.692 Filed 05/17/21 Page 74 of 134




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 Consumer Needs
 & Experience

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Strong feedback loops with the          Utilization of geospatial analysis.
                                                 public, service providers, and other
                                                                                         Mechanisms for integrating user
                                                 community partners.
                                                                                          voice in strategic and operational
                                                User-focused quantitative and            access to justice decisions.
                                                 qualitative data measures are
                                                 identified and captured.
                                                Utilization of publicly available
            MINIMAL                              datasets from prominent
                                                 government, non-profit, and
                                                 commercial sources to better
                                                 understand population
                                                 characteristics and vulnerabilities.
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Assessment                                      How often do you or your organization obtain feedback about your work and the services you
                                                provide from the public in the following ways? (select all that apply) (n = 299)
Gathering the public voice in the civil
justice system in a systematic way is a
challenge, but it is critical to drive
                                                 60%
user-focused improvements. Through
the JFA inventory process, several
themes emerged about how the
Consumer Needs and Experience                    40%
component has been deployed and
used in Michigan:
                                                 20%
  There is broad awareness by
   stakeholders that assessing
   consumer needs and experiences is
   important and necessary, along                 0%
                                                         Comment     Participatory  Focus groups   Observationa l     Surve ys     Community   Community
   with a desire to engage more in                        bo xes    de sign process                studies/user                     meetings    adviso ry
   this work; but organizations lack                                                                  testing                                    council

   capacity to do so.                                                 Never     Monthly      Quarterly       Yearly      Less t han Yearly

  Some stakeholder organizations
                                                 Source: Stakeholder Survey, July 2020
   have done significant assessing of
   consumer needs and conducted
   user experience testing, but most             It is especially difficult to acquire                 Michigan Legal Help Program (MLH)
   do not get robust feedback from                feedback and input from people                        regularly assesses the needs of
   users about their services, nor do             who don’t realize that they have                      people who use its legal assistance
   they engage in needs assessments.              legal problems; many people fall                      website, MichiganLegalHelp.org, by
  Courts have difficulty compiling               into this category.8                                  conducting user testing studies
   and sharing user data across                                                                         several times a year. MLH also
                                                Specific organizations were found to
   courts because they lack                                                                             receives a great deal of user
                                                have more capacity and more
   compatible technology systems.                                                                       feedback through numerous online
                                                advanced deployment of this
                                                                                                        surveys embedded in its legal
                                                component. For example, the
                                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.694 Filed 05/17/21 Page 76 of 134




                                                                                                        resources, and through its Live Help

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chat service. The State Court                  administrative data, and US Census
Administrative Office and Judicial             Bureau data.
Information Services engage partners
                                               When asked how they learn about
with user experience and multimedia
                                               client/user outcomes for their legal
design experience to conduct user
                                               problems, 43% of respondents
research and assist with system
                                               indicated they do not learn about
design.
                                               outcomes and 36% said they learn
The most popular ways that                     about outcomes from analyzing court
stakeholders said they learn about             records. Only 3% of respondents have
characteristics of the public and their        engaged in discrete randomized
needs for services are by analyzing            control trials or longitudinal studies
administrative data they collect,              with professional researchers. To         Our region has a desperate need for
conducting user surveys, and analyzing         better understand how more                [incorporating the public voice in our work
                                                                                         and services], however with so many
public data sets. Fewer than 25% of            marginalized populations interact with
                                                                                         small/limited agencies trying to serve very
stakeholders surveyed utilize focus            the legal system and experience the       high need populations it is not feasible - we
groups, participatory design                   courts, more scientific research may be   would benefit greatly from a collective
meetings/sessions, and observational           warranted.                                impact strategy but there is no one
studies, and almost none use                                                             willing/able to coordinate.
geospatial analysis. It was noted that
the use of surveys may exacerbate the                                                         - A Northern Michigan County Housing
privilege of people who take them by                                                                           Commission Director
highlighting the opinions of those who
are most willing and able to
participate.
Stakeholder survey respondents
indicated that the most common data
sets used to understand population
characteristics and inform their work
and services are State Court
Administrative Office data, local court
                                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.695 Filed 05/17/21 Page 77 of 134




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Gaps & Barriers

1                                              2                                          3
Most justice system stakeholders do            Stakeholders lack capacity (knowledge      The most commonly used feedback
not get robust feedback from users             and resources) to assess consumer          method (surveys) may exacerbate the
about their services, and they do not          needs and experiences, although they       privilege of those willing and able to
have meaningful ways to conduct                recognize it is important and they have    speak up and participate.
needs assessments.                             a desire to do this more.



4                                              5                                          6
Stakeholders do not currently share            Despite having the capability to share     It is especially hard to receive feedback
what little data they collect with other       data across courts, they have difficulty   and get input from the many people
entities that serve the same                   sharing and comparing data with each       who don’t realize that they have legal
populations; there is very little              other because of the lack of               problems.
information on how this data is used to        consistency in what data is tracked and
improve services and as a result,              compiled.
access.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.696 Filed 05/17/21 Page 78 of 134




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 Community Integration
 & Prevention

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                A robust information exchange           Community outreach should be
                                                 between stakeholders, including          enabled by a robust communication
                                                 cross-training.                          strategy.
                                                Community resources should be           Cross-training among organizations
                                                 integrated into provider services.       should take place.
                                                Information on user experience          Early issue identification and
                                                 should be collected and shared           proactive referrals in a range of
            PARTIAL                              across providers.                        areas and between partners.
                                                Collaborative partnerships should be    Education for community
                                                 formed involving both legal and          stakeholders and litigants about
                                                 social services providers.               dispute resolution without legal
                                                                                          action.
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                                               prevention is a necessary strategy to            the legal community. These entities
Assessment                                     provide justice for all. Access to justice       include health care providers, religious
This vital component connects the legal        is not court-centered, and an upstream           leaders, government offices,
system to communities and empowers             focus on engaging a wide variety of              community centers, social services
increased access to the civil justice          community stakeholders is crucial to             agencies, libraries, the Michigan 211
                                               successfully helping people resolve              service, and schools. The survey also
system through engaged and educated
                                               their legal problems.                            revealed that about one-third of
community stakeholders and trusted
intermediaries that people most often                                                           respondents chose not to go to court
                                               While community integration is key to            because they don’t trust courts to
first seek help from when they have a
                                               increasing access to justice, there is           provide a fair decision, and about 50%
problem. Successful deployment of the
                                               much room for improvement in                     didn’t understand what to do next to
key elements of Community
                                               Michigan. A survey of nearly 600                 resolve their legal problem after they
Integration and Prevention will improve
                                               members of the public showed that                were in court. To bridge these
the effectiveness of those
                                               when people have personal or legal               shortcomings and the disconnects
organizations’ responses to peoples’
                                               problems, they very frequently seek              between social services, legal services
legal issues. Addressing civil legal
                                               assistance from community                        providers, and courts, more and better
issues before they progress and worsen
                                               organizations with no or weak ties to            partnerships must be forged.
will save people time, money, and help
them avoid what may be burdensome                                                               Community organizations are often the
court processes. Integrating                                                                    front door into the civil justice system.
community stakeholders into the civil                                                           There are examples of successful
                                                                                                community integration in all parts of
justice system is about getting people         The lack of one clear resource area in the
                                               local courthouse, or anywhere in the             the state, but there is not currently an
the help they need, when they need it,
and in a format they can use.                  community, has been a barrier when the           effort underway to evaluate and
                                               public needs to find who, what, and where        replicate the most effective
The JFA inventory process revealed             they need to go for assistance with the          partnerships.
important findings about how                   courts. I am currently in the preliminary
                                               stages of creating a court resource center       Nearly 1000 participants in the JFA
Community Integration and Prevention
                                               at the local public library as a first step to   stakeholder survey were asked a series
is currently carried out in Michigan.
                                               better access to the courts.                     of questions about Community
First and foremost, the information
gathered through surveys and focus                                                              Integration and Prevention. Only about
                                                          - Probate Register/Family Court       40% responded to these questions,
groups demonstrates that stakeholders
                                                      Administrator in the Upper Peninsula
                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.698 Filed 05/17/21 Page 80 of 134




                                                                                                and the most common response to
recognize that early intervention and

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most questions was “I don’t know”.
Comments revealed confusion among                In which ways does your organization exchange information and/or training with community
                                                 organizations, courts, legal organizations, and government agencies? (n = 284)
respondents about the concept of
community integration and their role as
                                                  100%
a community partner, especially among
judges and court personnel, many who               80%
viewed the court’s role as not
                                                   60%
amenable to community partnerships.
Overall, when broken down by type of               40%
stakeholder, survey respondents
indicated that some sharing of                     20%
information and training takes place
                                                    0%
between stakeholder types, but                             We t rain     They train We integrate We s hare        We refer       They refer       We do not
generally they work primarily within                      their s taff    our staff their s ervices information   client s to   client s to us    exchange
                                                                                      with ours      about the       them                        information
their own silos.
                                                                                                    experiences                                   or training
                                                                                                     of mutu al
Successful and effective community
                                                                                                       client s
partnerships are showcased by
problem-solving courts, including                        Community Organizations         Cou rts    Legal Organizations         Government Agencies

treatment courts and diversion                   Stakeholder Survey, July 2020; Community organizations share information and training more often than
programs. Similarly, existing divorce            other stakeholders.
adjustment classes bring together
multiple community organizations and
the Friend of the Court to help families       Michigan Legal Help’s Guide to Legal                  Michigan 211 service provides social
resolve their legal issues.                    Help, most stakeholders expressed a                   service referrals and is a possible hub
                                               desire for better referral options for                for community integration and
Accurate and appropriate referrals to          clients. Often there are no viable                    prevention. However, most
and between stakeholders are a                 referrals for legal representation                    stakeholders did not know much about
hallmark of successful community               available. Additionally, a problem                    the usefulness of 211 for people with
integration. Despite established and           mentioned often in stakeholder focus                  legal problems, and those who were
useful referral systems, including             groups was that there is no                           familiar with it expressed that it works
Counsel and Advocacy Law Line and              centralized, comprehensive list of                    well in some areas but not in others.
                                                                                                                                                                Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.699 Filed 05/17/21 Page 81 of 134




                                               community resources in Michigan. The

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Gaps & Barriers

1                                              2                                           3
There is a general lack of                     Traditional and non-traditional             Courts generally don’t see themselves
understanding of the system                    stakeholders tend to work within their      as community partners, and are
component Community Integration                own silos, with limited interactions with   reluctant to get involved in access to
and Prevention and what types of               other types of organizations.               justice efforts with other stakeholders.
organizations participate in activities                                                    Specific barriers to partnerships with
related to it.                                                                             courts include their resistance to
                                                                                           change and lack of focus on customer
                                                                                           service.


4                                              5                                           6
There is a lack of statewide,                  There is no agreed upon central             Community organizations struggle to
systematic collaboration between               referral directory of community             engage in early identification of legal
traditional and non-traditional justice        resources. The Michigan 211 service         issues and are not well educated about
system stakeholders which results in           and many other organizations have           when a problem has a legal solution
disparate outcomes for clients, and            compiled their own lists, which is a        and how to access self-help, legal
which is exacerbated in rural                  duplication of efforts.                     advice, and direct representation
communities.                                                                               services.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.700 Filed 05/17/21 Page 82 of 134




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Gaps & Barriers (continued)

7                                              8                                           9
People living in rural communities             Data is not collected about community       Relationships between stakeholders are
have more difficulty getting help for          integration activities, although there is   often based on personal contacts, not
their legal needs because there are            anecdotal evidence of successful            institutional relationships; when staff
fewer available community and legal            partnerships that may be replicable.        leaves, those relationships are lost.
resources.




10                                             11                                          12
The inability of community services            Legal aid programs have restrictive         Libraries are an important door into the
agencies to share data with partners           grant funding rules about who they can      civil legal system, with courts often
limits collaboration.                          serve, a lack of interpreters, and little   referring people to libraries for help,
                                               attorney time to build relationships        but they typically lack partnerships
                                               with community organizations, all           with courts and legal aid programs.
                                               which are barriers to collaboration with
                                               them.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.701 Filed 05/17/21 Page 83 of 134




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 Self-Help Centers

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Concierge and/or non-lawyer             Information on which courts hear
                                                 navigator services.                      what kinds of cases along with court
                                                                                          access information (e.g.,
                                                All information should be provided
                                                                                          transportation and parking).
                                                 in plain language.
                                                                                         Staffed self-help centers are located
                                                Easily accessible instructions and
                                                                                          in or near the courthouse or
                                                 flow charts on legal processes,
                                                                                          otherwise accessible in the
                                                 applicable law, and how to prepare
            PARTIAL                                                                       community.
                                                 for and present a case.
                                                                                         There are multiple channels for
                                                Links to information and forms on
                                                                                          providing information (e.g., one-on-
                                                 specific subject matters, including
                                                                                          one, workshops, online).
                                                 out-of-court resolution of problems.
                                                Online materials that are optimized
                                                 for mobile viewing.
                                                                                                                                  Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.702 Filed 05/17/21 Page 84 of 134




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                                               a continuum of services, while others
Assessment                                     are merely computers/kiosks where
Legal Self-Help Centers (SHCs) in              members of the public can access
Michigan are part of a “no wrong door”         MichiganLegalHelp.org and other online
continuum of service. Courts and               resources. Because of a lack of
                                               coordination between SHCs, there is
related Friend of the Court offices,
                                               inconsistent availability, practices,
attorneys, and community
organizations are all encouraged to            services, and quality at centers across
send anyone with a legal need to a             the state. Disparities in the type and
center for legal information, a variety        amount of services offered are largely
                                               based on the availability of financial
of services, and further referrals. The
                                               resources.
intention is that SHC patrons gain a
better understanding of their problem
                                               Self-help centers are primarily located
and how they can solve it, and if they
                                               in courthouses and public libraries,
must seek services elsewhere they can                                                       A comprehensive training program from a
                                               depending on the jurisdiction; some
do so confidently and with the                                                              reputable source and designed for non-
                                               are housed in community
knowledge they need.                                                                        lawyers would go a long way to improving
                                               organizations. Court-based centers are
                                                                                            service both in the self-help center and
                                               all located in Friend of the Court offices   among court staff in general.
Self-Help Centers are integral to the
justice system and provide essential           or Circuit Courts. There are typically no
services and resources. Although, they         attorneys on site at SHCs in Michigan.                         - Self-Help Center Director
                                               Centers primarily serve people with
are not considered an essential court
                                               family matters, but probate is a
service in all areas of the state, and as
                                               growing area. Services provided at
a result, there is generally a lack of
collaboration between courts and               SHCs may include the following, but all
centers. There are 25 SHCs in                  may not be currently provided at every
                                               center:
Michigan, with 75% of the state’s
population living in a county with a
                                                 Public access computers with
center.9
                                                  printers, internet, scanners
Models of operation differ drastically;
                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.703 Filed 05/17/21 Page 85 of 134




some centers are well-staffed and offer


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  Legal information and resources
   (online and in paper/book format),
   including MichiganLegalHelp.org,
   Michigan Divorce Book (outdated
   but still used), NOLO guides, ICLE,
   Westlaw, etc.
  Foreign language legal resources
   and interpretation for languages
   spoken locally
  Paper and automated court forms
   (especially for family law)
  Trained staff to assist with issue
   spotting; help finding and
   navigating legal resources
  Directions re: where to go in the
   courthouse
  Checklists or explanations of court
   processes
                                                People using the Legal Assistance Center at the Kent County Courthouse in Grand Rapids.
  Help with form preparation (not
   legal advice)
                                               Data collected in a survey of 556                    a library, which may have included
  Know your rights presentations by           members of the public indicates that                 library-based SHCs.
   lawyers and SHC staff members               outreach is needed to promote self-
                                               help centers to people who could
  Access to pro bono lawyers
                                               benefit from their services.
   through legal clinics
                                               Respondents were asked what they did
  Referrals to bar lawyer referral            in the past to resolve their legal
   service, legal aid, government              problems, and only 12% said they got
   programs, and other help                    help at a legal self-help center. An
                                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.704 Filed 05/17/21 Page 86 of 134




  Social services resource directory          additional 8% reported getting help at

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Gaps & Barriers

1                                              2                                           3
Many courts do not consider Self-Help          There is not a SHC in every court or        There are inconsistent practices,
Centers an essential court/community           county, especially in rural areas and       services, and quality across SHCs as a
service, resulting in insufficient             district courts; existing centers are not   result of varying amounts of resources
collaboration between them.                    all staffed, and unstaffed centers are      being allocated for them; more support
                                               more limited in the help they can           is needed from courts, the bar, and
                                               provide.                                    other partners for advocacy and
                                                                                           funding for SHCs.

4                                              5                                           6
Many people with special needs and             Self-help is not appropriate for some       Self-Help Centers are not very
who are experiencing trauma visit              people, e.g., domestic violence             accessible to people with limited
SHCs, so services should be designed           survivors, people with low literacy,        English proficiency; few language
to be accessible by these individuals.         limited English proficiency, etc., and      access services are available at most
                                               SHCs often lack the means to assess         centers.
                                               when self-help is feasible for a person.

7                                              8                                           9
Data collection across SHCs is                 Few SHCs have a close connection to         Staff members at SHCs need a
inconsistent and data is generally not         free or affordable legal representation     standardized way to identify people’s
shared with partners.                          by pro bono and private attorneys,          legal problems and training on how to
                                               assistance by trained navigators, and       efficiently screen and triage clients.
                                               alternative dispute resolution services.
                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.705 Filed 05/17/21 Page 87 of 134




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Gaps & Barriers (continued)

10                                             11                                         12
Family issues are prioritized at SHCs,         There may be operational differences       In many places coordination and
which results in some legal subject            between SHCs that were established by      collaboration is lacking between SHCs
areas not being addressed at many              the Michigan Legal Help Program and        and libraries, which often function as
centers.                                       those established by other entities;       SHCs and would benefit by being
                                               additional work is required to learn the   connected to courts and legal aid
                                               impact of this and how to address it.      programs.



13
Few Self-Help Centers offer remote
services, even after the COVID-19
pandemic.
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.706 Filed 05/17/21 Page 88 of 134




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 Triage &
 Referral

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Intake systems that contemplate         Effective referrals (e.g., entity can
                                                 assessment, sorting, and referral        take the matter without time,
                                                 needs.                                   income, or subject-matter
                                                                                          restrictions precluding service).
                                                Identified, consistent, and
                                                 transparent triage and referral         Central court and legal aid
                                                 protocols and practices.                 telephone hotlines and e-mail or live
                                                                                          chat services, as well as market-
                                                Ensuring that triage is supported by
            PARTIAL                                                                       based equivalents, to diagnose legal
                                                 automation (e.g., a portal).
                                                                                          issues/potential solutions and
                                                Making sure that all stakeholders,       resolve less complex issues at an
                                                 including non-traditional ones, are      early stage.
                                                 aware of referral information.
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.707 Filed 05/17/21 Page 89 of 134




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Assessment                                       In which of the following triage activities do you or your organization participate? (n = 586)
This component focuses on how service
providers (including courts, civil legal
aid and pro bono providers, and                                                      Creating intake syst ems

trusted intermediaries) assess and sort
                                                       Developing triage an d referral protocols and practices
requests for service from the public to
best allocate their resources and get                                 Au tomatin g triage protocols or systems
people the legal help they need, when
they need it, and in a format they can           Promotion of referral information to the public and providers
use. Many individual legal aid and
community organizations engage in                                                  Referral quality ass urance
their own forms of triage and referral.
Triage is less common in courts, but                                                  Diagnosin g legal iss ues
they often make referrals to litigants
                                                                                                         None
without attorneys.
A goal of triage is to not leave anyone                                                Oth er (please specify)
out or behind, but to find the right path
to the resolution of legal problems for                                                                           0%   10%   20%   30%   40%   50%

everyone. For courts the focus may be            Source: Stakeholder Survey, July 2020
on case management; for legal aid the
focus may be on case acceptance and
                                               for triage of people needing help with                   referral services, dispute resolution
referral; and for community
                                               legal problems in Michigan. The Guide                    centers, and/or community or
organizations and self-help centers the
                                               quickly gathers a minimal amount of                      government resources available in
focus may be on finding out how much
                                               information from users and then refers                   their community. Two-thirds of users
help a person needs and getting them
                                               them to appropriate resources that are                   earn less than 200% of the Federal
matched with resources.
                                               tailored to their needs, including legal                 Poverty Guidelines.
The online Guide to Legal Help, the            information (online educational
triage feature of the Michigan Legal           materials and form-completing tools),
Help website, serves as a central point        legal aid programs, private lawyer
                                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.708 Filed 05/17/21 Page 90 of 134




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The Guide saves both users and service         clerks are especially unclear about
providers time by giving users the best        what triage and referral activities are
possible resources in their geographical       permissible, what resources are
area--only those that are compatible           available to implement them, and how
with their needs and are likely to be          to effectively guide people to
helpful. This efficiency eliminates            appropriate resources for help.
inappropriate referrals and prevents
people from trying several agencies            As with other justice system
before reaching one that can help              components, collaboration is key to
them. On average, 8,660 people a               successful triage and referral, and
month begin a triage process in the            stakeholders tend to work in their own
Guide to Legal Help and 88% of them            silos, which inhibits collaboration and
finish, thereby getting the resources          reduces their impact. Many
and referrals they need through this           stakeholders and members of the
automated system. That is an average           public do not know about the Guide to
                                                                                         Ideas on creating triage teams within the
of 245 people per day that benefit from        Legal Help. As a result, stakeholders
                                                                                         community that contribute to a resource-
the Guide.                                     often create their own triage and
                                                                                         driven court IN A RURAL AREA is something
                                               referral processes and networks, when
                                                                                         we need desperately
In the JFA stakeholder survey, nearly          a central, coordinated effort may be
all stakeholder types were asked               more effective.                                                 - Probate Court Judge
questions about their triage and                                                                           in South Central Michigan
referral activities. Most questions had
approximately 580 responses. It is
clear from survey responses that
stakeholders do not have a shared
definition or understanding of triage
and referral services. Only 30-40% of
respondents said they engage in any
triage, and there is much inconsistency
in the availability, scope, quality, and
intent of triage and referral. Survey
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.709 Filed 05/17/21 Page 91 of 134




results revealed that courts and court


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Gaps & Barriers

1                                              2                                          3
An up-to-date, centralized directory of        There is a general lack of collaboration   There is often a lack of adequate
referral resources does not exist.             between stakeholders; programs work        services to refer people to at the end of
                                               in silos, reducing their impact and the    the triage processes, particularly for
                                               public’s access to their services.         those who have specialized civil legal
                                                                                          needs, including survivors of domestic
                                                                                          violence, prisoners, and people in rural
                                                                                          areas.



4                                              5                                          6
Public libraries are not well connected        There is no shared definition or           It is difficult to measure and evaluate
to resources that can help people with         understanding of triage and referral       the effectiveness of referrals because
legal problems.                                services and only  of stakeholders        there is no consistent data collection
                                               surveyed reported that they engage in      and analysis of triage and referral
                                               triage activities.                         activities.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.710 Filed 05/17/21 Page 92 of 134




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Gaps & Barriers (continued)

7                                              8                                           9
A lack of understanding about what             Many stakeholders don’t know about          Training is needed for all stakeholders
triage and referral activities are             the Guide to Legal Help; it is not clear    on triage and the difference between
permissible for courts and what                if this is a marketing problem or lack of   legal advice and legal information
resources there are to implement               partner buy-in.                             (including for court clerks, who are not
them.                                                                                      court staff).




10                                             11                                          12
There is a lack of resources dedicated         Alternative Dispute Resolution options      Triage can be complicated because
to communicating with and educating            are not well integrated into many           people often have multiple problems
the public about where to find and get         stakeholders’ systems of referrals for      that may be hard to diagnose, they are
services and what the differences are          clients.                                    in crisis, they want answers that may
in those services.                                                                         not be available, and there may be no
                                                                                           resources available for them.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.711 Filed 05/17/21 Page 93 of 134




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 Alternative Dispute
 Resolution

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Plain language information is          Access to Alternative Dispute
                                                 provided by case type about             Resolution modes are provided
                                                 Alternative Dispute Resolution          within procedural context, possibly
                                                 (ADR) modes and processes.              through self-help.
                                                Information is provided about the      Ethically appropriate collaborations
                                                 impact of power imbalances on the       between access to justice
                                                 success of resolutions through ADR      stakeholders and ADR providers.
            PARTIAL                              and strategies to address these
                                                 concerns.
                                                Clear codes of ethics are made
                                                 available for the non-judicial
                                                 neutrals.
                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.712 Filed 05/17/21 Page 94 of 134




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Assessment                                       How often does your CDRP provide Alternative Dispute Resolution services to people with the
                                                 following problems? (n = 12)
Alternative Dispute Resolution (ADR)
as a service stands in contrast to other                     Landlord/ te nant
civil justice system components being
                                                               De bt collectio n
assessed, in large part because it has
                                                        Mortgage foreclosure
been overseen for over 30 years with
consistent leadership by the Supreme                             Small Claims
Court Administrative Office (SCAO) and           To rt/injury/pro perty damage
the Supreme Court, and in
                                                                       Probate
collaboration with local courts. This
                                                                Real Prope rty
established infrastructure makes it
much more possible to move toward                               Mental Health
more advanced techniques, such as                                       Family
online dispute resolution (ODR), and to
                                                     Child abuse and neglect
identify and address issues that have
been challenges, such as enforcement                                             0%      10%        20%      30%      40%      50%      60%   70%   80%
of mediation agreements.                                                            Never    Rarely       Sometimes   Often    Always
Michigan courts annually refer over              Stakeholder Survey, July 2020; Small Claims and Family cases are the highest volume cases at CDRP
10,000 cases to Community Dispute                Centers, followed by Landlord/Tenant and Debt Collection cases.
Resolution Program (CDRP) Centers.
Michigan’s Community Dispute
                                               parties meet with a trained neutral                            effective. Agreements are reached in
Resolution Program was legislatively
                                               mediator and together find a solution                          approximately 75 percent of the cases
created in 1988 to provide citizens with
                                               to resolve their problem. In mid-March                         in which both parties agree to
an alternative to the judicial process.
                                               2020, except for mediations conducted                          mediate. The average amount of
Currently, 17 non-profit organizations
                                               by conference call, all centers                                monetary settlements is
serving all 83 counties receive grant
                                               transitioned to providing mediation via                        approximately $5,000. Cases are
funding to provide mediation and other
                                               Zoom due to the pandemic.                                      typically resolved within 23 days of
dispute resolution services. Mediation -
                                                                                                              intake, and the average mediation
as offered through CDRP centers - is a         The Community Dispute Resolution
                                                                                                              lasts about 1.5 hours. In follow-up
voluntary process in which two or more         Program has routinely proven to be
                                                                                                                                                          Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.713 Filed 05/17/21 Page 95 of 134




                                                                                                              surveys, the centers report that

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parties kept their agreements in about         In addition to the CDRP Centers, there           by all stakeholders, many who said
85 percent of civil and family division        are many private, for-profit mediation           they do not know about available ADR
cases, and about 95 percent of the             services available in Michigan. Because          services and do not integrate ADR into
time in school-related cases. Annually,        it is very difficult to inventory all of         their workflows. While this uncovered
volunteers provide about 17,000 hours          those resources, and because they are            the need for closer relationships
of mediation and other services, which         often out of reach for many low- and             between CDRP Centers and the
has a market value contribution of             moderate-income families (typically              judiciary/courts, bar, and community
approximately $2.5 million.                    charging normal attorney fee rates),             organizations, there are existing
                                               this report only includes information            successful partnerships that can be
In late 2019, SCAO began piloting MI-          about CDRPs and other SCAO-                      used as models. For example, in Kent,
Resolve, an online system for parties to       regulated mediation services.                    Oakland, and Wayne Counties ADR
negotiate a mutually agreeable                                                                  services are accessible to more people
resolution themselves, or with the help        The JFA stakeholder survey collected             because the CDRP Center sends
of a mediator, both before and after a         data about the use of ADR services               mediators to the courthouse on specific
case is filed in court. After registering      from judges, court and self-help center          days to help resolve disputes in small
on the system, parties briefly describe        staff, legal aid attorneys, and                  claims court, general civil cases, and/or
their issues, propose options for              community organizations. Responses               landlord tenant cases.
resolution, upload and download                showed that mediation is underutilized
documents, sign agreements, and print                                                           Public awareness of mediation seems
any forms required to resolve a                                                                 high, however usage of mediation
pending court case. In July 2020, the                                                           services is very low. According to the
MI-Resolve service was implemented             Our pioneering online dispute resolution         JFA public survey, when faced with a
statewide in every county. It was              platform, MI-Resolve, has made Michigan          legal problem, only 2% of people
originally piloted with the capacity to        the first state in the nation to provide a way   reported going to a CDRP or other
resolve only two-party disputes (e.g.,         for every resident to resolve disputes           mediator for assistance. However,
small claims, general civil, and               without a lawyer. Going forward, we need         when asked, “Are you aware that there
neighborhood disputes), but it is              to be just as creative to make sure that all     are ways to resolve some legal
                                               self-represented litigants can resolve their
expanding to accommodate multi-party                                                            problems without going to court, which
                                               legal issues without the burden of taking off
disputes, including eviction diversion                                                          are called Mediation and Alternate
                                               work, getting child care and going to court.
cases, and will permit parties in post-                                                         Dispute Resolution?” 71% of 543
judgment domestic relations matters to                  - Chief Justice Bridget McCormack,      respondents answered “yes.”
                                                                                                                                            Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.714 Filed 05/17/21 Page 96 of 134




use the system by year-end.                                          The Hill, June 22, 2020


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Gaps & Barriers

1                                              2                                         3
Mediation is underutilized to resolve          ADR services in Michigan are              MI Resolve and other online dispute
disputes even though the majority of           inconsistent and vary widely across the   resolution platforms are used
people are aware it is an option.              state - 17 CDRP centers serve 83          inconsistently across the state.
                                               counties, but a center may not be near
                                               and may not have a relationship with
                                               the courts it serves.




4                                              5                                         6
Information about the impact of power          ADR is not accessible for individuals     CDRPs need additional funding to
imbalances in ADR is not consistently          with limited English proficiency.         support ODR because MI Resolve
provided to people, and there is a lack                                                  handles for free the cases that CDRP
of consistency in how power                                                              centers would have earned fees from.
imbalances are addressed; this has a
chilling effect on various stakeholders’
willingness to refer people to ADR.
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.715 Filed 05/17/21 Page 97 of 134




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Gaps & Barriers (continued)

7                                              8                                             9
Mediators are often not as well versed         Cultural barriers to ADR exist for            There is widespread concern about
in legal issues as they need to be.            lawyers, litigants and courts. Mediation      procedural due process protections and
                                               may reduce lawyers’ fees, litigants may       substantive rights and responsibilities
                                               expect to have their ‘day in court’,          in ADR processes. There isn’t enough
                                               courts treat every case as if it will go to   distinction between cases that are
                                               trial even though that is unlikely, and       appropriate for mediation and those
                                               case types other than family cases are        that aren’t based on lack of a true
                                               rarely encouraged to try mediation.           middle ground and/or legal protections
                                                                                             exist that would change the case
                                                                                             outcome, e.g., eviction cases or debt
                                                                                             collection cases with defenses that may
                                                                                             relieve the defendant from the debt.


10                                             11
Supreme Court time guidelines can              Adversarial court processes are more
cause judges to be overly focused on           familiar than ADR, may be easier to
report cards and unwilling to engage in        access because a case can be initiated
ADR because cases may last beyond              by one party without the consent of the
time limits; existing case evaluation          other, and they usually escalate
rules and practices also disincentivize        conflict, which may make it harder to
ADR.                                           envision a less adversarial process.
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.716 Filed 05/17/21 Page 98 of 134




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 Navigator Services

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Navigational direction and               Accompany people to court,
                                                 information.                              especially to help in complying with
                                                                                           legal processes for cases with large
                                                Referrals to other appropriate
                                                                                           numbers of self-represented
                                                 services.
                                                                                           litigants.
                                                Assist litigants with legal and
                                                                                          Feedback for service providers.
                                                 procedural information.

               NONE                             Assist litigants in selecting and
                                                 filling out forms.
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Assessment                                       When I left court I understood what I had to do next. (n = 287)
This component relates to the
development of services provided by
                                                                             37%
professionals who are not licensed
attorneys, as well as the possible
formation of new tiers of legal services
providers. There is overlap between
Navigator Services and several other
justice system components. For                                                                                       18%
instance, Self-Help Center staff                                                                                                      16%
                                                                                                15%
                                                           14%
members are often called navigators.
Analysis of their services is not
included in this component, but is
instead included in the Self-Help
Center assessment. Navigator Services
are also closely related to Triage and                St rongly Agree        Agree         Neither Agree or        Dis agree    St rongly Disagree
Referral, Courtroom Assistance                                                                 Dis agree
Services, and Compliance Assistance,
as navigators may provide those                  Survey of Members of the Public, May 2020; Only 51% of respondents who had been party to a court
                                                 case understood what to do next.
services. The Emerging Practices and
Innovations component relates to
Navigator Services in the context of           Navigators are an underutilized                     directions at the courthouse (like a
Regulatory Reform and the licensing of         resource in Michigan, however the idea              concierge) on one end of the
allied professionals to provide limited        of navigator services provided by allied            spectrum, to new categories of
legal services. Navigator Services are         professionals is a complex one since                licensed individuals who provide
mentioned in the assessment of each            there currently is no official                      limited legal services on the other end.
of these components and evaluated in           recognition of non-lawyer navigators.               Without a specific definition and a
more detail here as an important               The definition of Navigator Services                regulatory structure for new types of
component of a strong civil justice            can be unclear as it may include a                  providers of legal services, this
system.                                        continuum of services, from giving                  component is hard to name and
                                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.718 Filed 05/17/21 Page 100 of 134




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describe. The definition may have been         Community organizations that provide
interpreted differently by different           services and support to domestic
stakeholders taking surveys and                violence survivors have long provided
participating in focus groups for this         advocates in court who provide
assessment, or even within individuals’        emotional support, explain court
minds between questions.                       processes and consequences, help with
                                               paperwork, and provide foreign
The results of the public survey               language interpretation when
demonstrate that there is a need for           necessary.
some kind of navigator services in
Michigan. Only slightly more than half         Housing counselors and paralegals at
of respondents stated that they                legal aid programs have also served as
understood what happened in their              effective navigators, but reduced        We need to increase the role non-lawyer
case after they left court and only half       organizational budgets have cut those    legal advocates can play in our system. A
understood what to do next.                    roles. The Detroit Justice Center has    non-lawyer expert is better than a lawyer
Additionally, only 60% of respondents          Community Legal Workers who perform      non-expert. Someone who knows a specific
said that the judge and court staff            legal research and investigate the tax   area of the law and what resources are in
spoke to them in a way they                    assessment appeal process and water      the community is going to be far more
understood.                                    shut off process, conduct client         valuable to people seeking to resolve their
                                                                                        legal issues.
                                               interviews, help community members
There is precedent for the use of              complete forms, accompany clients to                - Detroit Justice for All Town Hall
navigators in Michigan. One common             hearings and department meetings,                         participant, February 2020.
use of Navigator Services identified by        and educate the community about their
virtually all stakeholders was domestic        rights. Other navigator-type services
violence victim advocates (also called         are provided by accredited immigration
PPO advocates), which have a special           representatives, refugee navigators,
statute10 that authorizes courts to            and long term care ombudspersons.
provide them. However, the statute
only authorizes practices that are not
the practice of law and facially it only
applies to advocates who have a
special designation from a court.
                                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.719 Filed 05/17/21 Page 101 of 134




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Gaps & Barriers

1                                              2                                          3
Michigan does not have non-lawyer              There is not a clear, consistent           There are no entities currently
navigators, except in limited                  definition of Navigator Services; the      identified to lead and define what
circumstances, but would benefit from          line between “navigator” and “engaged      Navigator Services are, act as a
them, particularly at the beginning and        and educated community partner             regulatory body, and provide training
the end of a case.                             providing direction” may be a thin one     and education to navigators; this is a
                                               and confusing to all stakeholders.         regulatory reform issue that may
                                                                                          prevent this service from reaching its
                                                                                          potential and may put some services at
                                                                                          risk of providing the unauthorized
                                                                                          practice of law.


4                                              5                                          6
The current regulatory environment in          Unauthorized practice of law issues,       The use of navigators in situations
Michigan, particularly the private bar,        private bar resistance, competition with   where power imbalances exist may be
seems unlikely to support new                  under-employed lawyers, and notarios       inappropriate.
categories of non-lawyer legal services        as a bad example of navigator services
providers.                                     are considerable barriers to adoption
                                               and acceptance of some types of
                                               navigators.


7
Funding for non-lawyer navigators is
essentially non-existent.
                                                                                                                                   Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.720 Filed 05/17/21 Page 102 of 134




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 Full Representation

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Assessment of existing service             stakeholders know how to make
                                                 capacity in the state, factoring in        referrals for full representation.
                                                 geographic differences.
                                                                                           Advancing right-to-counsel
                                                Identification of effective pro bono,      initiatives, coupled with self-help, in
                                                 civil legal aid, and market-based          cases involving basic human needs.
                                                 delivery strategies with potential for
                                                                                           Training and assistance with
                                                 replication/scaling.
                                                                                            implementation of best practices for
            PARTIAL                             Training and mentoring for pro bono        improving internal office automation
                                                 volunteers, both on substantive            and efficiencies, as well as client
                                                 issues and on how to work with low-        and court-facing interactions.
                                                 income clients.
                                                                                           Incorporation of litigation strategies
                                                Building triage and referral systems       that have the potential to impact
                                                 to identify when full representation       many people and decrease the need
                                                 is needed or required and ensuring         for full representation in the future.
                                                                                                                                      Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.721 Filed 05/17/21 Page 103 of 134




                                                 traditional and non-traditional

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                                               qualifies for and needs their help.           have the resources to take those cases.
Assessment                                     There are approximately 9500 people
While full representation is a well            living in poverty for every legal aid         Legal aid organizations administer pro
developed component of the Michigan            lawyer in Michigan. More often than           bono programs to engage private bar
civil justice system, overall progress         not, low-income families receive limited      attorneys in representing low-income
was rated “partial” due to a lack of           or no legal help because legal aid            clients. In 2019, regional legal aid
sufficient legal aid and affordable legal      programs lack resources. In 2019,             programs referred 1,787 cases to pro
services to meet the need.                     regional legal aid programs completed         bono attorneys. Pro bono attorneys
                                               42,412 cases. All clients received legal      provided 13,696 hours of pro bono
Approximately 1.8 million people               advice tailored to their specific issue;      assistance. Of statewide programs, the
qualify for free civil legal aid in            however, due to limited resources,            Michigan Immigrant Rights Center
Michigan because their income falls            legal aid programs were only able to          (MIRC) has the most robust panel of
below 125% of the federal poverty              provide full representation in                pro bono attorneys. In 2019, volunteer
level. To meet the civil legal needs of        approximately 25% (10,700) of those           attorneys donated 4457 hours of pro
these individuals, there are five              cases. Also in 2019, approximately            bono services to MIRC clients and
regional and two statewide legal aid           19,700 low-income families with               completed 21 cases. In addition to
programs that are funded by the Legal          priority cases12 sought full                  referring cases to pro bono lawyers for
Services Corporation (LSC). The two            representation from legal aid and did         full representation, legal aid programs
statewide programs – Michigan Indian           not receive it because programs did not       also conduct legal clinics that allow
Legal Services and Farmworker Legal                                                          limited one-time engagement with pro
Services – serve Native Americans and                                                        bono attorneys.
migrant farmworkers respectively. In
addition, the Michigan State Bar                                                             Several large law firms and corporate
Foundation (MSBF) provides funding to          Legal Aid can represent a very small          legal departments in Michigan
other statewide and regional programs          portion of the parties on my domestic         (primarily based and with offices in
                                               docket who would benefit from their           Detroit, Oakland County, Grand Rapids,
that provide civil legal aid, including
                                               services. This is due in part to budget       and Lansing) have robust pro bono
the Center for Civil Justice, Michigan         issues and more to conflict of interest
Immigrant Rights Center, Michigan                                                            programs and several have dedicated
                                               issues. Mental health cases and parents in
Legal Services, and Michigan Poverty                                                         pro bono counsel to oversee those
                                               neglect / abuse cases have the right to
Law Program.11                                                                               programs. They represent pro bono
                                               court appointed counsel.
                                                                                             clients in a variety of case types,
Legal aid offices do not have the                                - Family Court Referee in   including class actions, impact
                                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.722 Filed 05/17/21 Page 104 of 134




resources to represent everyone who                                   Southwest Michigan     litigation, appellate litigation, limited

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scope representation, and at legal
clinics. They also provide legal                 To what extent have you seen or provided Full Representation in the following types of cases
                                                 in your geographic area? (n = 283)
education for the public, help with legal
aid intake, and mediate disputes. Many              Family ( inc. divorce, custody, protection o rders)
firms offer full billable hour credit for
                                                                       Landlord/ te nant (fo r tena nts)
pro bono work, and some make pro
bono a performance objective.                                            De bt collectio n (for debtors)

                                                             Mortgage foreclosure (fo r homeowners)
Michigan attorneys can connect to pro
bono opportunities through the State                                                     Small Claims

Bar of Michigan (SBM) and 120 local                                     To rt/injury/pro perty damage
and affinity bar associations. SBM                                                             Probate
administers several pro bono programs
                                                                                         Real Prope rty
that assist low-income clients with
various legal needs and provides                 Mental Health (inc. civil commitment, gua rdianship)

malpractice insurance to Michigan                                            Child abuse and neglect
attorneys handling pro bono cases if
                                                                                                           0%   10%      20%   30%   40%     50%    60%   70%
they apply for coverage before
initiating representation of a low-                                    Never       Rarely       Sometimes        Often     Always    I Don't Know
income client. The SBM also maintains            Stakeholder Survey, July 2020; Respondents reported a very low percentage of court cases with full
a pro bono calendar for clinics and              representation provided ‘Always’ or ‘Often’ (range = 3 - 41% of the time, depending on case type).
other volunteer opportunities. In 2019,
SBM launched “A Lawyer Helps” Pro
Bono Honor Roll to recognize Michigan          there is a persistent disconnect                                 to engage firms. Even so, there is a
                                               between the need for pro bono                                    need for more training and mentorship
attorneys who provide 30 or more
                                               services and what volunteer lawyers                              for attorneys engaged in pro bono and
hours of pro bono legal services in a
                                               want to do. For example, family law is                           affordable legal services.
calendar year. More than 500 Michigan
                                               an area of highest need but those
attorneys qualified for recognition in
                                               cases are hard to place with pro bono                            Michigan has five law schools with
the first year, reporting a combined
                                               lawyers, especially with corporate                               legal clinics that provide legal
2018 total of 51,880 hours of pro bono                                                                          services: University of Michigan Law
                                               attorneys. This disconnect causes legal
service to 9,441 pro bono clients.                                                                              School, Michigan State University
                                               aid to expend additional resources to
While there are many law firm and                                                                               College of Law, Wayne State Law
                                                                                                                                                                Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.723 Filed 05/17/21 Page 105 of 134




                                               develop alternative pro bono programs
legal department pro bono efforts,
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School, Detroit Mercy Law School, and          would like to expand it in the future to    Economics of Law Survey, 67% of
Western Michigan University Cooley             offer reduced cost legal services for       lawyers who responded indicated that
Law School. These law school clinics           expungements, driver’s license              they provide fixed and flat fee services;
provide a wide array of legal services,        restoration, and probate, as well as        however, for the vast majority of
including for consumer, housing,               expanded services for consumer and          respondents, these services comprised
family, child welfare, civil rights,           family law. SBM is also considering         25% or less of their practice.
juvenile justice, veteran, immigration,        whether and to what extent to expand
and disability cases. Law school clinics       eligibility beyond its current income
are an important element of the civil          thresholds. Legal assistance for
justice system in Michigan, expanding          moderate income individuals is also
the availability of legal services to          provided by the Washtenaw Bar
vulnerable communities while providing         Association Family Law Modest Means
students with a valuable experiential          Program.
                                                                                           More resources (especially staff funding)
learning opportunity. However, they                                                        [are needed] to do high-quality legal work
are limited in the number of individuals       A few for-profit and nonprofit law firms
                                                                                           while trying to address the crippling volume
they can serve.                                have adopted sliding scale fee models       of cases we face.
                                               to help make their legal services more
As part of its Lawyer Referral Service,        accessible to low- and moderate-                      - Legal aid program staff attorney
                                                                                           Despite extensive efforts being made in
SBM has a Modest Means Program to              income individuals. For example,
                                                                                           Michigan to provide free and affordable
connect low- to moderate-income                Collaborative Legal Services is a
                                                                                           legal services to low- and moderate-
individuals with attorneys who offer           nonprofit law firm that handles family
                                                                                           income individuals, more is needed.
reduced fee legal assistance. To               law, landlord-tenant, and wills on a
                                                                                           Tellingly, all stakeholder types stressed
qualify, participants' must have limited       sliding scale from $75-$150 per hour
                                                                                           in focus groups the need for more
assets and household income of less            based on income level. Sliding scale
                                                                                           resources to hire legal aid attorneys to
than 250% of the federal poverty               fees help ensure that clients are being
                                                                                           handle cases throughout the state,
guidelines. Currently, the program             treated equally based on their ability to
                                                                                           especially in rural areas and for
provides assistance with consumer              pay.
                                                                                           survivors of domestic violence. There
issues, including Chapter 7 bankruptcy,
                                               Some law firms offer fixed or flat fee      was also considerable support for
and family law issues. A flat fee of
                                               options, which provide people the           providing attorneys for all tenants in
$500 is charged for Chapter 7
                                               ability to better understand how much       eviction court.
bankruptcy. Other matters are handled
at a reduced fee of $75 per hour. Given        it will cost to hire a lawyer. According
                                                                                                                                          Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.724 Filed 05/17/21 Page 106 of 134




the effectiveness of the program, SBM          to the 2020 State Bar of Michigan

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Gaps & Barriers

1                                              2                                           3
There is a lack of funding and                 There is a disconnect between the           Affordable options for legal help are
resources for legal aid organizations to       need for attorneys and the types of         extremely limited. Modest means
address the overwhelming demand for            cases that pro bono attorneys want to       panels have few lawyers participating.
their services, especially in rural areas.     handle; pro bono attorneys are              Sliding scale and fixed fees, and other
                                               reluctant to take cases outside of their    innovative delivery models are still in
                                               expertise and large firm corporate          their infancy, with a relatively small
                                               attorneys may not be a good fit for         number of attorneys offering affordable
                                               every day legal aid cases.                  legal services.




4                                              5
Legal aid programs do not share much           The lack of consistent, uniform court
data with each other, and competition          processes and procedures makes it
for funding is a barrier to increased          very difficult for attorneys to represent
data sharing.                                  low-income clients by video-conference
                                               or phone in locations where they don’t
                                               regularly practice.
                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.725 Filed 05/17/21 Page 107 of 134




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 Limited Scope
 Representation

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Adoption of rules that support           Community of practice for limited
                                                 limited scope representation.             scope representation attorneys to
                                                                                           share best practices and problem-
                                                Full acceptance by the judiciary of
                                                                                           solve.
                                                 the practice, and court rules and
                                                 procedures to ease attorney entry        Screening, triage and referral
                                                 and withdrawal.                           pipelines from self-help centers,
                                                                                           legal aid organizations, and
                                                Education and advertising to recruit
            MINIMAL                                                                        community partners to limited
                                                 lawyers.
                                                                                           scope representation attorneys to
                                                Training and resources to support         connect them with self-represented
                                                 participating lawyers, including          litigants.
                                                 templates for representation
                                                                                          Online education and advertising
                                                 agreements and contemporaneous
                                                                                           connected to lawyer referral
                                                 record keeping.
                                                                                           services.
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.726 Filed 05/17/21 Page 108 of 134




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Assessment                                       What percentage of your docket includes Limited Scope Representation cases, where either
                                                 an attorney is appearing on a limited basis or a self-represented person has received other
Following extensive research and                 limited scope services, like document drafting/review or legal advice? (n = 172)
advocacy by the State Bar of Michigan
(SBM) and collaboration between
justice system stakeholders to enact                     48%
limited scope court and ethics rules,
the Michigan Supreme Court adopted
                                                                                                                                           32%
rules that support limited scope
representation (LSR), effective January
1, 2018. Despite these new rules,                                        15%

deployment of LSR in Michigan has
                                                                                          2%              2%
been minimal, with only about 25 - 30                                                                                     0%
attorneys promoting LSR practices. To               Less t han 10%   10% to 2 5%     26% to 5 0%     51% to 7 5%    More than 7 5% I never or rarely
date, LSR has not been fully                                                                                                         have Limited
understood and accepted by the                                                                                                          Sc ope
                                                                                                                                    Repres ent at ion
judiciary, the bar, and the public.                                                                                                  cases on my
                                                                                                                                        docket
Most JFA stakeholder survey
respondents and relevant focus group             Stakeholder Survey, July 2020; 80% of responding judges reported that less than 10% of their docket
participants indicated that LSR is never         includes limited scope representation.
or rarely practiced in Michigan.
However, anecdotal information reveals
                                               practice. Respondents indicated that                 100 attorneys interested in LSR;
that LSR may be practiced more
                                               they provided LSR for a wide-array of                integrating LSR into the triage and
frequently than indicated, but it may
                                               tasks, including court appearances,                  referral systems for its Lawyer Referral
not be identified as or called LSR. In
                                               drafting documents, reviewing                        and Information Service and Michigan
the annual SBM Economics of the
                                               documents, and negotiations.                         Legal Help’s Guide to Legal Help; and
Practice of Law Survey, 44% of
                                                                                                    creating a Limited Scope Tool Kit with
respondents indicated that they                The State Bar of Michigan (SBM) has
                                                                                                    resources to help attorneys with LSR
provided limited scope services;               undertaken many efforts to promote
                                                                                                    practices, including practice forms,
however, for the vast majority, LSR            LSR among its members, including
                                                                                                    court forms, marketing tools, and free
accounted for only 10% or less of their        hosting a virtual community of over
                                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.727 Filed 05/17/21 Page 109 of 134




                                                                                                    on-demand LSR webinars. SCAO is

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currently reviewing SBM-proposed               Despite these efforts, LSR is still a
forms and will make those LSR forms            fledgling practice in Michigan. There is
available on SCAO’s website after they         a lack of awareness by judges,
are approved.                                  although survey responses indicate
                                               that they do see LSR in their
The SBM has also conducted extensive           courtrooms, but they do not identify it
outreach to educate members of the             as such. To help the judiciary embrace
bar and Michigan law schools about             LSR, SBM has engaged in extensive
LSR, and has more programs                     efforts to educate judges and court
scheduled in the future. It partnered          staff on the benefits of LSR by
with the Institute of Continuing Legal         presenting at numerous continuing
Education to create a free,                    education events and conferences.
comprehensive training video for
                                                                                          LSR has not really caught on yet in our
Michigan attorneys, which is required
                                                                                          county. Occasionally, we see some
to be viewed for an attorney to include
                                                                                          attorneys from out of county who file LSR
Limited Scope as a practice area in the                                                   appearances, but thus far this has been
Bar’s Lawyer Referral and Information                                                     rare.
Service.
                                                                                                             - Probate Court Judge in
Michigan Legal Help has been a vital                                                                          South Central Michigan
partner to SBM’s efforts to reach out to
and educate the public by posting
articles about LSR on its website and
including limited scope as a referral
option in its Guide to Legal Help. MLH
plans to create videos about LSR and
automate LSR-related forms for the
public in the future, along with creating
a brochure for courts to give to self-
represented persons so they know that
it may be an option.
                                                                                                                                           Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.728 Filed 05/17/21 Page 110 of 134




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Gaps & Barriers

1                                              2                                      3
The term Limited Scope                         Judges are often not supportive of     Members of the public are generally
Representation is not widely known             attorneys providing limited scope      not aware of limited scope
and the practice has not been widely           representation or do not know about    representation, nor that it may be an
adopted by lawyers; attorneys may              LSR.                                   option for them.
provide limited scope services more
informally, but many are not aware of
it and very few report providing
significant amounts of LSR.




4
There is little data available related to
limited scope representation and the
extent to which LSR services are
provided.
                                                                                                                               Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.729 Filed 05/17/21 Page 111 of 134




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 Judicial and Court Staff
 Education

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                               Judicial and court staff education          court leadership related to change.
                                               programs should follow adult learning
                                                                                          The role of judicial officers and court
                                               principles, be dynamic and interactive,
                                                                                           staff in process simplification
                                               and address the following topics:
                                                                                           initiatives.
                                                Engagement with self-represented
                                                                                          The distinction between legal
                                                 litigants.
                                                                                           information and legal advice.
                                                Availability of court-based self-
            PARTIAL                                                                       Procedural fairness.
                                                 represented litigant resources,
                                                 community resources, and referral        Language access requirements and
                                                 systems.                                  procedures.
                                                Variability of approaches depending      Disability access requirements and
                                                 on case type.                             procedures.

                                                Cultivating access to justice            Diversity, equity and inclusion.
                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.730 Filed 05/17/21 Page 112 of 134




                                                 leadership within the bench and

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Assessment                                       To what extent have you participated in training on the following Access to Justice topics? (n
                                                 = 258)
This justice system component focuses
on educating judges and court staff                       Engaging with self- represented litigants
about access to justice issues and how           Resources av ailable for self-represented litigants

to engage with self-represented                                        Triage a nd refe rral syste ms
                                                                      Access to J ustice leade rship
litigants (SRLs) ethically and
                                                                      Lega l information vs. advice
effectively. It is necessary to have
                                                                                Procedural fairness
accessible courtrooms that are
                                                                                       Implicit bias
presided over by judges who can
                                                                             Process simplification
effectively handle cases where one or                                             Technology too ls
both sides are self-represented. Court             Langua ge access requirements and procedures
staff provide another critical support             Disability access requirements a nd procedures
role as they are often “on the front                                Dive rsity, equity a nd inclusion
lines” interacting with SRLs.                                   Issues affecting peo ple in poverty

Educational programs are a cost-                                                                        0%     10%        20%      30%       40%     50%   60%
effective way of supporting judges and
                                                                            Never       Monthly          Quarterly      Yearly   Less t han Yearly
court staff as they carry out these
important roles.                                 Stakeholder Survey, July 2020; responses from judges, magistrates, referees, court administrators, and
                                                 court clerks who answered this question reveals that most participate in training on access to justice
The primary source of judicial branch            issues less than yearly or never.
education in Michigan is the Michigan
Judicial Institute (MJI). As the
                                               Resource limitations, however,                                        capacity of numerous sources of
continuing education division of the
                                               severely hamper the ability of MJI to                                 judicial branch education, specifically
State Court Administrative Office, MJI
                                               cover all the necessary judicial branch                               related to the civil justice system.
is responsible for providing training
                                               education in Michigan. As a result,                                   Through the assessment process,
courses and materials for nearly 600
                                               numerous public and private                                           including surveys, focus groups, town
state judges and more than 8,000
                                               educational providers are in                                          hall meetings, and interviews, it
judicial branch employees. Much
                                               competition for the limited time and                                  became clear that overall progress on
content is provided through live
                                               training funds Michigan judges and                                    this component is only partial and
seminars, distance learning
                                               court employees can access.                                           there are many gaps and barriers to
opportunities, and publications.
                                                                                                                                                                 Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.731 Filed 05/17/21 Page 113 of 134




                                                                                                                     be addressed.
                                               The JFA Task Force assessed the

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Some of the critical stakeholders                Attorneys, Advocacy Groups, Legal
engaged in the civil justice system               Aid Offices, and the general public
identified their roles and interest in the        are some of the many “customers”
furtherance of judicial branch education          for whom well trained judges and
as follows:                                       court staff are needed to properly
                                                  administer justice and assist with
  Michigan Judicial Institute (MJI)
                                                  the processing of their individual
   delivers a broad range of judicial
                                                  cases.
   branch education to judges and
   court staff.                                  Judicial Branch Education Providers
                                                  are numerous within Michigan and
  State Court Administrative Office
                                                  nationally. Some providers are
   provides procedural guidance and
                                                  non-profit organizations,
   standards for an array of court
                                                  associations, or educational           The continued availability of attending
   operational systems, as well as
                                                  institutions, while others are for-    education via Zoom or other online access
   informal education through direct                                                     [would improve judicial and court staff
                                                  profit companies.
   assistance from SCAO.                                                                 education on access to justice issues]. Due
                                               MJI provides new court employees          to the travel time and time away from the
  Judges often participate in judicial
                                               (judges, magistrates, referees, court     office, seldom is support staff provided with
   branch education as faculty as well
                                               administrators/probate registers) with    current training opportunities. Remote
   as participants.                                                                      access and recorded webinars will aid in
                                               orientation seminars that offer content
  Trial Court Administrators plan and                                                   keeping all staff current in all areas of
                                               on access to justice topics, including
                                                                                         education and training.
   facilitate the professional                 effective interactions with SRLs,
   development of court staff through          procedural fairness,                                          - Court Administrator in
   on the job training, mentoring,             MichiganLegalHelp.org and other                                   the Upper Peninsula
   providing time to attend external           community resources, language access
   training events provided by MJI,            procedures and resources, ADA
   court management associations,              requirements, and implicit bias.
   Institute for Court Management,             Experienced judges and court staff may
   and other continuing education              receive additional education on these
   providers. Many court                       topics through sessions offered during
   administrators also serve as faculty        MJI judicial, court professional and
   for a variety of judicial branch            court management programs, with
                                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.732 Filed 05/17/21 Page 114 of 134




   education courses.                          participants self-selecting to attend.
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Resource constraints limit how often           court employees. Multiple stakeholder      respondents also expressed fear of
courses on access to justice topics are        focus groups identified gaps and           retaliation by some judges and were
offered beyond the new court                   barriers which continue to interfere       concerned about judicial bias. In
employee training. Some topics may be          with the ability to provide robust         addition, 40% of respondents who had
offered yearly, and some less often.           judicial branch education, as well as      been a party in a court case reported
Prior to the Coronavirus pandemic MJI          numerous topics related to access to       not understanding the judges and court
did not offer a significant amount of          justice which require more focused         staff, 44% reported not understanding
remote learning opportunities, but             training. For example, participants in a   what occurred in their case, and 49%
there will likely be more offered in the       focus group of violence survivor           reported not understanding what their
future.                                        advocates, along with members of the       next steps were. These findings reflect
                                               public who spoke at the Detroit Town       a need for more training for judges and
Since there currently is no mandatory          Hall Meeting both stated that many         court staff on communications and the
judicial education requirement in              judges do not empathize with domestic      role of the court.
Michigan, it is not known how many             violence and sexual assault survivors.
judges take additional courses beyond          They further reported that judges often
those offered by MJI. Judicial and court       do not understand issues that survivors
staff training may be provided locally at      face in court, including stereotypes,
the county level. Wayne, Kalamazoo,            power imbalances, a perceived lack of
Kent and Ottawa counties are known to          credibility, and a general survivor
have local education programs for              blaming perspective.
judges and court staff. However, during
the pandemic local training budgets            A survey of the public found that a
have largely been redirected to pay for        sizable portion of people lack trust and
other items needed to reopen                   confidence in the courts, which
courthouses (e.g., plexiglass shields),        highlights a need for more training on
and training has been focused on how           these issues. 60% of survey
to operate courts remotely.                    respondents who had been a party in a
                                               court case said their case was not
Civil justice system stakeholders were         handled fairly, and 31% of all
clear about the need to improve the            respondents did not go to court
quantity and quality of continuing             because they do not trust the court
education for Michigan judges and              system to provide a fair decision. Some
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.733 Filed 05/17/21 Page 115 of 134




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Gaps & Barriers

1                                              2                                          3
Focus group comments and survey                Confusion exists among court staff,        There is a lack of direction to make
data reported a lack of customer               judges, and community partners about       civil case process training a priority for
service and communication skills at all        what information can be provided to        judges and court staff.
levels of court staff and the judicial         members of the public and litigants
branch, and a need for comprehensive           without providing legal advice. There is
training for all court staff and judicial      a lack of consistent participation by
branch members on customer service             court staff and judges in training on
and removing barriers for litigants.           what information court staff can
                                               provide while avoiding the
                                               unauthorized practice of law, and how
                                               judges can effectively interact with
                                               self-represented litigants while
                                               remaining impartial; library and other
                                               community stakeholders also need
                                               training on the appropriate boundaries
                                               between giving unauthorized legal
                                               advice and providing procedural
                                               information.
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.734 Filed 05/17/21 Page 116 of 134




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Gaps & Barriers (continued)

4                                              5                                         6
Many judges and court staff do not             A focus group of self-help center         Family court judges lack knowledge
understand and are not trained on              navigators asserted that there are no     and training on issues that frequently
issues facing survivors of violence and        court “point persons” with whom local     arise in family court, including:
people living in poverty, including the        self-help centers may connect, and
                                                                                           establishing appropriate child
trauma that they experience.                   most judges and court staff do not
                                                                                            support orders for individuals with
                                               know what services are provided by
                                                                                            means tested income;
                                               self-help centers and what resources
                                               are available through Michigan Legal        grandparent visitation rules and
                                               Help.                                        the validity of Probate Court
                                                                                            custody decisions;
                                                                                           adult/child family dynamics; and
                                                                                           the impact of court orders, which
                                                                                            may increase recidivism,
                                                                                            homelessness, evictions, etc.



7                                              8
Public experience with the court               There is a need for increased and
system reflects a need for judicial and        sustainable funding for judicial branch
court staff training on public trust and       education.
confidence and the role of the court.
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.735 Filed 05/17/21 Page 117 of 134




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 Plain Language Forms

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                User-centered design that is             forms, court and legal aid case
                                                 grounded in process-mapping by           management systems, and e-filing
                                                 case type.                               systems.
                                                Embedded plain language                 Protocols for ongoing assessment
                                                 instructions.                            and updating of forms and related
                                                                                          materials.
                                                Universal implementation and
                                                 adoption of standardized plain          A statewide standardized plain
            MINIMAL                              language forms.                          language glossary of legal terms.
                                                Field testing for comprehensibility     Both printed and automated
                                                 and usability.                           versions of forms are available.
                                                Integration and alignment of data
                                                 elements and processes between
                                                                                                                                   Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.736 Filed 05/17/21 Page 118 of 134




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Assessment
Standardized Plain Language Forms are
a foundational component of an
effective civil justice system. Without
them other system components are
more difficult to deploy, e.g., self-help
centers may not have necessary
resources. This component
encompasses the implementation and
maintenance of standardized, plain
language forms that are available both
in printed and automated formats.
The JFA Plain Language Forms
stakeholder survey was completed by
two stakeholders with expertise on this
topic: the State Court Administrative
Office (SCAO) and Michigan Legal Help
                                                 Plain language Small Claims forms on MichiganLegalHelp.org. Users are guided through a series of
(MLH). SCAO has developed over 800
                                                 questions about their case, then their forms are automatically populated with their information and are
court forms13 which are written to               ready to print and file with the court.
comply with the law. Some SCAO
forms are standardized and required by
                                               respondents agreed or strongly agreed                  debt collection, small estates, and
law to be used in all courts across the
                                               that Michigan court forms were easy to                 name change. All forms are developed
state.14 However, SCAO currently does
                                               understand.                                            using plain language and they are
not have any designated plain
                                                                                                      automated, which means that users
language versions of its forms.                MLH has a robust library of over 50
                                                                                                      are asked questions and enter
Statutory language that is used in             plain language forms available via a
                                                                                                      answers electronically about their
forms is often dense and confusing,            document assembly platform on the
                                                                                                      problem, and the appropriate
which may lead to some forms that are          Michigan Legal Help website in the
                                                                                                      information is then populated in the
dense and confusing. In the survey of          areas of family law, protection from
                                                                                                      form. Users can save or print their
members of the public, only 36% of             abuse, landlord-tenant, small claims,
                                                                                                                                                           Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.737 Filed 05/17/21 Page 119 of 134




                                                                                                      completed forms, but they cannot

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print a blank version for all but one          use paper forms or at least want to see
form set (small claims). Some MLH              a blank paper version of forms before
automated forms are also accessible in         they complete an online automated
Spanish. At this time, e-filing of             forms interview.
completed forms from MLH’s system is
not available.

In 2019 Michigan Legal Help’s forms
were used over 200,000 times,
resulting in 114,165 completed
documents, an average of 312 form
sets prepared each day. Usage in 2020
has increased - through the third
                                                                                         This was such a huge help because I can't
quarter just shy of 100,000 forms were
                                                                                         afford a lawyer and I don't understand
prepared, an average of 365 a day.
                                                                                         court papers and their legal terms. Thank
While these do-it-yourself form                                                          you so much.
preparation tools are clearly very useful
for many people, MLH would like to do                                                                - User of Michigan Legal Help’s
more observational user testing to                                                                                    divorce forms
better assess and improve their
usefulness.

Stakeholders that frequently interact
with members of the public, including
libraries and self-help centers, reported
in focus groups that forms are one of
the most popular resources that people
seek, yet they do not have a source for
up to date printed forms. While these
stakeholders often help people use MLH
automated forms, one challenge they
identified is that some users want to
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.738 Filed 05/17/21 Page 120 of 134




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Gaps & Barriers

1                                              2                                         3
Plain language forms are not available         Technology tools are not currently used   Plain language court forms are not fully
for any civil case type through SCAO;          by SCAO for plain language forms; e-      accessible to people who do not speak
Michigan Legal Help does not have              filing of Michigan Legal Help’s plain     English. SCAO provides a limited
plain language forms available in all          language forms is not available           number of court forms in other
subject areas.                                 statewide.                                languages. Michigan Legal Help offers
                                                                                         some automated plain language forms
                                                                                         in Spanish. Interpretation services are
                                                                                         also not available for plain language
                                                                                         forms.

4                                              5                                         6
User testing of Michigan Legal Help’s          There is very little data collected and   Court forms are confusing when
plain language forms is conducted on a         shared on plain language forms.           statutory language is closely followed
limited basis due to resource                                                            in the forms. SCAO must deviate from
constraints.                                                                             statutory language to make forms plain
                                                                                         language, or convince the legislature to
                                                                                         use plain language when making laws.
7
There is a lack of continuity in court
forms across all counties. Use of local
court forms exacerbates problems
created when forms are not in plain
language because local courts rarely
                                                                                                                                    Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.739 Filed 05/17/21 Page 121 of 134




have resources to focus on plain
language.
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                                                                                                                   APPENDIX
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 Courtroom Assistance
 Services

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Adoption of attorney-for-the-day          Information and resources that are
                                                 services.                                  provided to explain next steps in the
                                                                                            case and answer questions about
                                                In-person assistants, facilitators, or
                                                                                            orders entered.
                                                 navigators to help with the
                                                 preparation of necessary                  Referrals to additional help or
                                                 documentation or information.              services, including limited scope
                                                                                            legal services and social services.
                                                Technology tools to support the
            MINIMAL                              work of assistants, such as
                                                 automated forms and triage tools.
                                                Technology tools for judges to
                                                 prepare and explain final orders in
                                                 the courtroom.
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.740 Filed 05/17/21 Page 122 of 134




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Assessment                                       Who provides Courtroom Assistance Services in your area? (select all that apply) (n = 347)
This component involves the assistance
                                                            Judge s and/or H earing o fficers
given to litigants in a courtroom at the                                          Court Clerks
time of a proceeding. These services              State Court Administrativ e Office (SCAO)
                                                               Other Judicial o r Court Sta ff
can be provided by almost any of the                  Case Manage me nt System Pro viders
many trusted justice system                                            MichiganLegalH elp.org
                                                                Lega l Self- Help Center staff
professionals, including self-help center
                                                                       Non-lawyer navigators
staff, court clerks or case managers,                                        Court Volunte ers
judicial staff, non-attorney navigators,                                   Pro Bono Atto rneys
                                                                            Probation Officers
community volunteers, mediators, and                 Personal P ro tection Order (PPO) o ffice
pro bono attorneys.                                        Do me stic Violence age ncy staff
                                                                    Victim witness advocates
The information and data collected                                      Friend o f Co urt (F OC)
                                                                               Lega l Aid Office
through surveys and focus groups                                           Collectio ns Officers
reveal that the availability of                       No Courtroo m Assista nce is provide d
                                                                                  I don't know
Courtroom Assistance Services varies                                   Other (please spe cify)
widely, depending on location. Some
                                                                                               0%   5%   10% 15% 20% 25% 30% 35% 40% 45% 50%
courts have multiple people who help
self-represented litigants in the                 Stakeholder Survey, July 2020; judges and court staff are most likely to provide courtroom assistance to
courtroom, while most courts have few             self-represented people.
or no resources. The most common
response in the stakeholder survey to
                                               insight into the types of courtroom                             Ask questions of self-represented
questions about Courtroom Assistance
                                               assistance they can provide and                                  people to pull out the info needed
Services was “I don’t know,” indicating
                                               facilitate that will make the civil justice                      to decide the issues before them.
a general lack of knowledge about and
                                               system more accessible:
availability of such services. Some                                                                            Meet with (both) parties in
judges and court personnel                       Use plain language to explain                                 chambers to talk with them so
affirmatively stated that they are not            court rulings to self-represented                             they feel they are heard.
allowed to provide assistance to                  persons.
                                                                                                               Train court staff to be courteous
litigants as that would be legal advice.
                                                 Explain the law to self-represented                           and helpful to people who have
                                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.741 Filed 05/17/21 Page 123 of 134




In a focus group, judges provided                 persons.                                                      questions.

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  Direct people to self-help centers          staff, self-help center navigators, Court
   to get legal info they need to              Appointed Special Advocates (CASA),
   present their cases.                        law school clinics, and other advocates.
                                               Domestic violence survivor advocates
  Prepare orders in advance or from
                                               have long served an important role
   the bench so people leave the
                                               helping survivors in court by providing
   courtroom with their order.
                                               emotional support, explaining court
While there are some effective court           process and consequences, helping
interpreter services, the consensus of         with paperwork, and interpreting when
all stakeholder groups about these             necessary. However, there must be
services is that they are frequently not       clearly defined boundaries regarding
available and generally of poor quality.       what they can and can’t do so they
Community organizations reported that          don’t overstep into providing legal
                                                                                           Having a clerk in the courtroom to prepare
their clients often have negative              advice. Self-help center navigators         the more simple orders would be extremely
experiences with court interpreters.           provide courtroom assistance, but they      helpful and more timely. Sometimes people
Judges are generally aware of language         typically work outside the courtroom        have to wait days or weeks to get an order
access problems and work to make               and may or may not be affiliated with       as only one or two people are doing orders
sure that they can understand people           the court.                                  and serving them.
who do not speak English. Most judges
                                                                                              - Probate Court Clerk in central Michigan
use Language Line in the courtroom,
which works most of the time,
especially for common languages and
shorter hearings, but there are
consistency issues with Language Line
as well. The lack of availability of
interpreters in court may also slow
cases, which may negatively impact
the outcome.

Various stakeholders provide other
courtroom assistance services,
including Friend of the Court Office
                                                                                                                                          Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.742 Filed 05/17/21 Page 124 of 134




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Gaps & Barriers

1                                              2                                        3
There are numerous gaps in court               There are not enough Self-Help           Courts are not well connected with
interpreter services, including a              Centers to provide assistance and        libraries, and they refer people with
general lack of availability, poor or          there is not always a strong             legal problems to them without
inconsistent quality, limited availability     relationship between existing SHCs and   knowing what services libraries
of interpreters for some                       courts.                                  provide; these referrals are not
languages/dialects, and in some courts                                                  effective.
they are not considered essential.




4                                              5                                        6
Not all judges use courtroom                   Domestic violence survivor advocates     Members of the public often leave
technology to prepare orders. Zoom             are not a substitute for attorneys;      court not understanding what the
hearings may make it harder for                there must be clearly defined            judge or court staff said to them, what
judges to prepare orders using                 boundaries re: what they can and can’t   happened in their case, and what the
technology because there is a                  do in court.                             next steps are. They also frequently do
technology overload in remote                                                           not receive reminders about deadlines,
hearings, and it is hard to pay                                                         hearing dates, and payment due dates.
attention to litigants and use all the
technology.
                                                                                                                                     Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.743 Filed 05/17/21 Page 125 of 134




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Gaps & Barriers (continued)

7                                              8
Technology tools are often not                 There is minimal data collection and
available or not used for Courtroom            sharing for Courtroom Assistance
Assistance Services because of lack of         Services.
buy in, funding, knowledge, and
resources. There is also a lack of time
to learn new systems if the docket is
heavy.
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 Compliance Assistance

CUMULATIVE COMPONENT ASSESSMENT                COMPONENT KEY ELEMENTS


                                                Written orders and compliance           Online tools are provided to assist
                                                 information are made available           with compliance and enforcement.
                                                 immediately after hearings.
                                                                                         FAQs are provided on post-
                                                Plain language is used in orders and     judgment issues.
                                                 judgments.
                                                                                         Collaboration with stakeholders and
                                                Translation of plain language orders     users to identify common problems
                                                 and judgments is made available.         and ways to address them.
            PARTIAL
                                                Explanations should be provided by
                                                 judges, court staff or other
                                                 professional helpers.
                                                Reminders are sent prior to
                                                 deadlines.
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Assessment                                       Does your courts or the courts you practice in have a policy or standard practice that
                                                 requires explanation of orders and compliance requirements to self-represented persons? (n
This component directly addresses                = 318)
strategies for increasing
comprehension of and compliance with                                                               39%                               38%
legal processes and court orders, and
how to handle post-judgment
considerations. A lack of
comprehension about legal processes
can lead to non-compliance and costly                             23%
continuances for users and courts
during the process and even more
costly enforcement actions after a
judgment has been rendered. Lack of
knowledge about post-judgment
options and issues also leads to self-
represented persons not being able to
fully exercise their legal rights.                                  Yes                             No                           I Don't Know

The data and information collected               Stakeholder Survey, July 2020; compliance assistance policies and practices either do not exist or are not
about Compliance Assistance in                   known.
Michigan reveals that it is available in a
number of courts, but likely in a
                                               assistance suggests there is more                      assistance exists primarily in general
minority of them statewide. Larger,
                                               activity in courts with sufficient staff               civil, domestic, civil infraction, traffic,
more well-funded jurisdictions are
                                               and funding to provide additional, non-                landlord-tenant, and probate cases.
more likely to provide compliance
                                               mandated services, and in those                        Services are typically available in the
services, as are those courts with
                                               courts with more sophisticated                         pre-hearing and post-judgement
access to legal self-help centers. While
                                               technology support that allows for text                stages of a case where litigants may
the majority of stakeholders responded
                                               messaging, website chat features, and                  receive compliance assistance through
to survey questions about compliance
                                               other online services.                                 educational resources about court
assistance with “I don’t know,”
                                                                                                      processes, reminder notices for
anecdotal descriptions of compliance           Where it is available, compliance
                                                                                                                                                        Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.746 Filed 05/17/21 Page 128 of 134




                                                                                                      upcoming dates and/or payments due,

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at self-help centers, or via payment           ensure quality data that is reliably
calculators. Compliance assistance is          collected, courts will need additional
sometimes available remotely through           staff resources and training to help
court websites, MichiganLegalHelp.org,         staff appreciate the need for data, how
text messages, and video conferencing          it will be used, and clear definitions of
with court staff, attorneys, or self-help      necessary data elements. To whatever
centers.                                       extent court data will be shared with
                                               outside agencies/stakeholders, clear
The results of the public survey
                                               data sharing agreements should be in
demonstrate that there is a need for
                                               place.
more Compliance Assistance services
in Michigan. As reported in the
Navigator Services section, only 60%
of respondents said that the judge and                                                     I think it would be extremely helpful if we
court staff spoke to them in a way they                                                    had the technology to text reminders to
understood, only slightly more than                                                        litigants for upcoming court dates. I
                                                                                           understand the courts that have purchased
half stated that they understood what
                                                                                           this technology have found it extremely
happened in their case after they left
                                                                                           effective and well worth the investment.
court, and only half understood what to
do next. These conditions strongly                                                             - Circuit Court Judge in Macomb County
suggest that it is likely that a majority
of people will not be able to fully
comply with court processes and
orders. Additionally, less than half
(48%) of respondents received
reminders about deadlines, hearing
dates, payments, or appointments.
Relatively little data seems to be
collected about Compliance Assistance,
with nearly 37% of Stakeholders
reporting “None” and 58% reporting “I
don’t know” about data collected. To
                                                                                                                                         Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.747 Filed 05/17/21 Page 129 of 134




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Gaps & Barriers

1                                              2                                           3
Court processes and forms are                  Lack of support and training about          Limited use of text message reminders
complicated and should be simplified           court procedures and legal referral         about deadlines and dates for litigants.
so people can understand them.                 resources for self-represented litigants,
                                               non-lawyer navigators, and community
                                               partners who may assist people with
                                               compliance.

4                                              5                                           6
Insufficient training for judges on            Judges find it difficult to pay enough      Court staff often avoid helping litigants
providing complete and compassionate           attention to litigants when dealing with    draft and/or understand court orders
explanations to litigants about future         technology issues, remote hearings,         because they don’t understand the
compliance.                                    interpreter problems, etc.                  difference between legal information
                                                                                           and legal advice.



7                                              8                                           9
There is a need for more resources for         Most members of the public who              Online payment of court fees and fines
existing Self-Help Centers and to              appear in court do not understand the       is limited and should be expanded.
create new ones in communities that            judge and court staff, do not
don’t have one.                                understand what happened in court,
                                               don’t know what to do next, and can’t
                                               understand court forms.
                                                                                                                                       Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.748 Filed 05/17/21 Page 130 of 134




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Appendix A: Component Rating Scale15




                                                               NONE                                      MINIMAL
Cumulative Component Assessment
                                               Component key elements, content or       Very little demand for component key
Rate the overall progress for each civil       services are not available; no data is   elements, content, or services is
justice system component using the             being collected; there is no sustained   estimated to be met, potentially only
following scale, based on data and             funding and there are many gaps to       in a few counties. There may be only a
information compiled through the               providing this service or content.       few (1-2) case types or litigation
inventory process:                                                                      stages in which component key
                                                                                        elements, content, or services are
                                                                                        available. The majority of survey
                                                                                        responses focusing on technology,
                                                                                        language supports, access
                                                                                        requirements, and safeguards, are ‘I
                                                                                        Don’t Know’ or ‘Rarely’ with a few
                                                                                        ‘Sometimes’ selections. There are
                                                                                        limited examples of diversity, equity,
                                                                                        and inclusion as well as weak,
                                                                                        unsustainable financing structures and
                                                                                        data collection practices.
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              PARTIAL                                     SUFFICIENT                                 ADVANCED

It is estimated that between a quarter         It is estimated that more than half of   Greater than 75% of the demand for
and half of the demand for component           the demand for component key             component key elements, content or
key elements, content, or services is          elements, content or services is being   services is being met. The component
estimated to be met. Component key             met. The component key elements,         key elements, content or services are
elements, content or services may not          content or services may exist            statewide and are provided to almost
be statewide and in less than half of all      statewide and if not statewide, in       all cases and at every feasible stage in
counties. There may be only three to           many of the counties. Component key      the case. The majority of responses
four case types and few litigation             elements, content or services are        focusing on technology, language
stages in which component key                  provided to most case types and at       services, access requirements and
elements, content or services are              multiple stages in the case. The         safeguards are ‘Always’ with a few
available. The majority of survey              majority of survey responses focusing    ‘Often’ or ‘Sometimes’ selections.
responses focusing on technology,              on technology, language supports,        Additionally, there are numerous
language services, access                      access requirements, and safeguards      examples of diversity, equity, and
requirements and safeguards are                are ‘Often’ with a few ‘Always’ or       inclusion. Financing structures are
‘Sometimes’ with a few ‘Rarely’ or             ‘Sometimes’ selections. Additionally,    described as robust and sustainable.
‘Often’ selections. Additionally, only a       there are more than 2-3 examples of      Data collection and sharing occur
few examples of diversity, equity and          diversity, equity, and inclusion         regularly to inform component design
inclusion are present. Financing               present. Stable and sustainable          and delivery with strong feedback
structures are somewhat stable while           financing structures are listed; data    loops in place to guide future
data collection is sporadic and rarely         collection may be established and        development.
informs strategy or policy.                    occurring but there is room for
                                               advancement in how it informs the
                                               design, delivery and sustainability of
                                               the component.
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Endnotes
1
 The Michigan Trial Court Administration Reference Guide provides a      Court (Macomb County), and 20th Circuit Court (Ottawa County).
comprehensive overview of court operations at                            The 3 statewide standard solution models are in Ottawa County
https://courts.michigan.gov/Administration/SCAO/Resources/Docum          Probate Court, 37th District Court (Warren), and 22nd Circuit Court
ents/Publications/Manuals/carg/carg.pdf.                                 (Washtenaw County).

2 When the COVID-19 pandemic hit the U.S in March 2020, Michigan         8 The JFA Task Force did not assess the number of people who don’t
courts were well equipped and able to swiftly respond by shifting to     recognize they have a legal problem, but relied on a body of research
remote court proceedings. See https://courts.michigan.gov/News-          about this topic. See a seminal study, “Accessing Justice in The
Events/press_releases/Documents/1%20Million%20Zoom%20Hours               Contemporary USA: Findings from the the Community Needs and
%20news%20release.pdf.                                                   Services Study” (2014) at
                                                                         http://www.americanbarfoundation.org/uploads/cms/documents/san
3 Information about the 82 transportation agencies serving               defur_accessing_justice_in_the_contemporary_usa._aug._2014.pdf.
Michigan’s residents can be found at
https://www.michigan.gov/mdot/0,1607,7-151-9625_21607-31837-             9Self-help centers are established in the following counties: Alcona,
-,00.html.                                                               Allegan, Alpena, Berrien, Calhoun, Cass, Genesee, Grand Traverse,
                                                                         Gratiot, Ingham, Jackson, Kent, Livingston, Macomb, Marquette,
4
 See Trial Court Funding Commission Final Report (9/6/19) at             Monroe, Muskegon, Oakland, Oscoda, Ottawa, Saginaw, SW Detroit,
https://courts.michigan.gov/Administration/SCAO/Documents/TCFC           Tuscola, Washtenaw, and Wayne.
%20Final%20Report.pdf.
                                                                         10
                                                                              MCL 600.2950c
5Michigan State Bar Committees include the Access to Justice Policy
Committee, Justice Initiatives Committee, Affordable Legal Services      11For more information about Michigan State Bar Foundation funded
Committee, Diversity and Inclusion Advisory Committee, and Public        programs, see MSBF Annual Report.
Outreach and Education Committee.
                                                                         12
                                                                            While each LSC recipient sets their own priorities for the provision
6
 See “Envisioning a New Future Today,” a report of the 21st Century      of legal services, the Legal Services Corporation published a
Practice Task Force of the State Bar of Michigan at                      Suggested List of Priorities for LSC Recipients, which includes
https://www.michbar.org/file/future/21c_WorkProduct.pdf.                 support for families; preserving the home; maintaining economic
                                                                         stability; safety, stability, and health; and populations with special
7The 5 trial court pilots are in the 3rd Circuit Court (Wayne County),   vulnerabilities.
6th Circuit Court (Oakland County), 13th Circuit Court (Antrim
County, Grand Traverse County, and Leelanau County), 16th Circuit
                                                                                                                                                   Case 5:21-cv-10937-JEL-EAS ECF No. 52, PageID.751 Filed 05/17/21 Page 133 of 134




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Endnotes
13
  All SCAO approved court forms are available at
https://courts.michigan.gov/administration/scao/forms/pages/searc
h-for-a-form.aspx.

14
  Mandatory SCAO forms can be found at
https://courts.michigan.gov/Administration/SCAO/Forms/Pages/Man
datory-Use.aspx.

15Component rating scale provided in JFA Guidance Materials,
https://www.ncsc.org/jfa/guidance-and-tools/guidance-materials.
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